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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR
PRESIDENT, INC., et al.,

            Plaintiffs,

      v.
                                        Civil Action
KATHY BOOCKVAR, et al.,                 No. 4:20-cv-02078-MWB

            Defendants,                 Hon. Matthew W. Brann

NAACP-PENNSYLVANIA STATE
CONFERENCE, et al.,

            Intervenor-Defendants,

DNC SERVICES
CORPORATION/DEMOCRATIC
NATIONAL COMMITTEE,

            Intervenor-Defendant.



              UNPUBLISHED CASES CITED IN
       REPLY IN SUPPORT OF MOTION TO DISMISS BY
  INTERVENOR-DEFENDANTS NAACP-PENNSYLVANIA STATE
 CONFERENCE, BLACK POLITICAL EMPOWERMENT PROJECT,
COMMON CAUSE PENNSYLVANIA, LEAGUE OF WOMEN VOTERS
OF PENNSYLVANIA, JOSEPH AYENI, LUCIA GAJDA, STEPHANIE
 HIGGINS, MERIL LARA, RICARDO MORALES, NATALIE PRICE,
           TIM STEVENS, AND TAYLOR STOVER
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                           CASE                                ATTACHMENT

Bowden v. DB Schenker, No. 1:17-cv-01999, 2018 WL                  1
1203362 (M.D. Pa. Mar. 8, 2018)


In re Canvassing Observation Appeal of City of Philadelphia        2
Bd. of Elections, No. 30 EAP 2020, 2020 WL 6737895 (Pa.
Nov. 17, 2020)

Donald J. Trump for President, Inc v. Boockvar, No. 2:20-cv-       3
966, --- F.Supp.3d ---- , 2020 WL 5997680 (W.D. Pa. Oct. 10,
2020)

Golden v. Gov’t of the Virgin Islands, Nos. 1:05-CV-               4
00005RLFGWC, CIV.2005/0005, 2005 WL 6106401 (D.V.I.
Mar. 1, 2005)

Gourgue v. United States, No. 12CV-1490-LAB, 2013 WL               5
1797099 (S.D. Cal. Apr. 29, 2013)


White v. Alcon Film Fund, LLC, No. 1:13-cv-1163, 2013              6
WL 12067479 (N.D. Ga. Aug. 13, 2013)
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                  EXHIBIT 1
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Bowden v. DB Schenker, Not Reported in Fed. Supp. (2018)


                                                                     *1 (E.D. Pa. July 26, 2016). Plaintiff timely appealed, and
                                                                     on May 31, 2017, the United States Court of Appeals for
                  2018 WL 1203362
                                                                     the Third Circuit affirmed the Eastern District's decision, see
   Only the Westlaw citation is currently available.
                                                                     Bowden v. DB Schenker, 693 Fed.Appx. 157, 158-59 (3d
   United States District Court, M.D. Pennsylvania.
                                                                     Cir. 2017), and subsequently denied Plaintiff's request for
               Jerra V. BOWDEN, Plaintiff,                           rehearing en banc.
                           v.
                                                                     1
               DB SCHENKER, Defendant.                                       The court notes for the record that Plaintiff
                                                                             erroneously named Defendant in the complaint as
                    Civil No. 1:17-CV-01999                                  “DB Schenker,” whereas Defendant's actual name
                                 |                                           is Schenker, Inc.
                      Signed 03/08/2018
                                                                     Despite the final judgment as to her claims, on October
Attorneys and Law Firms                                              2, 2017, Plaintiff nonetheless filed a materially identical
                                                                     complaint in the Court of Common Pleas for Cumberland
Alphonso Arnold, Jr., Law Offices of Alphonso Arnold Jr.,            County at docket number 2017-07277. Defendant notified
Harrisburg, PA, for Plaintiff.                                       Plaintiff via telephone and email on October 13, 2017 that the
                                                                     complaint was claim precluded and that Defendant intended
Steven K. Ludwig, Fox Rothschild LLP, Philadelphia, PA, for
                                                                     to seek sanctions against Plaintiff's counsel if the complaint
Defendant.
                                                                     was not withdrawn. On November 1, 2017, Defendant
                                                                     removed the case to this court (Doc. 1), and on November 8,
                                                                     2017, Defendant filed a motion to dismiss the case pursuant
                      MEMORANDUM                                     to Federal Rule of Civil Procedure 12(b)(6) on the basis of
                                                                     res judicata (Doc. 6), as well as a motion to transfer venue
SYLVIA H. RAMBO, United States District Judge
                                                                     to the Eastern District of Pennsylvania (Doc. 4), together
 *1 In this diversity action, Plaintiff presents claims against      with supporting briefs. Defendant served a letter on Plaintiff's
her former employer for misappropriation of ideas, unjust            counsel on November 17, 2017, once again advising him
enrichments, and quantum meruit. Presently before the court          that Plaintiff's claims were precluded and that sanctions
are Defendant's motions 1) to transfer venue (Doc. 4); 2) to         would be sought if counsel did not withdraw the complaint.
dismiss the complaint pursuant to Rule 12(b)(6) on the basis         Counsel for Plaintiff did not withdraw the complaint, and on
of res judicata (Doc. 6); and 3) for sanctions against Plaintiff's   December 12, 2017, Defendant filed a motion, accompanied
counsel for filing a frivolous complaint (Doc. 9). For the           by a supporting brief, seeking sanctions against him. (Docs.
reasons stated herein, Defendant's motions to dismiss and for        9 & 10.)
sanctions will be granted, and its motion to transfer venue will
be denied as moot.                                                   Plaintiff filed a brief in opposition to the motion for sanctions
                                                                     on December 26, 2017 (Doc. 14), but has failed to respond to
                                                                     the motions to transfer and dismiss for more than sixty days,
I. Background                                                        and, thus, the court may grant those motions as uncontested
Plaintiff filed suit against Defendant 1 , her former employer,      pursuant to Middle District Local Rule 7.6. (providing that
in the United States District Court for the Eastern District of      “[a]ny party opposing any motion ... shall file a brief in
Pennsylvania on March 21, 2016, asserting, inter alia, claims        opposition within fourteen (14) days after service of the
of misappropriation of ideas, unjust enrichment, and quantum         movant's brief.... Any party who fails to comply with this rule
meruit under Pennsylvania common law. Plaintiff's claims             shall be deemed not to oppose such motion.”). Nonetheless,
stemmed from Defendant's introduction of an assembly line            the court will address each of Defendant's motions on the
approach to certain of its operations that relied on Plaintiff's     merits.
development of, what she referred to as, the “Productivity
Tracker.” On July 25, 2016, the Eastern District dismissed
                                                                     II. Motion to Dismiss
Plaintiff's complaint in its entirety with prejudice. See Bowden
                                                                      *2 Defendant has moved for dismissal of the complaint on
v. DB Schenker, Civ. No. 16-cv-1272, 2016 WL 3981354,
                                                                     the basis of res judicata, otherwise known as claim preclusion,


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which, although an affirmative defense, may be raised in a          from presenting the same claims in state court to seek
motion to dismiss pursuant to Federal Rule of Civil Procedure       a determination from the Pennsylvania Supreme Court on
12(b)(6). See Lewis v. Smith, Civ. No. 07-cv-2011, 2008 WL          whether discovery should be conducted prior to dismissing
3200836, *1 (M.D. Pa. Aug. 7, 2008) (quoting Walzer v.              claims similar to Plaintiff's. This position is both unsupported
Muriel, Siebert & Co., Inc., 221 Fed.Appx. 153, 155 (3d Cir.        by the case law that Plaintiff cites, and flies in the face of
2007)). Although the court must generally limit its review          the well-settled rule applying the United States Constitution's
to facts contained in the complaint when deciding a motion          full faith and credit clause of Article IV, § 1 to proceedings
under Rule 12(b)(6), “[t]he defense of claim preclusion ...         of federal courts. See In re Stevenson, 40 A.3d 1212, 1225
may be raised and adjudicated on a motion to dismiss and the        (Pa. 2012) (citing Del. Valley Citizens' Council for Clean
court can take notice of all facts necessary for the decision.      Air v. Pennsylvania, 755 F.2d 38, 43-44 (3d Cir. 1985)
Specifically, a court may take judicial notice of the record        (“Pennsylvania courts have long recognized the principle that
from a previous court proceeding between the parties.” Id.          state courts are bound by the judgments of federal courts.”)).
(quoting Toscano v. Conn. Gen. Life Ins. Co., 288 Fed.Appx.         Plaintiff's argument also ignores another well-established
36, 38 (3d Cir. 2008) (internal citations omitted)).                principle; namely, that “[i]n the absence of a reported decision
                                                                    by the state's highest court addressing the precise issue before
“Claim preclusion, formerly referred to as res judicata, gives      it, a federal court applying state substantive law must predict
dispositive effect to a prior judgment if a particular issue,       how the state's highest court would rule if presented with
although not litigated, could have been raised in the earlier       the case.” See Hittle v. Scripto-Tokai Corp., 166 F. Supp. 2d
proceeding.” Bd. of Trs. of Trucking Emps. of N. Jersey             159, 161 (M.D. Pa. 2001) (citing Nationwide Mut. Ins. Co.
Welfare Fund, Inc.—Pension Fund v. Centra, 983 F.2d 495,            v. Buffetta, 230 F.3d 634, 637 (3d Cir. 2000)). Thus, even if
504 (3d Cir. 1992). In order for a claim to be precluded, the       Plaintiff believed that the federal application of Pennsylvania
party asserting the defense must show that there was “(1) a         law was somehow incorrect, that argument should have been
final judgment on the merits in a prior suit involving (2) the      presented to the Eastern District to make a determination of
same parties or their privies and (3) a subsequent suit based       how the Pennsylvania Supreme Court would likely rule on
on the same cause of action.” United States v. Athlone Indus.,      the same issue. Simply stated, Plaintiff had her choice of
Inc., 746 F.2d 977, 983 (3d Cir. 1984) (citing I.A.M. Nat'l         forum when filing her first complaint and could have chosen
Pension Fund v. Indus. Gear Mfg. Co., 723 F.2d 944, 946-47          to file in state court, but did not. She is now bound by the
(D.C. Cir. 1983)). Whether two separately-filed lawsuits are        judgment of the Eastern District, which was affirmed by the
based on the same cause of action “turn[s] on the essential         Third Circuit. Accordingly, the court finds that Plaintiff's
similarity of the underlying events giving rise to the various      claims are precluded, and her complaint will be dismissed
legal claims.” Id. Rather than applying this test mechanically,     with prejudice. 2
the court “should focus on the central purpose of the doctrine,
to require a plaintiff to present all claims arising out the same   2      Because the court has opted to decide Defendant's
occurrence in a single suit.” Centra, 983 F.2d at 504 (citing
                                                                           motion to dismiss on the merits and will dismiss the
Athlone Indus., 746 F.2d at 983-84).
                                                                           complaint, Defendant's motion to transfer venue
                                                                           (Doc. 4) is moot.
Here, all the requirements are clearly met. A final judgment
was handed down by the Eastern District and affirmed by the
Third Circuit, Plaintiff and Defendant are the same parties         III. Motion for Sanctions
as in the previous suit, and Plaintiff brings almost identical       *3 Defendant has also moved for sanctions against Plaintiff's
claims—misappropriation of ideas, unjust enrichment, and            counsel, Arnold Alphonso, Jr., Esq. (“Mr. Arnold”), on
quantum meruit—as she alleged in her Eastern District               the basis that Plaintiff's claims were clearly precluded and
complaint, which once again arise out of her claimed                therefore frivolous. (See Doc. 9.) Counsel for Defendant
invention of a “Productivity Tracker.” Indeed, more than a          notified Mr. Arnold multiple times that the claims were
dozen paragraphs in the two complaints are identical, and           precluded and that the filing of such a frivolous lawsuit was
Plaintiff does not attempt to allege any new material facts.        sanctionable. On December 12, 2017, after Mr. Arnold failed
                                                                    to withdraw the complaint, counsel for Defendant filed the
Plaintiff's only argument against claim preclusion is that          present motion for sanctions.
a final judgment in a federal court does not preclude her



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Pursuant to Federal Rule of Civil Procedure 11(b), when                substantial deference.” Keister v. PPL Corp., 677 Fed.Appx.
presenting a pleading to the court, an attorney must certify           63, 66 (3d Cir. 2017) (citation omitted).
that, to the best of his or her “knowledge, information,
and belief, formed after an inquiry reasonable under the               As stated above, Plaintiff's claims were clearly precluded by
circumstances: ... (2) the claims, defenses, and other                 the judgments of the Eastern District and Third Circuit. Any
legal contentions are warranted by existing law or by a                competent research into the claims Mr. Arnold presented in
nonfrivolous argument for extending, modifying, or reversing           the instant complaint would have revealed that they were
existing law or for establishing new law.” Fed. R. Civ. P.             without merit. To make matters worse, the frivolousness
11(b). For a filing to be reasonable under the circumstances,          and precluded nature of the current claims were brought to
an attorney must have “ ‘an objective knowledge or belief at           Mr. Arnold's attention on multiple occasions, and he had
the time of the filing of a challenged paper’ that the claim was       every opportunity to withdraw his complaint. Accordingly,
                                                                       the court finds that the filing of the complaint was frivolous
well-grounded in law and fact.” Ford Motor Co. v. Summit
                                                                       and unreasonable under the circumstances, and the court will
Motor Prods., Inc., 930 F.2d 277, 289 (3d Cir. 1991) (quoting
                                                                       impose the sanction on Mr. Arnold of paying Defendant's
Jones v. Pitt. Nat'l Corp., 899 F.2d 1350, 1359 (3d Cir. 1990)).
                                                                       reasonable attorneys' fees and costs in this matter.
The objectivity of the well-grounded in law and fact standard
“requires the attorney to ‘conduct a reasonable investigation
of the facts and a normally competent level of legal research to       IV. Conclusion
support the presentation,’ ” Howe v. Litwack, 579 Fed.Appx.            For the reasons stated above, the court finds that Plaintiff's
110, 115-16 (3d Cir. 2014) (quoting Simmerman v. Corino, 27            claims are precluded and that Mr. Arnold was unreasonable
F.3d 58, 62 (3d Cir. 1994)), and the failure to do so warrants         in filing the complaint. Plaintiff's complaint will be dismissed
sanctions. Rule 11(c) allows the court to impose appropriate           with prejudice, and sanctions in the form of reasonable
sanctions against the attorney responsible for the violation,          attorneys' fees and costs will be imposed upon Plaintiff's
which “may include nonmonetary directives; an order to pay             counsel.
a penalty into court; or ... an order directing payment to the
movant of part or all of the reasonable attorneys' fees and            An appropriate order will issue.
other expenses directly resulting from the violation.” Fed.
R. Civ. P. 11(c)(4). District Courts have broad discretion to
impose attorneys' fees and costs as sanctions, as appellate            All Citations
courts “evaluate the [district] court's factual determinations,
legal conclusions, and choice of an appropriate sanction with          Not Reported in Fed. Supp., 2018 WL 1203362


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                  EXHIBIT 2
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In re Canvassing Observation, --- A.3d ---- (2020)




                  2020 WL 6737895
    Only the Westlaw citation is currently available.                                    OPINION
           Supreme Court of Pennsylvania.
                                                                JUSTICE TODD
       IN RE: CANVASSING OBSERVATION
                                                                 *1 This appeal arises out of the processing of mail-in and
   Appeal of: City of Philadelphia Board of Elections
                                                                absentee ballots received from voters in Philadelphia County
                                                                in the November 3, 2020 General Election. Specifically,
                    No. 30 EAP 2020
                                                                Appellee Donald J. Trump, Inc. (the “Campaign”) orally
                            |
                                                                moved for the Philadelphia County Court of Common Pleas
              Submitted: November 13, 2020
                                                                to give its representative more proximate access to the
                            |
                                                                canvassing activities being carried out by Appellant, the
               Decided: November 17, 2020
                                                                Philadelphia County Board of Elections (the “Board”). The
Appeal from the November 5, 2020, Single-Judge Order            trial court denied relief, the Commonwealth Court reversed,
of the Honorable Christine Fizzano Cannon of the                and the Board now appeals that order. For the following
Commonwealth Court at No. 1094 CD 2020, reversing the           reasons, we vacate the order of the Commonwealth Court, and
November 3, 2020 Order of the Honorable Stella Tsai of the      reinstate the trial court's order denying the Campaign relief.
Court of Common Pleas of Philadelphia County at November
Term 2020, No. 07003, Tsai, Stella M., Judge

Attorneys and Law Firms                                                                I. Background

                                                                This dispute concerns the Board's pre-canvassing and
Kathleen Marie Kotula, Esq., Pennsylvania Department of
                                                                canvassing of mail-in and absentee ballots at the Philadelphia
State, for Bureau of Commissions, Elections & Legislation,
                                                                Convention Center. According to the Board, in advance of
Participants.
                                                                the election, it arranged the workspace of its employees
Zachary Michael Wallen, Esq., Chalmers & Adams LLC, for         at this facility in a manner that it considered best suitable
Cutler, Bryan, Benninghoff, Kerry, Possible Intervenors.        for the processing and maintenance of the security of the
                                                                estimated 350,000 absentee and mail-in ballots it anticipated
City Commissioners of Philadelphia, Pro Se.                     receiving, while ensuring that the social distancing protocols
                                                                for COVID-19 promulgated by the federal Centers for
Mark Alan Aronchick, Esq., Robert Andrew Wiygul, Esq.,
                                                                Disease Control were maintained and the voter's privacy in
Hangley, Aronchick, Segal, Pudlin & Schiller, Philadelphia,
                                                                his or her ballot was protected, and providing a candidate
Craig R. Gottlieb, Esq., Sean James McGrath, Esq., Marcel
                                                                or campaign representative with the ability to observe the
S. Pratt, Esq., Zachary Gene Strassburger, Esq., Philadelphia
                                                                entirety of the pre-canvassing and canvassing process. N.T.
Law Department, for Philadelphia County Board of Elections,
Appellant                                                       Hearing, 11/3/20, at 10-11. 1

Adam Craig Bonin, Esq., The Law Office of Adam                  1      Except as otherwise noted, such citations are to the
C. Bonin, Clifford B. Levine, Esq., Dentons Cohen &                    notes of testimony of the hearing before the trial
Grigsby, PC, Pittsburgh, Susan Mon-Yi Lin, Esq., Kairys,               court.
Rudovsky, Messing, Feinberg & Lin, LLP, Philadelphia, for
Pennsylvania Democratic Party, Appellee                         Under the Board's authority, a designated area of the
                                                                Convention Center was divided into discrete sections,
Ronald Lee Hicks Jr., Esq., Carolyn Batz McGee, Esq., Porter    each devoted to various aspects of the pre-canvassing and
Wright Morris & Arthur LLP, Pittsburgh, Linda Ann Kerns,        canvassing process. Id. at 22. Each section contained three
Esq., Law Offices of Linda A. Kerns, LLC, Philadelphia, for     rows of fifteen folding tables with each table separated by
Donald J. Trump for President, Inc., Appellee                   5-6 feet. Id. at 24. In the first section, workers examined the
                                                                back of the ballot return envelopes and then, based on that
SAYLOR,  C.J., BAER,   TODD,                   DONOHUE,         examination, sorted the envelopes into different trays. Id. at
DOUGHERTY, WECHT, MUNDY, JJ.


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27. In the next section, ballots in their secrecy envelopes were          political affiliation or the elector's candidate
first extracted from the ballot return envelope by machine, and           preference.” 25 P.S. § 3146.8(g)(4)(ii).
then, while encased in their secrecy envelopes, were sent on to    At 7:45 a.m. on Election Day, the Campaign filed a suit in the
another machine which sliced open the secrecy envelope and         Philadelphia Court of Common Pleas challenging the location
removed the ballot from within. Id. at 28. During this phase,      where observers such as Attorney Mercer could watch the
ballots without secrecy envelopes – so-called “naked” ballots      process. The Campaign subsequently withdrew that action,
– were segregated and placed into a separate tray. 2 Id. at 30.    without prejudice, but then refiled it at 9:45 p.m. that night.
                                                                   The trial court subsequently conducted an evidentiary hearing
2                                                                  that same night utilizing the “Zoom” videoconference tool,
       Ballots not placed into the provided secrecy
       envelopes are invalid. Pennsylvania Democratic              which enabled Attorney Mercer to testify remotely.
       Party v. Boockvar, 238 A.3d 345, 380 (Pa. 2020).
                                                                   After hearing Attorney Mercer's testimony and argument
Pursuant to the Election Code, designated observers for
                                                                   from the Campaign and the Board, the trial court rejected
campaigns or candidates were permitted to physically enter
                                                                   the Campaign's primary argument, raised orally during the
the Convention Center hall and observe the entirety of this
                                                                   hearing, that Section 3146.8(b) of the Election Code – which
process; however, the Board erected a waist-high security
                                                                   allows designated watchers or observers of a candidate “to
fence to separate the observers from the above-described
                                                                   be present when the envelopes containing official absentee
workspace of Board employees. The fence, behind which
                                                                   ballots and mail-in ballots are opened and when such ballots
observers could freely move, was separated from the first
                                                                   are counted and recorded,” 25 P.S. § 3146.8(b) – requires that
row of employees’ desks in each section by a distance
                                                                   the observers have the opportunity to “meaningfully ... see
of approximately 15-18 feet. Id. at 23. Board employees
                                                                   the process.” N.T. Hearing, 11/3/20, at 49. In rejecting the
used this “buffer” area between the security fence and their
                                                                   argument, the trial court noted that Section 3146.8 contained
workspace to enter or leave their work areas for their shifts,
                                                                   no language mandating “meaningful observation”; rather,
or to take scheduled breaks. Id. at 30-31.
                                                                   the court interpreted the section as requiring only that the
                                                                   observer be allowed to be “present” at the opening, counting,
 *2 On the morning of November 3, 2020 – Election Day
                                                                   and recording of the absentee or mail-in ballots. Trial Court
– the Campaign sent a designated representative, Attorney
                                                                   Opinion, 11/4/20, at 3-4.
Jeremy Mercer, to observe the pre-canvassing and canvassing
process. Attorney Mercer entered the Convention Center at
                                                                   The court observed that Attorney Mercer's testimony that he
7:00 a.m. and remained there throughout the entire day. He
                                                                   could not see individual markings on the secrecy envelopes,
testified that he was able to move freely along the length
                                                                   or determine whether the signature on all the ballot envelopes
of the security fence and observe the employees engaged in
                                                                   was properly completed, did not establish a violation of
their pre-canvassing and canvassing activities from various
                                                                   Section 3416.8, inasmuch as that statute “provides for no
vantage points. Id. at 21. He related that, while he could see
                                                                   further specific activities for the watchers to observe, and
the Board employees in the first section of the workspace
                                                                   no activities for the watchers to do other than simply ‘be
examining the back of the ballot return envelopes, from his
                                                                   present’.” Id. at 4. The court opined that, under this section,
position, he could not read the actual declarations on the
                                                                   “[w]atchers are not directed to audit ballots or to verify
ballot envelopes. Id. at 27. Regarding the ballot extraction
                                                                   signatures, to verify voter address[es], or to do anything else
activities in the next section, Attorney Mercer testified that
                                                                   that would require a watcher to see the writing or markings
he could see employees removing the ballots contained in
                                                                   on the outside of either envelope, including challenging the
secrecy envelopes from the return envelopes, and that, when
                                                                   ballots or ballot signatures.” Id. Consequently, that same day,
“watching closely,” he could discern if any return envelopes
                                                                   the trial court denied the Campaign's request that the Board
contained naked ballots. Id. at 30. However, he stated that he
                                                                   modify the work area to allow for closer observation of the
could not see whether there were any markings on the security
                                                                   ongoing ballot canvassing. The court indicated, however,
envelopes themselves. 3 Id. at 38.                                 that it was not discouraging the Board from providing an
                                                                   additional corridor for observers along the side of the tables
3                                                                  to watch the proceedings, provided COVID-19 protocols
       The Election Code prohibits the security envelope
       from containing any “text, mark or symbol which             and voter information secrecy protections were maintained. 4
       reveals the identity of the elector, the elector's          Trial Court Order, 11/3/20.


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                                                                                the room in which the absentee ballots
4                                                                               and mail-in ballots are pre-canvassed.
        It should be noted that the pre-canvassing and
        canvassing activities were also broadcast live on
        YouTube.
                                                                    25 P.S. § 3146.8(g)(1.1) (emphasis added).
*3 The Campaign immediately appealed to the
Commonwealth Court, and the matter was assigned to
                                                                    Judge Fizzano Cannon noted that the parties offered
the Honorable Christine Fizzano Cannon. 5 Judge Fizzano             competing interpretations of the phrases “present,” and “to
Cannon held a status conference on the night of November            remain in the room,” with the Board arguing that these
4, 2020, and issued an order on the morning of November             terms require only that the observer be physically present
5, 2020, which reversed the trial court. She directed the trial     in the room where the ballot counting occurs; whereas the
court to enter an order by 10:30 a.m. to require “all candidates,   Campaign contended that these phrases required the observer
watchers, or candidate representatives be permitted to be           to be able to observe “meaningfully,” in addition to being
present for the canvassing process pursuant to 25 P.S. §            physically present. Judge Fizzano Cannon deemed each of
2650 and/or 25 P.S. § 3146.8 and to be permitted to observe         these interpretations to be reasonable, and, hence, concluded
all aspects of the canvassing process within 6 feet, while          the statutory language was ambiguous.
adhering to all COVID-19 protocols.” Commonwealth Court
Order, 11/5/20.                                                     Because these provisions of the Election Code had as
                                                                    their purpose “maintaining the integrity of the elective
5                                                                   process in the Commonwealth,” the judge determined that
        The Pennsylvania Democratic Party (“Intervenor”)
        was granted leave to intervene in these proceedings         the language in question “imports upon ... candidates’
        by the Commonwealth Court.                                  representatives at least a modicum of observational leeway
                                                                    to ascertain sufficient details of the canvassing process for
In her opinion, filed later that day, Judge Fizzano Cannon
                                                                    the purpose of intelligently assessing and/or reporting to the
focused her analysis on what she considered to be the relevant
                                                                    candidate represented the details of the canvassing process.”
governing provisions of the Election Code, Section 3146.8(b)
                                                                    Commonwealth Court Opinion, 11/5/20, at 5. In her view,
and Section 3146.8(g)(1.1). Section 3146.8(b) provides:
                                                                    in order for representatives to fulfill their reporting duty to
                                                                    their candidate, they are required to “have the opportunity to
                                                                    observe the processes upon which they are to report,” id., and
             Watchers shall be permitted to be                      so mere physical presence of the observers was insufficient to
             present when the envelopes containing                  guarantee this “meaningful observation,” id. at 6.
             official absentee ballots and mail-in
             ballots are opened and when such                       Judge Fizzano Cannon then found that, based on Attorney
             ballots are counted and recorded.                      Mercer's testimony that, while he was physically present in
                                                                    the room where the pre-canvassing and canvassing processes
                                                                    were occurring, the distance from which he was observing
25 P.S. § 3146.8(b) (emphasis added). Section 3146.8(g)(1.1)        those processes, as well as the physical barriers in the room,
states, in relevant part:                                           prevented him from observing the ballots being processed,
                                                                    the ballot envelopes, the secrecy envelopes, and any markings
                                                                    on the secrecy envelopes, depriving him of the ability to
             The county board of elections shall                    actually observe those processes “in any meaningful way.”
             meet no earlier than seven o'clock                     Id. at 8. Consequently, the judge concluded that the trial
             A.M. on election day to pre-canvass all                court erred as a matter of law in determining that the Board
             ballots received prior to the meeting ...              had complied with the Election Code. The Board filed an
             One authorized representative of each                  emergency petition for allowance of appeal with our Court on
             candidate in an election and one                       the morning of November 5, 2020.
             representative from each political
             party shall be permitted to remain in                  *4 While this petition was pending, that same day, the
                                                                    Campaign filed a one-page “Complaint and Motion for



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Emergency Injunction” in the United States District Court          and ballots for which [its] watchers were prevented from
for the Eastern District of Pennsylvania alleging, inter alia,     observing during the pre-canvass and canvass in the County
that, in the aftermath of the Commonwealth Court's order in        Election Boards.” Complaint for Declaratory and Injunctive
the instant case, the Board was violating the Election Code        Relief in Donald J. Trump, Inc., et.al. v. Boockvar, No. 20-
by “refusing to allow any representatives and poll watchers        CV-02078 (M.D. Pa. filed Nov. 9, 2020) (Exhibit 1 to Board's
for President Trump and the Republican Party” to observe           Brief), at 84. This matter was assigned to District Court
the counting of the ballots, and that the “counting continues      Judge Matthew Brann who promptly issued an order setting
with no Republicans present.” See Complaint and Motion             an expedited schedule for the Campaign to file motions
for Emergency Injunction in Donald J. Trump For President,         for injunctive relief, and for the Board to file a responsive
Inc. v. Philadelphia County Board of Elections, No. 20-5533        motion thereto as well as a motion to dismiss. Notably,
(E.D. Pa. filed Nov. 5 2020) (hereinafter “Trump”) (attached       however, on November 15, 2020, the Campaign filed an
as Exhibit 2 to Board's Brief), at ¶¶ 4 & 5.                       amended complaint, removing all counts which were based
                                                                   on canvassing access. See First Amended Complaint Verified
That case was assigned to District Court Judge Paul S.             Complaint for Declaratory and Injunctive Relief in Donald J.
Diamond, who held a hearing on the request for an emergency        Trump, Inc., et.al. v. Boockvar, No. 20-CV-02078 (M.D. Pa.
injunction at 5:30 p.m. on November 5, 2020. During the            filed Nov. 15, 2020).
hearing, counsel for the Campaign stated that the Campaign
had “a nonzero number of people in the room.” N.T. Hearing         During the interim, on November 9, 2020, our Court granted
in Trump, 11/5/20 at 10. Judge Diamond, seeking clarification      the Board's emergency petition for allowance of appeal on the
of the meaning of the term “nonzero”, asked counsel for the        following issues:
Campaign directly: “as a member of the bar of this Court,
are people representing the Donald J. Trump for President              *5 1. Whether, as a matter of statutory construction
[campaign], representing the plaintiff in that room?” Id. at 11.        pursuant to Pennsylvania law, the Commonwealth Court
Counsel replied “yes.” Id.                                              erred in reversing the trial court, which concluded
                                                                        that Petitioner City of Philadelphia Board of Elections’
Because the District Court recognized that the petition for             regulations regarding observer and representative access
allowance of appeal filed by the Board was pending before               complied with applicable Election Code requirements.
our Court, and that a decision from our Court on the proper
                                                                       2. Whether the issue raised in Petitioner's petition for
interpretation of the governing provisions of the Election
                                                                         allowance of appeal is moot.
Code would obviate the need for it to rule on a question of
state law, the District Court encouraged the parties to reach an       3. If the issue raised in Petitioner's petition for allowance of
interim accommodation. Thus, the Board and the Campaign                   appeal is moot, does there remain a substantial question
reached an agreement, which was entered on the record in                  that is capable of repetition yet likely to evade review,
open court before Judge Diamond, under which the crowd                    and, thus, fall within an exception to the mootness
control barrier, which the Board had moved to within six                  doctrine.
feet of the first row of tables in its employees’ work area
as the result of the Commonwealth Court decision, would            In our order, we directed the Prothonotary to establish an
remain in that position, and that all campaign observers would     expedited briefing schedule; we also indicated that our grant
have equal access to positions behind that barrier to watch        order was not a stay of the Board's canvassing process, which
the canvassing process. Id. at 38-40. Judge Diamond deferred       is ongoing as of this writing. 6
action on the merits of the underlying claims in the lawsuit,
which remains pending.                                             6        Bryan Cutler, Speaker of the Pennsylvania
                                                                            House of Representatives, and Kerry Benninghoff,
Subsequently, on November 9, 2020, the Campaign filed yet
                                                                            Majority Leader of the Pennsylvania House of
another federal lawsuit, in the United States District Court
                                                                            Representatives, have filed a motion to intervene
of the Middle District of Pennsylvania, seeking to enjoin
                                                                            in this matter before our Court, as well as an
Pennsylvania from certifying the results of the November
                                                                            accompanying brief. While we deny this motion,
3, 2020 General Election or, alternatively, to exclude from
the certified results “the tabulation of absentee and mail-in



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        we, nevertheless, accept the accompanying brief as          regulations and instructions, not inconsistent with law, as they
        an amicus brief.                                            may deem necessary for the guidance of ... elections officers
                                                                    and electors.” Board Brief at 32 (quoting 25 P.S. § 2642(f)).
                                                                    Thus, it reasons that the access rules it established for ballot
                         II. Mootness                               processing in Philadelphia County – which were based on
                                                                    its perceived need for protecting its workers’ safety from
We begin by addressing whether the central legal issue in this
                                                                    COVID-19 and physical assault from those individuals who
matter – involving an interpretation of the provisions of the
                                                                    have contact with its workers; ensuring security of the ballots;
Election Code establishing campaign access requirements to
                                                                    efficiently processing large numbers of ballots; protecting
ballot canvassing activities – is moot. See Stuckley v. Zoning
                                                                    the privacy of voters; and ensuring campaign access to the
Hearing Board of Newtown Township, 79 A.3d 510, 516 (Pa.
                                                                    canvassing proceedings – are a valid exercise of its authority.
2013) (we will generally not address matters where there is no
                                                                    The Board maintains that these rules can be invalidated by a
actual case or controversy between the parties). Both parties
                                                                    court only if they are inconsistent with the Election Code.
and Intervenor argue that this case is not moot because the
Board continues to count ballots, and the Campaign continues
                                                                     *6 In determining whether its access rules are consistent
to want its representatives to have maximal access to the
                                                                    with the Election Code, the Board contends that only two
canvassing process.
                                                                    provisions of the Code are relevant: 25 P.S. § 3146.8(g)
                                                                    (1.1) (specifying that “[o]ne authorized representative of each
We conclude that, because ballots are still being canvassed
                                                                    candidate in an election and one representative from each
by the Board at the time of this writing, the legal question
                                                                    political party shall be permitted to remain in the room
before us is not moot. 7 In this regard, we note that the interim   in which the absentee ballots and mail-in ballots are pre-
agreement between the parties entered in the federal litigation     canvassed”), and Section 3146.8(g)(2) (providing that “[o]ne
being overseen by Judge Diamond did not purport to resolve          authorized representative of each candidate in an election and
this question, and, indeed, Judge Diamond expressly refrained       one representative from each political party shall be permitted
from addressing it as he viewed it as purely a question of          to remain in the room in which the absentee ballots and mail-
Pennsylvania law which could be definitively resolved only          in ballots are canvassed.”).
by our Court. We will, therefore, proceed to address the merits
of the issue before us.                                             The Board rejects the relevance of Section 3146.8(b), given
                                                                    that it sets forth the access requirements for “watchers”. 8
7       Even were the ballot counting process to conclude           The Board characterizes this provision as vestigial in nature,
        prior to our final disposition of this matter, we           reflecting the manner in which absentee ballots were handled
        regard this issue before us as one which is capable         prior to the 2006 and 2019 amendments to the Election
        of repetition but likely to evade review, and               Code which, respectively, added Section 3146.8(g)(2) and
        therefore subject to our review under this exception        Section 3146.8(g)(1.1). Prior to those amendments, absentee
        to the mootness doctrine. See Reuther v. Delaware           ballots received by a board of elections were taken to the
        County Bureau of Elections, 205 A.3d 302, 306               electors’ local polling places to be canvassed, and, thus,
        n.6 (Pa. 2019) (“Given the abbreviated time frame           candidates’ designated poll watchers were permitted by
        applicable to elections and the amount of time              Section 3146.8(b) to remain in the room at the polling place
        that it takes for litigation to reach this Court,           while the absentee ballots were canvassed. According to the
        this exception is particularly applicable when the          Board, Sections 3146.8(g)(1.1) and (2) established that all
        question presented relates to an election dispute.”).       mail-in and absentee ballots would be pre-canvassed and
                                                                    canvassed at a central location designated by the board of
                                                                    elections; hence, poll watchers are not granted access to these
            III. Access under the Election Code                     proceedings. Consequently, in the Board's view, the rights of
                                                                    the Campaign's designated representative in this matter are
                A. Arguments of the Parties                         delineated exclusively by Sections 3146.8(g)(1.1) and (2).

The Board argues that the Election Code granted to it the           8      Section 3146.8(b) provides:
express statutory authority “[t]o make and issue such rules,



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             Watchers shall be permitted to be present              9      Intervenor's brief endorses the Board's contention
             when the envelopes containing official absentee               that the Commonwealth Court erred in its
             ballots and mail-in ballots are opened and when               interpretation of the relevant provisions of the
             such ballots are counted and recorded.                        Election Code, but it does not develop a separate
The Board contends that these statutory provisions should be               argument to support this claim.
construed in accordance with the plain meaning of their terms,       *7 The Campaign responds that “the plain meaning and
i.e., requiring only that a candidate's authorized representative   purpose of the statutes at issue is to provide the public
be permitted to remain in the room while the ballots are pre-       the opportunity to observe and vet the canvassing and
canvassed or canvassed. The Board notes that the Campaign's         tabulation of the vote.” Campaign Brief at 17. The Campaign
representative was, in fact, permitted to be in the room at         reasons that, as the Election Code gives a candidate's
the Convention Center where the ballots were being pre-             representative the right to be “present” and to “remain in
canvassed and canvassed at all times during this process, just      the room” during the canvassing of absentee and mail-in
as these provisions require. Relatedly, the Board contends          ballots, citing 25 P.S. § 2650 (“Every candidate shall be
that, even if Section 3146.8(b) of the Election Code were           entitled to be present in person or by attorney in fact duly
deemed to be applicable herein, its requirements were met           authorized, and to participate in any proceeding before any
as well, given that the Campaign's representative was present       county board whenever any matters which may affect his
at all times when absentee and mail-in ballots were opened,         candidacy are being heard, including any computation and
counted, and recorded.                                              canvassing of returns of any primary or election or recount
                                                                    of ballots or recanvass of voting machines affecting his
Moreover, the Board emphasizes that, contrary to the
                                                                    candidacy.” (emphasis added)); id. § 3146.8(b) (allowing
Commonwealth Court's conclusion, the evidence of record
                                                                    watchers to “be present when the envelopes containing
indicated that Attorney Mercer could see every portion of
                                                                    official absentee ballots and mail-in ballots are opened and
the pre-canvassing and canvassing process and, as a result,
                                                                    when such ballots are counted and recorded” (emphasis
could confirm that the only ballots which were scanned
                                                                    added)); id. § 3146.8(g)(2) (providing that an “authorized
and tabulated were those which had been removed from
                                                                    representative of each candidate in an election and one
secrecy envelopes, and that the outer ballot envelope had been
                                                                    representative from each political party shall be permitted to
inspected for sufficiency and then sorted.
                                                                    remain in the room in which the absentee ballots and mail-in
                                                                    ballots are canvassed” (emphasis added)), these terms should
The Board points out that Attorney Mercer's complaints
                                                                    be broadly interpreted consistent with their overall purpose
about being unable to read the actual declarations on the
                                                                    of allowing public observation of the vote and the counting
ballot envelopes, or his inability to see whether the secrecy
                                                                    thereof. The Campaign rejects the Board's interpretation as
envelopes contained improper markings, were relevant only
                                                                    “a hyper-technical focus on the words themselves,” that
to his desire to determine if the ballots met the requirements
                                                                    disregards this purpose. Campaign Brief at 19.
of the Election Code. However, the Board stresses that our
Court very recently, in In re: November 3, 2020 General
                                                                    The Campaign argues that, under the Board's interpretation,
Election, ––– A.3d. ––––, 2020 WL 6252803 (Pa. Oct. 23,
                                                                    merely being in the far end of a room like the Convention
2020), interpreted the Election Code as precluding time-of-
                                                                    Center, which is as large as a football field, would be
canvassing challenges by campaign representatives; hence,
                                                                    sufficient to comport with these requirements. This, in the
the Board maintains that a candidate's representative has
                                                                    Campaign's view, “defies logic and reasonableness.” Id.
no need for the information about which Attorney Mercer
                                                                    at 20. The Campaign contends that the Board's setup –
complains, as the representative cannot lodge a challenge
                                                                    imposing a barrier and having some tables in the area over
based on it. Most importantly, however, from the Board's
                                                                    a hundred feet away from the edge of the security fence
perspective, there is nothing in the statutory language of
                                                                    – effectively deprived its representative of the ability to be
Sections 3146.8(g)(1.1) and (2) which grants a candidate's
                                                                    truly present, and effectively eliminates the representative's
representative an unqualified right of access to that kind
                                                                    ability to perform his or her role of ensuring openness and
of information during the pre-canvassing and canvassing
                                                                    transparency in the electoral process.
process. 9
                                                                    The Campaign denies that it was seeking the right to challenge
                                                                    mail-in or absentee ballots at the time of canvassing; rather,


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it claims that it was merely seeking the right to observe “in a    to canvassing proceedings, not a candidate or his “attorney
meaningful way” the Board's conduct of the electoral process       in fact”. Section 3146.8(b) is likewise not controlling, given
so that it could “challenge that process through appropriate       that it applies only to the right of “watchers” to be present
litigation.” Campaign Brief at 22 (emphasis omitted). The          while ballots are canvassed. The Election Code contains
Campaign asserts its ability to do so is vital given that these    specific certification requirements for an individual to be
canvassing activities have a high prospect of human error.         appointed as a “watcher,” see 25 P.S. § 2687 (“Appointment
                                                                   of watchers”), and there is no evidence of record establishing
                                                                   that Attorney Mercer met these requirements, and, critically,
                                                                   he did not identify himself as a watcher, but rather as “one of
                         B. Analysis
                                                                   the representatives designated by the Trump campaign ... to
As this issue presents a question of statutory interpretation      observe the pre-canvass.” N.T. Hearing, 11/3/20, at 20-21.
under Pennsylvania law, our standard of review is de novo,
and our scope of review is plenary. Danganan v. Guardian            *8 As recited above, Section 3146.8(g)(1.1) requires only
Protection Services, 645 Pa. 181, 179 A.3d 9, 15 (2018).           that an authorized representative “be permitted to remain
Our objective is, therefore, to ascertain and effectuate the       in the room in which the absentee ballots and mail-in
intent of the General Assembly. Id.; see also 1 Pa.C.S. §          ballots are pre-canvassed,” 25 P.S. § 3146.8(g)(1.1) (emphasis
1921(a). It is well established that “[t]he best indication of     added), and Section 3146.8(g)(2) likewise mandates merely
legislative intent is the plain language of the statute.” Crown    that an authorized representative “be permitted to remain
Castle NG East v. Pennsylvania Public Utility Commission,          in the room in which the absentee ballots and mail-in
234 A.3d 665, 674 (Pa. 2020). In ascertaining the plain            ballots are canvassed.” 25 P.S. § 3146.8(g)(2) (emphasis
meaning of statutory language, we consider it in context and       added). While this language contemplates an opportunity to
give words and phrases their “common and approved usage.”          broadly observe the mechanics of the canvassing process, we
Commonwealth by Shapiro v. Golden Gate National Senior             note that these provisions do not set a minimum distance
Care, 194 A.3d 1010, 1027-28 (Pa. 2017). When the words of         between authorized representatives and canvassing activities
a statute are free and clear of all ambiguity, they are the best   occurring while they “remain in the room.” The General
indicator of legislative intent; hence, in such circumstances,     Assembly, had it so desired, could have easily established
“we cannot disregard the letter of the statute under the pretext   such parameters; however, it did not. It would be improper
of pursuing its spirit.” Fletcher v. Pennsylvania Property &       for this Court to judicially rewrite the statute by imposing
Casualty Insurance Guarantee Association, 603 Pa. 452, 985         distance requirements where the legislature has, in the
A.2d 678, 684 (2009) (citing 1 Pa.C.S. § 1921(b)). Consistent      exercise of its policy judgment, seen fit not to do so. See
with these principles, when interpreting a statute “we must        Sivick v. State Ethics Commission, ––– A.3d ––––. 2020 WL
listen attentively to what the statute says, but also to what it   5823822, at *10 (Pa. filed Oct. 1, 2020) (“It is axiomatic that
does not say.” Discovery Charter School v. School District         we may not add statutory language where we find the extant
of Philadelphia, 166 A.3d 304, 321 (Pa. 2017). Moreover,           language somehow lacking.”).
regarding the factual findings of the trial court, we must defer
to those findings if they are supported by the evidence. Gentex    Rather, we deem the absence of proximity parameters to
Corp. v. WCAB (Morack), 23 A.3d 528, 534 (Pa. 2011);               reflect the legislature's deliberate choice to leave such matters
Generette v. Donegal Mutual Insurance Company, 957 A.2d            to the informed discretion of county boards of elections, who
1180, 1189 (Pa. 2008).                                             are empowered by Section 2642(f) of the Election Code “[t]o
                                                                   make and issue such rules, regulations and instructions, not
As a threshold matter, given the specific issue in this case       inconsistent with law, as they may deem necessary for the
— the degree of access required by the Election Code for           guidance of ... elections officers.” 25 P.S. § 2642(f).
an “authorized representative” of a candidate to the pre-
canvassing and canvassing proceedings of an election board         In the case at bar, the Board promulgated regulations
— we regard Sections 3146.8(g)(1.1) and (2) of the Code            governing the locations in which authorized representatives
to be the governing statutory provisions, as they directly set     were permitted to stand and move about while observing
forth the rights of such individuals. Section 2650, offered by     the pre-canvassing and canvassing process. The Board's
the Campaign, by its plain terms is inapplicable, as we are        averments that it fashioned these rules based on its careful
addressing the right of access of a campaign's representative      consideration of how it could best protect the security and



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privacy of voters’ ballots, as well as safeguard its employees      the Board of Elections has complied with the observation
and others who would be present during a pandemic for               requirements under 25 P.S. [§] 3146.8.”). As discussed above,
the pre-canvassing and canvassing process, while, at the            such challenges are not permissible under the Election Code.
same time, ensuring that the ballots would be counted in the        Thus, as found by the trial court, Attorney Mercer was able
most expeditious manner possible, were undisputed by the            to appropriately observe that the Board's employees were
Campaign. We discern no basis for the Commonwealth Court            performing their duties under the Election Code.
to have invalidated these rules and impose arbitrary distance
requirements.                                                        *9 In sum, we conclude the Board did not act contrary to
                                                                    law in fashioning its regulations governing the positioning
Significantly, as to any opportunity to observe the mechanics       of candidate representatives during the pre-canvassing and
of the canvassing process, the evidence of record, provided         canvassing process, as the Election Code does not specify
through the Campaign's own witness, Attorney Mercer, whom           minimum distance parameters for the location of such
the trial court deemed to be credible, indicates that the Board's   representatives. Critically, we find the Board's regulations as
rules regarding where campaign representatives could remain         applied herein were reasonable in that they allowed candidate
in the room to view the pre-canvassing and canvassing               representatives to observe the Board conducting its activities
process did not deprive Attorney Mercer of the ability “to          as prescribed under the Election Code. Accordingly, we
actually observe the ... process in any meaningful way,” as         determine the Commonwealth Court's order was erroneous.
the Commonwealth Court concluded, Commonwealth Court                Thus, we vacate that order, and reinstate the trial court's order.
Opinion, 11/5/20, at 8, and the Campaign presently argues.
According to Attorney Mercer's candid testimony, which the          Jurisdiction relinquished.
trial court accepted as credible, from his vantage point, he
could view the entirety of the pre-canvassing and canvassing
process. Clearly, then, Attorney Mercer had the opportunity
                                                                    Justices Baer, Donohue, Dougherty and Wecht join the
to observe the mechanics of the canvassing process.
                                                                    opinion.
Specifically, Attorney Mercer witnessed Board employees
inspecting the back of ballot envelopes containing the voter's      Chief Justice Saylor files a dissenting opinion in which Justice
declaration, before sending them on for processing; witnessed       Mundy joins.
ballots being removed from their secrecy envelopes, and
naked ballots which had been delivered to the Board without         Justice Mundy files a dissenting opinion.
a secrecy envelope being segregated from ballots which
arrived within such envelopes; saw that the ballot processing       CHIEF JUSTICE SAYLOR, dissenting
methods utilized by the Board were not destroying the ballot        The Commonwealth Court reasonably directed election
envelopes containing the voter's declaration; and perceived         officials in Philadelphia to move restrictive barriers in the
that the ballot secrecy envelopes were being preserved during       Convention Center closer to the ballot-canvassing operations,
their processing. See N.T. Hearing, 11/3/20, at 20-21, 27, 30,      which had been staged up to thirty-five yards from the areas
38; Trial Court Order, 11/3/20 (“The [Campaign's] witness           to which the statutorily-authorized candidate representatives
provided copious testimony as to his ability to observe the         were confined. Under the Commonwealth Court's order,
opening and sorting of ballots.”). Although Attorney Mercer         these representatives could then observe whether ballots were
related that he could not view the actual declarations on the       being counted lawfully to the best of their ability, consistent
ballot envelopes, nor examine individual secrecy envelopes          with health and safety restrictions. The record -- as well
for improper markings, as the trial court properly determined,      as publicly-available video recordings from the Convention
this information would only be necessary if he were making          Center -- amply demonstrate that this simply wasn't the case
challenges to individual ballots during the pre-canvassing          previously.
and canvassing process, which appeared to be his primary
motivation in seeking such information. See id. at 37-38; Trial     The canvassing has now proceeded to near conclusion under
Court Order, 11/3/20 (“His concerns pertained to his inability      an ensuing agreement among the parties associated with
to observe the writing on the outside of the ballots. Given         federal litigation. In my judgment, the matter is therefore
that observers are directed only to observe and not to audit        moot -- or at least moot enough -- so that this Court's
ballots, we conclude, based on the witness's testimony, that        discretionary intervention was and is not required. Moreover,



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                                                                        to evade review[.]” Majority Op. at 10, n. 7. As such, I join
the Legislature already is signaling that there will be an
                                                                        Chief Justice Saylor's dissenting opinion in full.
intense after-action review of the no-excuse mail-in voting
regime, which is in its infancy in Pennsylvania. Accordingly,
                                                                         *10 In denying Appellee's initial motion, the trial court
I doubt that the Court's present ruling, relative to governance
                                                                        concluded “[Appellee]’s argument that the Board of Elections
that is quite likely to be substantially refined, will be of any
                                                                        was not providing observers the opportunity to ‘meaningfully
importance in the future.
                                                                        observe’ the canvassing of ballots” failed because “[Appellee]
                                                                        was unable to point to any statutory language or case
I also note that, given the enormous scale of canvassing
                                                                        law using the word ‘meaningful’ or elaborating on what
activities and the historical balkanization associated with the
                                                                        constitutes ‘meaningful observation.’ ” Trial Court Op. at 3.
administration of the election franchise at the county-and-
                                                                        The Commonwealth Court reversed noting “the relegation
district levels across the Commonwealth, there have been,
                                                                        of those representatives to a position where meaningful
and will always be, some localized irregularities. This is why
                                                                        observation of the processes they are present to observe is
courts are open throughout the election cycle, as here, to
                                                                        a practical impossibility would be an absurd interpretation
remedy these just as quickly as possible. It is also one of the
reasons why we have a Commonwealth Court, with expertise                of the Election Code[.]” Cmwlth Ct. Op. at 6. I agree. The
                                                                        majority now vacates the Commonwealth Court's order and
in election matters, and organized to act expeditiously via
                                                                        holds “[w]hile this language contemplates an opportunity to
single-judge consideration.
                                                                        broadly observe the mechanics of the canvassing process, we
                                                                        note that these provisions do not set a minimum distance
Finally, short of demonstrated fraud, the notion that
                                                                        between authorized representatives and canvassing activities
presumptively valid ballots cast by the Pennsylvania
                                                                        occurring while they ‘remain in the room.’ ” Majority
electorate would be disregarded based on isolated procedural
                                                                        Op. at 17. In so doing, the majority seemingly endorses
irregularities that have been redressed -- thus disenfranchising
                                                                        what the Commonwealth Court did in its order, provide an
potentially thousands of voters -- is misguided. Accordingly,
                                                                        “opportunity to broadly observe[.]”
to the degree that there is a concern with protecting or
legitimizing the will of the Philadelphians who cast their votes
                                                                        Appellee was merely requesting the ability to be able to
while candidate representatives were unnecessarily restrained
                                                                        observe the ballots in order to accurately relay compliance
at the Convention Center, I fail to see that there is any real
                                                                        information. Appellees’ Brief at 22 (“The Campaign simply
issue.
                                                                        wants the right to observe in a meaningful way that
                                                                        would allow the Campaign to determine whether the Board
                                                                        was following legal processing procedures, and if not, to
Justice Mundy joins this dissenting opinion.                            challenge that process through appropriate litigation.”). The
                                                                        Commonwealth Court's order, and the subsequent mutual
JUSTICE MUNDY, dissenting                                               agreement of the parties in the Federal action, did precisely
Based on the particular circumstances surrounding this                  that, and I would not disturb it. Accordingly, I dissent.
election, and the volume of mail-in ballots cast due to the
current global pandemic, I disagree with the majority that the
                                                                        All Citations
“issue before us is one which is capable of repetition but likely
                                                                        --- A.3d ----, 2020 WL 6737895

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                  EXHIBIT 3
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                                                                 fact that some county boards of elections intended to verify
                                                                 signatures on mail-in and absentee ballots and applications,
                 2020 WL 5997680
                                                                 while others did not, did not violate Equal Protection Clause;
   Only the Westlaw citation is currently available.
   United States District Court, W.D. Pennsylvania.
                                                                 fact that state did not require signature comparison for mail-
                DONALD J. TRUMP FOR                              in and absentee ballots, but did for in-person ballots, did not
           PRESIDENT, INC., et al., Plaintiffs                   violate Equal Protection Clause; and
                            v.
                                                                 county residency requirement on being poll watcher did not
           Kathy BOOCKVAR, in her capacity
                                                                 violate plaintiffs' constitutional rights.
           as Secretary of the Commonwealth
           of Pennsylvania, et al., Defendants.
                                                                 Defendants' motion granted.
                      No. 2:20-cv-966
                              |                                  Procedural Posture(s): Motion for Summary Judgment.
                     Signed 10/10/2020
                                                                 Attorneys and Law Firms
Synopsis
Background: President's reelection campaign, Republican          Ronald L. Hicks, Jr., Carolyn Batz McGee, Jeremy A. Mercer,
National Committee, and Republican congressional                 Russell D. Giancola, Devin A. Winklosky, Porter Wright
candidates and electors filed suit against state and county      Morris & Arthur LLP, Pittsburgh, PA, Justin R. Clark, Pro Hac
election officials alleging federal and state constitutional     Vice, Matthew Earl Morgan, Pro Hac Vice, Elections LLC,
violations stemming from Pennsylvania's implementation           Washington, DC, for Plaintiffs.
of mail-in voting plan for upcoming general election and
its poll watcher residency requirement. State Democratic         Daniel T. Donovan, Pro Hac Vice, Caroline Darmody, Pro
Party, advocacy organizations, and their members intervened.     Hac Vice, Kristen Leigh Bokhan, Michael Glick, Pro Hac
Parties filed cross-motions for summary judgment.                Vice, Susan Marie Davies, Pro Hac Vice, Kirkland & Ellis
                                                                 LLP, Washington, DC, Howard G. Hopkirk, Karen Mascio
                                                                 Romano, Keli Marie Neary, Pro Hac Vice, Nicole Boland, Pro
                                                                 Hac Vice, Stephen Moniak, Pennsylvania Office of Attorney
Holdings: The District Court, J. Nicholas Ranjan, J., held       General, Kathleen M. Kotula, Kenneth L. Joel, M. Abbegael
that:                                                            Giunta, Governor's Office of General Counsel, Timothy
                                                                 Gates, Pennsylvania Department of State Office of Chief
plaintiffs' claims were ripe for adjudication;                   Counsel, Harrisburg, PA, Daniel T. Brier, Donna A. Walsh,
                                                                 John B. Dempsey, Nicholas F. Kravitz, Pro Hac Vice, Myers,
any injury that plaintiffs would suffer was too speculative to   Brier & Kelly, LLP, Scranton, PA, Jaywin Singh Malhi, Pro
establish Article III standing;                                  Hac Vice, Madelyn Morris, Sara S. Tatum, Kirkland & Ellis
                                                                 LLP, New York, NY, for Defendant Kathy Boockvar.
use of unmanned drop boxes for mail-in ballots by some
counties, but not others, did not violate Equal Protection       Molly R. Mudd, Pro Hac Vice, County of Adams, Gettysburg,
Clause;                                                          PA, for Defendant Adams County Board of Elections.

use of unmanned drop boxes for mail-in ballots did not violate   Andrew F. Szefi, Allan J. Opsitnick, George M. Janocsko,
substantive due process principles;                              Allegheny County Law Department, Pittsburgh, PA, for
                                                                 Defendant Allegheny County Board of Elections.
state law did not impose signature comparison requirement
                                                                 Steven B. Silverman, Molly E. Meacham, Sean R. Keegan,
for mail-in and absentee ballots;
                                                                 Andrew Degory, Babst, Calland, Clements and Zomnir,
                                                                 P.C., Pittsburgh, PA, Elizabeth A. Dupuis, Babst Calland,
state law did not impose signature comparison requirement
                                                                 State College, PA, for Defendants Armstrong County Board
for applications for mail-in and absentee ballots;
                                                                 of Elections, Bedford County Board of Elections, Centre



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County Board of Elections, Columbia County Board of
Elections, Fayette County Board of Elections, Indiana County   Keith O. Brenneman, Law Office of Keith O. Brenneman,
Board of Elections, Lackawanna County Board of Elections,      P.C., Mechanicsburg, PA, for Defendant Cumberland County
Lebanon County Board of Elections, Montour County Board        Board of Elections.
of Elections, Northumberland County Board of Elections,
                                                               Steven B. Silverman, Molly E. Meacham, Sean R. Keegan,
Venango County Board of Elections.
                                                               Andrew Degory, Babst Calland Clements and Zomnir, PC,
Nathan A. Morgan, Beaver, PA, for Defendant Beaver County      Pittsburgh, PA, Elizabeth A. Dupuis, Babst Calland, State
Board of Elections.                                            College, PA, Joseph A. Curcillo, III, Dauphin County,
                                                               Harrisburg, PA, for Defendant Dauphin County Board of
Christine D. Steere, Deasey, Mahoney & Valentini, Ltd.,        Elections.
Media, PA, for Defendant Berks County Board of Elections.
                                                               Edward D. Rogers, Pro Hac Vice, Elizabeth Wingfield, Pro
Steven B. Silverman, Molly E. Meacham, Sean R. Keegan,         Hac Vice, Kahlil Williams, Pro Hac Vice, David S. Fryman,
Andrew Degory, Babst Calland Clements and Zomnir, PC,          Ballard, Spahr, Andrews & Ingersoll, Terence Grugan, Pro
Pittsburgh, PA, Elizabeth A. Dupuis, Babst Calland, State      Hac Vice, Ballard Spahr, Philadelphia, PA, for Defendant
College, PA, Nathan W. Karn, Evey Black Attorneys LLC,         Delaware County Board of Elections.
Hollidaysburg, PA, for Defendant Blair County Board of
Elections.                                                     Thomas S. Talarico, Talarico & Niebauer, Erie, PA, for
                                                               Defendant Erie County Board of Elections.
Mark A. Aronchick, Christina Matthias, Pro Hac Vice, John
B. Hill, Pro Hac Vice, Michele D. Hangley, Pro Hac Vice,       Andrew W. Norfleet, Frank J. Lavery, Jr., Stephen B.
Peter V. Keays, Robert Wiygul, Pro Hac Vice, Hangley           Edwards, Lavery Law, Harrisburg, PA, for Defendants
Aronchick Segal Pudlin & Schiller, Philadelphia, PA, Joseph    Franklin County Board of Elections, Perry County Board of
J. Khan, County of Bucks, Doylestown, PA, for Defendant        Elections.
Bucks County Board of Elections.
                                                               Robert Eugene Grimm, Robert Eugene Grimm Attorney,
William Gleason Barbin, Cambria County Solicitor's Office,     Smithfield, PA, for Defendant Greene County Board of
Ebensburg, PA, for Defendant Cambria County Board of           Elections.
Elections.
                                                               Peter M. McManamon, Pro Hac Vice, Gill, McManamon
Gerard Joseph Geiger, Pro Hac Vice, Newman Williams,           & Ghaner, Huntingdon, PA, Steven B. Silverman, Molly E.
Stroudsburg, PA, for Defendant Carbon County Board of          Meacham, Sean R. Keegan, Andrew Degory, Babst Calland
Elections.                                                     Clements and Zomnir, PC, Pittsburgh, PA, Elizabeth A.
                                                               Dupuis, Babst Calland, State College, PA, for Defendant
Mark A. Aronchick, Christina Matthias, Pro Hac Vice, John      Huntingdon County Board of Elections.
B. Hill, Pro Hac Vice, Michele D. Hangley, Pro Hac Vice,
Robert Wiygul, Pro Hac Vice, Hangley Aronchick Segal           C.J. Zwick, Zwick & Zwick LLP, DuBois, PA, Gregory D.
Pudlin & Schiller, Philadelphia, PA, for Defendant Chester     Sobol, Brookville, PA, for Defendant Jefferson County Board
County Board of Elections.                                     of Elections.

Christopher P. Gabriel, Carfardi Ferguson Wyrick Weis +        Donald Zagurskie, Pro Hac Vice, Johnston & Zagurskie, PC,
Gabriel, Sewickley, PA, for Defendant Clarion County Board     Mifflin, PA, for Defendant Juniata County Board of Elections.
of Elections.
                                                               Christina L. Hausner, Pro Hac Vice, County of Lancaster,
Frank A. Blum, III, Jefferson Hills, PA, for Defendant         Lancaster, PA, for Defendant Lancaster County Board of
Clearfield County Board of Elections.                          Elections.

Keith A. Button, Shafer Law Firm, Meadville, PA, for           Steven B. Silverman, Molly E. Meacham, Sean R. Keegan,
Defendant Crawford County Board of Elections.                  Andrew Degory, Babst Calland Clements and Zomnir, PC,
                                                               Pittsburgh, PA, Thomas W. Leslie, New Castle, PA, Elizabeth




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A. Dupuis, Babst Calland, State College, PA, for Defendant
Lawrence County Board of Elections.                            Thomas R. Shaffer, Glassmire & Shaffer Law Offices,
                                                               Coudersport, PA, for Defendant Potter County Board of
Thomas M. Caffrey, Pro Hac Vice, PO BOX A, Coplay,             Elections.
PA, Sarah Mae Murray, Pro Hac Vice, County of Lehigh,
Allentown, PA, for Defendant Lehigh County Board of            Michael P. Barbera, Barbera, Melvin, Svonavec & Sperlazza
Elections.                                                     LLP, Somerset, PA, for Defendant Somerset County Board of
                                                               Elections.
Lawrence J. Moran, Jr., Matthew J. Carmody, Joyce,
Carmody & Moran, P.C., Regina M. Blewitt, Joyce Carmody        Kenneth R. Levitzky, Kenneth R. Levitzky, Esquire,
Moran, Pittston, PA, for Defendant Luzerne County Board of     Dushore, PA, for Defendants Sullivan County Board of
Elections.                                                     Elections, Wyoming County Board of Elections.

Joseph D. Smith, McCormick Law Firm, Williamsport, PA,         Robert Gawlas, Robert Schaub, Rosenn Jenkins & Greenwald
for Defendant Lycoming County Board of Elections.              LLP, Wilkes-Barre, PA, for Defendant Susquehanna County
                                                               Board of Elections.
Anthony V. Clarke, The Clarke Firm, Bradford, PA, for
Defendant Mckean County Board of Elections.                    Christopher P. Gabriel, Carfardi Ferguson Wyrick Weis +
                                                               Gabriel, Sewickley, PA, Raymond E. Ginn, Jr., Pro Hac Vice,
Steven B. Silverman, Molly E. Meacham, Sean R. Keegan,         Ginn & Vickery, P.C., Wellsboro, PA, for Defendant Tioga
Babst, Calland, Clements and Zomnir, P.C., Pittsburgh, PA,     County Board of Elections.
William J. Madden, Solicitor, Mercer County, Sharon, PA,
Elizabeth A. Dupuis, Babst Calland, State College, PA, for     Steven B. Silverman, Sean R. Keegan, Babst, Calland,
Defendant Mercer County Board of Elections.                    Clements and Zomnir, P.C., Pittsburgh, PA, Allen P. Page,
                                                               McNerney, Page, Vanderlin & Hall, Williamsport, PA, for
Gerard Joseph Geiger, Newman Williams, Stroudsburg, PA,        Defendant Union County Board of Elections.
for Defendants Monroe County Board of Elections, Pike
County Board of Elections, Schuylkill County Board of          Nathaniel Justus Schmidt, Schmidt Law Firm, Warren, PA,
Elections, Snyder County Board of Elections, Wayne County      for Defendant Warren County Board of Elections.
Board of Elections.
                                                               Robert J. Grimm, Swartz Campbell, Ryan Michael Joyce,
Mark A. Aronchick, Christina Matthias, Pro Hac Vice, John      Swartz Campbell, LLC, Pittsburgh, PA, for Defendant
B. Hill, Pro Hac Vice, Michele D. Hangley, Pro Hac Vice,       Washington County Board of Elections.
Robert Wiygul, Pro Hac Vice, Hangley Aronchick Segal
                                                               David A. Regoli, New Kensington, PA, for Defendant
Pudlin & Schiller, Philadelphia, PA, Maureen Calder, Pro Hac
                                                               Westmoreland County Board of Elections.
Vice, Montgomery County Solicitor's Office, Norristown, PA,
for Defendant Montgomery County Board of Elections.            Michelle Pokrifka, Pro Hac Vice, York County Solicitor's
                                                               Office, York, PA, Steven B. Silverman, Molly E. Meacham,
Brian Taylor, Pro Hac Vice, Richard E. Santee, Pro Hac Vice,
                                                               Sean R. Keegan, Andrew Degory, Babst Calland Clements
County of Northampton, Easton, PA, Timothy P. Brennan, Pro
                                                               and Zomnir, PC, Pittsburgh, PA, Elizabeth A. Dupuis, Babst
Hac Vice, County of Northampton, PA, PA, for Defendant
                                                               Calland, State College, PA, for Defendant York County Board
Northampton County Board of Elections.
                                                               of Elections.
Mark A. Aronchick, Christina Matthias, Pro Hac Vice, John
                                                               Adriel I. Cepeda Derieux, Pro Hac Vice, Dale E. Ho, Pro
B. Hill, Pro Hac Vice, Michele D. Hangley, Robert Wiygul,
                                                               Hac Vice, Sophia Lin Lakin, Pro Hac Vice, American Civil
Pro Hac Vice, Hangley Aronchick Segal Pudlin & Schiller,
                                                               Liberties Union Foundation, Christopher R. Noyes, Pro Hac
Zachary Strassburger, City of Philadelphia Law Department,
                                                               Vice, Eleanor Davis, Pro Hac Vice, Jared Vasconcellos
Philadelphia, PA, for Defendant Philadelphia County Board
                                                               Grubow, Pro Hac Vice, Lori A. Martin, Wilmer Cutler
of Elections.
                                                               Pickering Hale and Dorr LLP, New York, NY, Benjamin
                                                               David Geffen, Mary McKenzie, Public Interest Law Center,
                                                               Philadelphia, PA, David P. Yin, Pro Hac Vice, Sarah E.



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Brannon, Pro Hac Vice, American Civil Liberties Union          implementation of a mail-in voting plan for the upcoming
Foundation, John Michael Powers, Pro Hac Vice, Lawyers'        general election.
Committee for Civil Rights Under Law, Washington, DC,
Jason H. Liss, Pro Hac Vice, Boston, MA, Samantha Picans,      Since then, the Pennsylvania Supreme Court issued a decision
Pro Hac Vice, Wilmer Cutler Pickering Hale and Dorr LLP,       involving similar claims, which substantially narrowed the
Denver, CO, Witold J. Walczak, Aclf of PA, Pittsburgh, PA,     focus of this case. And Secretary of the Commonwealth,
for Defendant NAACP Pennsylvania State Conference.             Kathy Boockvar, issued additional election “guidance,”
                                                               which further narrowed certain of the claims.
Adriel I. Cepeda Derieux, Pro Hac Vice, Dale E. Ho, Pro
Hac Vice, Sophia Lin Lakin, Pro Hac Vice, American Civil       Therefore, as this case presently stands, only three claims
Liberties Union Foundation, Christopher R. Noyes, Pro Hac
                                                               remain. First, whether the use of so-called “drop boxes” 1 for
Vice, Eleanor Davis, Jared Vasconcellos Grubow, Pro Hac
                                                               mail-in ballots is unconstitutional, given the lack of guidance
Vice, Lori A. Martin, Wilmer Cutler Pickering Hale and
                                                               or mandates that those drop boxes have security guards to man
Dorr LLP, New York, NY, Benjamin David Geffen, Mary
                                                               them. Second, whether the Secretary's guidance as to mail-
McKenzie, Public Interest Law Center, Philadelphia, PA,
                                                               in ballots—specifically, her guidance that county election
David P. Yin, Pro Hac Vice, Sarah E. Brannon, Pro Hac Vice,
                                                               boards should not reject mail-in ballots where the voter's
American Civil Liberties Union Foundation, John Michael
                                                               signature does not match the one on file—is unconstitutional.
Powers, Pro Hac Vice, Lawyers' Committee for Civil Rights
                                                               Third, whether Pennsylvania's restriction that poll watchers
Under Law, Washington, DC, Jason H. Liss, Pro Hac Vice,
                                                               be residents in the county for which they are assigned, as
Boston, MA, Samantha Picans, Pro Hac Vice, Wilmer Cutler
                                                               applied to the facts of this case, is unconstitutional.
Pickering Hale and Dorr LLP, Denver, CO, Witold J. Walczak,
Aclf of PA, Pittsburgh, PA, for Defendant Common Cause
                                                               1
Pennsylvania.                                                          “Drop boxes” are receptacles similar to U.S. Postal
                                                                       Service mailboxes. They are made of metal, and
Adriel I. Cepeda Derieux, Dale E. Ho, Sophia Lin Lakin,                have a locking mechanism, storage compartment,
American Civil Liberties Union Foundation, Christopher R.              and an insert or slot into which a voter can insert a
Noyes, Eleanor Davis, Jared Vasconcellos Grubow, Lori A.               ballot. See generally [ECF 549-9].
Martin, Wilmer Cutler Pickering Hale and Dorr LLP, New
                                                               In order to present these claims to the Court on a
York, NY, Benjamin David Geffen, Mary McKenzie, Public
                                                               complete record, the parties engaged in extensive fact and
Interest Law Center, Philadelphia, PA, David P. Yin, Pro
                                                               expert discovery, and have filed cross-motions for summary
Hac Vice, Sarah E. Brannon, American Civil Liberties Union
                                                               judgment. No party has raised a genuine dispute of material
Foundation, John Michael Powers, Pro Hac Vice, Lawyers'
                                                               fact that would require a trial, and the Court has found none.
Committee for Civil Rights Under Law, Washington, DC,
                                                               As such, the parties’ cross-motions for summary judgment are
Jason H. Liss, Boston, MA, Samantha Picans, Wilmer Cutler
                                                               ready for disposition.
Pickering Hale and Dorr LLP, Denver, CO, Witold J. Walczak,
Aclf of PA, Pittsburgh, PA, for Defendants League of Women
                                                               After a careful review of the parties’ submissions and the
Voters of Pennsylvania, Patricia Demarco, Danielle Graham
                                                               extensive evidentiary record, the Court will enter judgment in
Robinson, Kathleen Wise.
                                                               favor of Defendants on all of Plaintiffs’ federal-constitutional
                                                               claims, decline to exercise supplemental jurisdiction over the
                                                               state-constitutional claims, and dismiss this case. This is so
                        OPINION                                for two main reasons.
J. Nicholas Ranjan, United States District Judge
                                                               First, the Court concludes that Plaintiffs lack Article III
 *1 Plaintiffs in this case are President Trump's reelection   standing to pursue their claims. Standing, of course, is a
campaign, the Republican National Committee, and several       necessary requirement to cross the threshold into federal
other Republican congressional candidates and electors.        court. Federal courts adjudicate cases and controversies,
They originally filed this suit, alleging federal and state    where a plaintiff's injury is concrete and particularized. Here,
constitutional violations stemming from Pennsylvania's         however, Plaintiffs have not presented a concrete injury to
                                                               warrant federal-court review. All of Plaintiffs’ remaining



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claims have the same theory of injury—one of “vote dilution.”     judiciary,” which is “not accountable to the people”) (cleaned
Plaintiffs fear that absent implementation of the security        up).
measures that they seek (guards by drop boxes, signature
comparison of mail-in ballots, and poll watchers), there is a     Put differently, “[f]ederal judges can have a lot of power—
risk of voter fraud by other voters. If another person engages    especially when issuing injunctions. And sometimes we may
in voter fraud, Plaintiffs assert that their own lawfully cast    even have a good idea or two. But the Constitution sets out our
vote will, by comparison, count for less, or be diluted.          sphere of decision-making, and that sphere does not extend
                                                                  to second-guessing and interfering with a State's reasonable,
 *2 The problem with this theory of harm is that it is            nondiscriminatory election rules.” New Georgia Project v.
speculative, and thus Plaintiffs’ injury is not “concrete”—       Raffensperger, ––– F.3d ––––, ––––, 2020 WL 5877588, at
a critical element to have standing in federal court. While       *4 (11th Cir. Oct. 2, 2020).
Plaintiffs may not need to prove actual voter fraud, they must
at least prove that such fraud is “certainly impending.” They     As discussed below, the Court finds that the election
haven't met that burden. At most, they have pieced together a     regulations put in place by the General Assembly and
sequence of uncertain assumptions: (1) they assume potential      implemented by Defendants do not significantly burden any
fraudsters may attempt to commit election fraud through the       right to vote. They are rational. They further important state
use of drop boxes or forged ballots, or due to a potential        interests. They align with the Commonwealth's elaborate
shortage of poll watchers; (2) they assume the numerous           election-security measures. They do not run afoul of the
election-security measures used by county election officials      United States Constitution. They will not otherwise be
may not work; and (3) they assume their own security              second-guessed by this Court.
measures may have prevented that fraud.

All of these assumptions could end up being true, and these
                                                                                        BACKGROUND
events could theoretically happen. But so could many things.
The relevant question here is: are they “certainly impending”?    I. Procedural Background
At least based on the evidence presented, the answer to that is
“no.” And that is the legal standard that Plaintiffs must meet.      A. Plaintiffs’ original claims.
As the Supreme Court has held, this Court cannot “endorse         On June 29, 2020, Plaintiffs filed their original complaint
standing theories that rest on speculation about the decisions    in this case against Defendants, who are the Secretary of
of independent actors.” See Clapper v. Amnesty Int'l USA, 568     the Commonwealth and the 67 county boards of elections.
U.S. 398, 414, 133 S.Ct. 1138, 185 L.Ed.2d 264 (2013).            [ECF 4]. With their lawsuit, Plaintiffs challenged a number
                                                                  of Pennsylvania's procedures with respect to mail-in voting
Second, even if Plaintiffs had standing, their claims fail on     —in particular, the use of drop boxes and the counting of
the merits. Plaintiffs essentially ask this Court to second-      mail-in ballots that contained certain procedural defects. See
guess the judgment of the Pennsylvania General Assembly           [id.]. Shortly after filing their original complaint, Plaintiffs
and election officials, who are experts in creating and           moved for expedited discovery and an expedited declaratory-
implementing an election plan. Perhaps Plaintiffs are right       judgment hearing. [ECF 6]. Defendants opposed the motion.
that guards should be placed near drop boxes, signature-          The Court partially granted the motion, scheduled a speedy
analysis experts should examine every mail-in ballot, poll        hearing, and ordered expedited discovery before that hearing.
watchers should be able to man any poll regardless of             [ECF 123; ECF 124].
location, and other security improvements should be made.
But the job of an unelected federal judge isn't to suggest         *3 After Plaintiffs filed the original complaint, many non-
election improvements, especially when those improvements         parties sought to intervene in the action, including several
contradict the reasoned judgment of democratically elected        organizations. 2 The Court granted all intervention motions.
officials. See Andino v. Middleton, ––– U.S. ––––, ––– S.Ct.      [ECF 309].
––––, ––––, ––– L.Ed.2d ––––, 2020 WL 5887393, at *1 (Oct.
5, 2020) (Kavanaugh, J. concurring) (state legislatures should    2      Intervenors include the Pennsylvania State
not be subject to “second-guessing by an unelected federal
                                                                         Democratic Party, the League of Women Voters,
                                                                         the NAACP Pennsylvania State Conference,


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       Common Cause Pennsylvania, Citizens for                     the right to vote, which, they said, amounted to additional
       Pennsylvania's Future, the Sierra Club, the                 violations of the 1st and 14th Amendments to the U.S.
       Pennsylvania Alliance for Retired Americans, and            Constitution. [Id. at ¶¶ 202-03].
       several affiliated individuals of these organizations.
Defendants and Intervenors moved to dismiss the original           In Count II, Plaintiffs alleged a violation of the Equal-
complaint. In response, Plaintiffs filed an amended complaint.     Protection Clause under the 14th Amendment. [Id. at ¶¶
[ECF 234]. The amended complaint maintained the gist of            206-15]. Plaintiffs asserted that the implementation of the
the original, but added two new counts and made a variety          foregoing (i.e., mail-in ballot drop boxes, the verification of
of other drafting changes. See [ECF 242]. Defendants and           mail-in ballot applications, and the counting of non-compliant
Intervenors moved to dismiss the first amended complaint,          ballots) was different in different counties, thereby treating
too, primarily asking the Court to abstain and stay the case.      voters across the state in an unequal fashion. [Id. at ¶¶
                                                                   211-13].
Plaintiffs’ first amended complaint asserted nine separate
counts, but they could be sorted into three overarching             *4 In Count III, Plaintiffs asserted a violation of the
categories.                                                        Pennsylvania State Constitution. [Id. at ¶¶ 216-22]. Plaintiffs
                                                                   alleged that the same actions and conduct that comprised
                                                                   Counts I and II also violated similar provisions of the
                                                                   Pennsylvania Constitution. [Id. at ¶ 220].
     1. Claims alleging vote dilution due to unlawful
        ballot collection and counting procedures.                 Finally, in Counts VI and VII, Plaintiffs alleged that
                                                                   Defendants violated provisions of the federal and state
The first category covered claims related to allegedly
                                                                   constitutions by disregarding the Election Code's notice and
unlawful procedures implemented by some Defendants for
                                                                   selection requirements applicable to “polling places.” [Id. at
the collection and counting of mail-in and absentee ballots.
                                                                   ¶¶ 237-52]. Plaintiffs alleged that drop boxes are “polling
Those included claims related to (1) Defendants’ uneven use
                                                                   places,” and thus subject to certain criteria for site selection
of drop boxes and other satellite ballot-collection sites, (2)
                                                                   and the requirement that county election boards provide 20
procedures for verifying the qualifications of voters applying
                                                                   days’ public notice. [Id. at ¶¶ 239-42]. Plaintiffs asserted that
in person for mail-in or absentee ballots, and (3) rules for
                                                                   Defendants’ failure to provide this notice or select appropriate
counting non-compliant ballots (such as ballots submitted
                                                                   “polling places” in the primary election, if repeated in the
without a secrecy envelope, without an elector declaration, or
                                                                   general election, would create the risk of voter fraud and vote
that contained stray marks on the envelope).
                                                                   dilution. [Id. at ¶¶ 243-246].

In Count I, Plaintiffs alleged violations of the Elections
Clause and the related Presidential Electors Clause of the
U.S. Constitution. [ECF 234, ¶¶ 193-205]. Plaintiffs asserted                         2. Poll-watcher claims.
that, under these provisions, only the state legislature may set
the time, place, and manner of congressional elections and         The second category of claims in the first amended complaint
determine how the state chooses electors for the presidency.       consisted of challenges to the constitutionality of Election-
[Id. at ¶ 196].                                                    Code provisions related to poll watchers.


In support of this claim, Plaintiffs alleged that Secretary        In Count IV, Plaintiffs alleged violations of the 1st and 14th
Boockvar's guidance concerning the use of mail-in ballot           Amendments. These claims had both a facial and an as-
drop boxes, whether county boards of elections must                applied component. [ECF 234, ¶ 230 (“On its face and as
independently verify mail-in ballot applications, and the          applied to the 2020 General Election ...”) ].
counting of non-compliant mail-in ballots, was an executive
overreach—in that the Secretary's guidance allegedly violated      First, Plaintiffs alleged that 25 P.S. § 2687 was facially
certain provisions of the Election Code enacted by the             unconstitutional because it “arbitrarily and unreasonably”
Pennsylvania General Assembly. [Id. at ¶ 201]. Plaintiffs also     limits poll watchers to serving only in their county of
claimed that the Secretary's “unlawful guidance” increased         residence and to monitoring only in-person voting at the
the risk of fraudulent or unlawful voting and infringed on         polling place on election day. [Id. at ¶ 226]. Second, Plaintiffs



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alleged that the same provision was unconstitutional as            (1) doing so requires interpretation of ‘unsettled questions
applied in the context of Pennsylvania's new vote-by-mail          of state law’; (2) permitting resolution of the unsettled state-
system, because these poll-watcher restrictions, combined          law questions by state courts would ‘obviate the need for,
with insecure voting procedures, create unacceptable risks of      or substantially narrow the scope of adjudication of the
fraud and vote dilution. [Id. at ¶ 228]. Plaintiffs contended      constitutional claims’; and (3) an ‘erroneous construction of
that these limitations make it “functionally impracticable”        state law would be disruptive of important state policies[.]’
for candidates to ensure that they have poll watchers              ” (citing Chez Sez III Corp. v. Township of Union, 945
present where ballots are deposited and collected, given the       F.2d 628, 631 (3d Cir. 1991))); id. at p. 30 (explaining
widespread use of remote drop boxes and other satellite            that after the three prongs of Pullman abstention are met,
collection sites. [Id.].                                           the court must “make a discretionary determination of
                                                                   whether abstention is appropriate given the particular facts
Count V was the same as Count IV, but alleged that the             of this case,” which requires weighing “such factors as the
same poll-watching restrictions violated the Pennsylvania          availability of an adequate state remedy, the length of time the
Constitution, too. [Id. at ¶ 234].                                 litigation has been pending, and the impact of delay on the
                                                                   litigants.” (cleaned up)) ].

                                                                   The Court found that abstaining under Pullman was
                 3. In-person voting claims.
                                                                   appropriate because of several unresolved ambiguities in
The third category of claims consisted of challenges to the        Pennsylvania's Election Code. Specifically, the Court found
procedures for allowing electors to vote in person after           that there were significant ambiguities as to whether the
requesting a mail-in ballot.                                       Election Code (1) permitted delivery of ballots to locations
                                                                   other than the county election board's headquarters, such
That is, in Counts VIII and IX, Plaintiffs asserted that the       as drop boxes, (2) permitted counties to count ballots
Election Code permits an elector that has requested a mail-in      that were not placed within the “secrecy envelope” (i.e.,
ballot to still vote in person so long as he remits his spoiled    “naked ballots”), (3) considered drop boxes and other ballot-
ballot. [ECF 234, ¶¶ 253-267]. Plaintiffs asserted that during     collection sites as “polling places,” as defined in the Election
the primary, some counties allowed such electors to vote in        Code, and (4) required counties to automatically verify ballot
person, while others did not, and they fear the same will          applications for mail-in ballots (where the person applied
happen in the general election. [Id. at ¶¶ 255, 259]. Plaintiffs   for the ballot in person), even if there was no “bona fide
also asserted that some counties allowed electors who had          objection” to the application. [ECF 409, pp. 17-23].
voted by mail to vote in person, in violation of the Election
Code. [Id. at ¶¶ 257-58]. Plaintiffs alleged that this conduct     The Court explained that each of these ambiguities, if
also violates the federal and state constitutional provisions      settled, would significantly narrow—or even resolve—some
concerning the right to vote and equal protection. [Id. at ¶¶      of Plaintiffs’ claims. As the Court explained, for example,
261, 265].                                                         if a state court interpreted the Election Code to disallow
                                                                   drop boxes, Plaintiffs would obtain their requested relief (i.e.,
                                                                   no drop boxes); alternatively, if drop boxes were authorized
  B. The Court's decision to abstain.                              by the Election Code, then Plaintiffs’ allegations that drop
 *5 Upon consideration of Defendants’ and Intervenors’             boxes were illegal would be eliminated, which would, in turn,
motions to dismiss the first amended complaint, on August          significantly affect the constitutional analysis of Plaintiffs’
23, 2020, the Court issued an opinion abstaining under R.R.        claims. [Id. at pp. 25-28]. The same held true for “naked
Comm'n of Tex. v. Pullman Co., 312 U.S. 496, 61 S.Ct. 643,         ballots,” the breadth of coverage of “polling places,” and the
85 L.Ed. 971 (1941) and temporarily staying the case. [ECF         requisite verification for personal ballot applications.
409, 410].
                                                                   The Court then explained that it was appropriate for it to
In doing so, the Court determined that the three requisite         abstain until a state court could interpret the ambiguous
prongs for Pullman abstention were met, and that the               state law. [Id. at pp. 28-30]. The Court concluded that if it
discretionary considerations weighed in favor of abstention.       interpreted the ambiguous state law, there was a sufficient
[ECF 409, p. 3 (“[Under Pullman, federal courts abstain] if        chance that a state court could disagree with the interpretation,



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which would render this Court's interpretation not only             five discrete issues and clarify Pennsylvania law in time for
advisory, but disruptive to state policies. The Court noted that    the general election. [Id. at p. 1]. Since that case appeared
especially in the election context, states have considerable        to be on track, the Court denied Plaintiffs’ motion without
discretion to implement their own policies without federal          prejudice, and the Court's abstention opinion and order
intervention. Accordingly, because these were questions of          remained in effect.
uninterpreted state law that were sufficiently ambiguous,
federalism and comity demanded that a state court, not this
Court, be the first interpreter.                                       C. The Pennsylvania Supreme Court's decision.
                                                                    On September 17, 2020, the Pennsylvania Supreme Court
 *6 Finally, the Court explained that, despite the imminence        issued its decision in Pennsylvania Democratic Party v.
of the election, abstention was still proper. [Id. at pp.           Boockvar, ––– Pa. ––––, ––– A.3d ––––, 2020 WL 5554644
30-33]. The Court noted that state-court litigation was already     (Sept. 17, 2020). The court clarified three issues of state
pending that would resolve some of the statutory ambiguities        election law that are directly relevant to this case.
at issue. [Id. at p. 31]. Further, the Court highlighted three
courses Plaintiffs could immediately take to resolve the
statutory ambiguities: intervene in the pending state-court                1. Counties are permitted under the Election
litigation; file their own state-court case; or appeal this              Code to establish alternate ballot-collection sites
Court's abstention decision to the Third Circuit, and then                beyond just their main county office locations.
seek certification of the unsettled state-law issues in the
Pennsylvania Supreme Court. [Id. at pp. 31-33].                     The Pennsylvania Supreme Court first considered whether the
                                                                    Election Code allowed a Pennsylvania voter to deliver his
Additionally, the Court explained that it would stay the entire     or her mail-in ballot in person to a location other than the
case, despite several of Plaintiffs’ claims not being subject       established office address of the county's board of election.
to Pullman abstention as they were not based on ambiguous           Boockvar, ––– A.3d at ––––, 2020 WL 5554644, at *8. The
state law. [Id. at pp. 34-37]. That's because, in its discretion,   court further considered the means by which county boards
the Court determined it would be more efficient for this case       of election could accept hand-delivered mail-in ballots. Id.
to progress as a single proceeding, rather than in piecemeal
fashion. [Id.]. However, the Court allowed any party to move        Consistent with this Court's abstention opinion, the court
to lift the stay as to the few claims not subject to Pullman        found that “the parties’ competing interpretations of the
abstention, if no state-court decision had been issued by           Election Code on [these questions] are reasonable, rendering
October 5, 2020. [Id.].                                             the Code ambiguous” on these questions. Id. After applying
                                                                    traditional principles of statutory interpretation, the court held
On August 28, 2020, five days after the Court abstained,            that “the Election Code should be interpreted to allow county
Plaintiffs moved to modify the Court's stay, and moved for          boards of election to accept hand-delivered mail-in ballots
a preliminary injunction. [ECF 414]. Plaintiffs requested,          at locations other than their office addresses including drop-
among other things, that the Court order Defendants to              boxes.” Id. at.––––, 2020 WL 5554644, at *9. The court
segregate, and not pre-canvass or canvass, all ballots that         reached this conclusion due to “the clear legislative intent
were returned in drop boxes, lacked a secrecy envelope, or          underlying Act 77 ... to provide electors with options to vote
were delivered by a third party. [Id.]. Plaintiffs also requested   outside of traditional polling places.” Id.
that the Court lift the stay by September 14, 2020, instead of
October 5, 2020. [Id.].                                              *7 The respondents in that case further argued that this
                                                                    interpretation would cause county boards of election to
The Court denied Plaintiffs’ motion for preliminary injunctive      “employ myriad systems to accept hand-delivered mail-in
relief, finding that Plaintiffs failed to show they would           ballots,” which would “be unconstitutionally disparate from
be irreparably harmed. [ECF 444; ECF 445]. The Court                one another in so much as some systems will offer more legal
also declined to move up the date when the stay would               protections to voters than others will provide” and violate the
be lifted. [Id.]. The Court noted that, at the request of           Equal-Protection Clause Id. The court rejected this argument.
Secretary Boockvar, the Pennsylvania Supreme Court had              It found that “the exact manner in which each county board
already exercised its extraordinary jurisdiction to consider        of election will accept these votes is entirely unknown at this



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point; thus, we have no metric by which to measure whether         at ––––, 2020 WL 5554644, at *30. The court found rational-
any one system offers more legal protection than another,          basis review was appropriate for three reasons.
making an equal protection analysis impossible at this time.”
Id.                                                                First, “there is no individual constitutional right to serve as
                                                                   a poll watcher; rather, the right to do so is conferred by
                                                                   statute.” Id. (citation omitted). Second, “poll watching is not
                                                                   incidental to the right of free association and, thus, has no
              2. Ballots lacking inner secrecy
                                                                   distinct First Amendment protection.” Id. (cleaned up). Third,
             envelopes should not be counted.
                                                                   “poll watching does not implicate core political speech.” Id.
The court next considered whether the boards of elections          (citation omitted).
“must ‘clothe and count naked ballots,’ i.e., place ballots
that were returned without the secrecy envelope into a             The court went on to find that there was a “clear rational
proper envelope and count them, rather than invalidate them.”      basis for the county poll watcher residency requirement[.]” Id.
Boockvar, ––– A.3d at ––––, 2020 WL 5554644, at *21. The           That is, given “Pennsylvania has envisioned a county-based
court concluded that they should not.                              scheme for managing elections within the Commonwealth,”
                                                                   it is “reasonable that the Legislature would require poll
The court held that “the Legislature intended for the secrecy      watchers, who serve within the various counties of the state,
envelope provision [in the Election Code] to be mandatory.”        to be residents of the counties in which they serve.” Id.
Id. at ––––, 2020 WL 5554644, at *24. In other words,
the relevant provisions “make clear the General Assembly's         In upholding the constitutionality of the “county poll watcher
intention that, during the collection and canvassing processes,    residency requirement,” the court rejected the claim that “poll
when the outer envelope in which the ballot arrived is             watchers are vital to protect against voter fraud and that
unsealed and the sealed ballot removed, it should not be           because of the distribution of voters throughout Pennsylvania,
readily apparent who the elector is, with what party he or         the residency requirement makes it difficult to identify poll
she affiliates, or for whom the elector has voted.” Id. The        watchers in all precincts.” Id. The court concluded that
secrecy envelope “properly unmarked and sealed ensures that        the claims of “heightened election fraud involving mail-
result,” and “[w]hatever the wisdom of the requirement, the        in voting” were “unsubstantiated” and “specifically belied
command that the mail-in elector utilize the secrecy envelope      by the Act 35 report issued by [Secretary Boockvar] on
and leave it unblemished by identifying information is neither     August 1, 2020.” Id. Moreover, the court held that the
ambiguous nor unreasonable.” Id.                                   “speculative claim that it is ‘difficult’ for both parties to
                                                                   fill poll watcher positions in every precinct, even if true, is
As a result, the court ultimately concluded, “a mail-ballot that   insufficient to transform the Commonwealth's uniform and
is not enclosed in the statutorily-mandated secrecy envelope       reasonable regulation requiring that poll watchers be residents
must be disqualified.” Id. at ––––, 2020 WL 5554644, at *26        of the counties they serve into a non-rational policy choice.”
                                                                   Id.

                                                                    *8 Based on the foregoing, the court declared “that the poll-
           3. Pennsylvania's county-residency
                                                                   watcher residency requirement does not violate the state or
     requirement for poll watchers is constitutional.
                                                                   federal constitutions.” Id. at ––––, 2020 WL 5554644, at *31.
The final relevant issue the court considered was whether
the poll-watcher residency requirement found in 25 P.S.
                                                                     D. Plaintiffs’ notice of remaining claims.
§ 2687(b) violates state or federal constitutional rights.
                                                                   Following the Pennsylvania Supreme Court's decision, this
Boockvar, ––– A.3d at ––––, 2020 WL 5554644, at *26.
                                                                   Court lifted the stay it had imposed pursuant to the Pullman
Relying on Republican Party of Pennsylvania v. Cortés, 218
                                                                   abstention doctrine and ordered the parties to identify the
F. Supp. 3d 396 (E.D. Pa. 2016), the court concluded that
                                                                   remaining viable claims and defenses in the case. [ECF 447].
the poll-watcher residency provision “impose[d] no burden
on one's constitutional right to vote and, accordingly, requires
                                                                   In their notice, Plaintiffs took the position that nearly all
only a showing that a rational basis exists to be upheld.” Id.     their claims remained viable, with a few discrete exceptions.
                                                                   Plaintiffs conceded that their “federal and state constitutional


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claims of voter dilution solely on the basis that drop boxes        applications for mail-in ballots shall be accepted absent a
and other collection sites are not statutorily authorized by the    “bona fide objection.” [ECF 460].
Pennsylvania Election Code [were] no longer viable.” [ECF
448, p. 4]. They also stated that their “facial challenge to        The Court found that “no Article III ‘case or controversy’
the county residency requirement under 25 P.S. § 2687 is no         remain[ed] with respect to the claims on which the
longer a viable claim.” [Id. at p. 10]. Plaintiffs also moved       Pennsylvania Supreme Court effectively ruled in Plaintiffs’
for leave to amend their complaint a second time to add new         favor on state-law grounds (e.g., illegality of third-party ballot
allegations and a new claim relating to Secretary Boockvar's        delivery; excluding ‘naked ballots’ submitted without inner-
recent signature-comparison guidance. [ECF 451].                    secrecy envelopes).” [ECF 459, p. 6]. Because there was
                                                                    “no reason to believe Defendants plan to violate what they
Defendants and Intervenors, for their part, suggested that          themselves now agree the law requires,” the Court held that
Plaintiffs’ claims had been substantially narrowed, if not          Plaintiffs’ claims were premature and speculative. [Id. at p. 7].
outright mooted, by the Pennsylvania Supreme Court's                The Court therefore dismissed those claims as falling outside
decision, and reminded the Court that their arguments for           of its Article III power to adjudicate. [Id. (citations omitted) ].
dismissal remained outstanding.
                                                                     *9 To resolve the remaining claims, the Court directed
                                                                    the parties to file cross-motions for summary judgment
   E. The Court's September 23, 2020, memorandum                    presenting all arguments for dismissal or judgment under
   orders.                                                          Federal Rule of Civil Procedure 56. [Id. at pp. 8-10]. Before
In response to the notices filed by the parties and Plaintiffs’     briefing on those motions, the Court authorized additional
motion for leave to amend the first amended complaint, the          expedited discovery. [Id. at pp. 4-5]. The parties completed
Court issued an order granting Plaintiffs’ motion, narrowing        discovery and timely filed their motions; they identified no
the scope of the lawsuit, and establishing the procedure for        material disputes of fact; and therefore, the motions are now
resolving the remaining claims. [ECF 459].                          fully briefed and ready for disposition.

As to Plaintiffs’ proposed amendment to their complaint, the
Court found that the new claim and allegations were relatively         F. The claims now at issue.
narrow, and thus amendment wouldn't prejudice Defendants            Based on the Pennsylvania Supreme Court's prior ruling,
and Intervenors. [Id. at pp. 3-4]. As a result, the Court granted   this Court's prior decisions, Plaintiffs’ nine-count Second
the motion. [Id. at p. 4].                                          Amended Complaint, and recent guidance issued by Secretary
                                                                    Boockvar, the claims remaining in this case are narrow and
The Court, however, did inform the parties that it would            substantially different than those asserted at the outset of the
“continue to abstain under Pullman as to Plaintiffs’ claim          case.
pertaining to the notice of drop box locations and, more
generally, whether the “polling place” requirements under           Drop Boxes (Counts I-III). Plaintiffs still advance a claim
the Election Code apply to drop-box locations.” [Id. at p.          that drop boxes are unconstitutional, but in a different way.
5]. This was so because those claims involve still-unsettled        Now that the Pennsylvania Supreme Court has expressly
issues of state law. The Court explained that the “fact that        held that drop boxes are authorized under the Election Code,
the Pennsylvania Supreme Court did not address this issue           Plaintiffs now assert that the use of “unmanned” drop boxes
in its recent decision is immaterial” because the “propriety        is unconstitutional under the federal and state constitutions,
of Pullman abstention does not depend on the existence of           for reasons discussed in more detail below.
parallel state-court proceedings.” [Id. (citing Stoe v. Flaherty,
436 F.3d 209, 213 (3d Cir. 2006)) ]. Moreover, Plaintiffs had       Signature Comparison (Counts I-III). Plaintiffs’ newly
several other avenues to pursue prompt interpretation of state      added claim relates to signature comparison. Secretary
law after this Court abstained. [Id. at p. 6].                      Boockvar's September 2020 guidance informs the county
                                                                    boards that they are not to engage in a signature analysis of
The Court also informed the parties, for similar reasons,           mail-in ballots and applications, and they must count those
that it would continue to abstain with respect to Plaintiffs’       ballots, even if the signature on the ballot does not match the
claims regarding Secretary Boockvar's guidance that personal        voter's signature on file. Plaintiffs assert that this guidance is
                                                                    unconstitutional under the federal and state constitutions.


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Poll Watching (Counts IV, V). The Pennsylvania Supreme
                                                                                     2. The adoption of Act 77.
Court already declared that Pennsylvania's county-residency
requirement for poll watchers is facially constitutional.            *10 On October 31, 2019, the Pennsylvania General
Plaintiffs now only assert that the requirement, as applied, is     Assembly passed “Act 77,” a bipartisan reform of
unconstitutional under the federal and state constitutions.         Pennsylvania's Election Code. See [ECF 461, ¶¶ 91]; 2019 Pa.
                                                                    Legis. Serv. Act 2019-77 (S.B. 421).
The counts that remain in the Second Amended Complaint,
but which are not at issue, are the counts related to where         Among other things, by passing Act 77, Pennsylvania joined
poll watchers can be located. That is implicated mostly by          34 other states in authorizing “no excuse” mail-in voting
Counts VI and VII, and by certain allegations in Counts IV          by all qualified electors. See [ECF 461, ¶¶ 92]; 25 P.S. §§
and V. The Court continues to abstain from reaching that            3150.11-3150.17; [ECF 549-11, p. 5 (“The largest number
issue. Plaintiffs have filed a separate state lawsuit that would    of states (34), practice no-excuse mail-in voting, allowing
appear to address many of those issues, in any event. [ECF          any persons to vote by mail regardless of whether they have
549-22; ECF 573-1]. Counts VIII and IX concern challenges           a reason or whether they will be out of their jurisdiction
related to voters that have requested mail-in ballots, but that     on Election Day.”) ]. Previously, a voter could only cast an
instead seek to vote in person. The Secretary issued recent         “absentee” ballot if certain criteria were met, such as that the
guidance, effectively mooting those claims, and, based on           voter would be away from the election district on election day.
Plaintiffs’ positions taken in the course of this litigation, the   See 1998 Pa. Legis. Serv. Act. 1998-18 (H.B. 1760), § 14.
Court deems Plaintiffs to have withdrawn Counts VIII and IX.
[ECF 509, p. 15 n.4 (“[I]n the September 28 guidance memo,          Like the previous absentee voting system, Pennsylvania's
the Secretary corrected [her] earlier guidance to conform           mail-in voting system requires voters to “opt-in” by
to the Election Code and states that any mail-in voter who          requesting a ballot from either the Secretary or the voter's
spoils his/her ballot and the accompanying envelopes and            county board of elections. See 25 P.S. §§ 3146.2(a),
signs a declaration that they did not vote by mail-in ballot        3150.12(a). When requesting a ballot, the voter must provide,
will be allowed to vote a regular ballot. Therefore, Plaintiffs     among other things, his or her name, date of birth, voting
agree to withdraw this claim from those that still are being        district, length of time residing in the voting district, and
pursued.”) ].                                                       party choice for primary elections. See 25 P.S. §§ 3146.2(b),
                                                                    3150.12(b). A voter must also provide proof of identification;
                                                                    namely, either a driver's license number or, in the case of
II. Factual Background
                                                                    a voter who does not have a driver's license, the last four
  A. Pennsylvania's Election Code, and the adoption of              digits of the voter's Social Security number, or, in the case
  Act 77.                                                           of a voter who has neither a driver's license nor a Social
                                                                    Security number, another form of approved identification. 25
                                                                    P.S. § 2602(z.5)(3). In this respect, Pennsylvania differs from
           1. The county-based election system.                     states that automatically mail each registered voter a ballot—
                                                                    a practice known as “universal mail-in voting.” [ECF 549-11,
Pennsylvania's Election Code, first enacted in 1937,
                                                                    p. 6] (“[N]ine states conduct universal vote-by-mail elections
established a county-based system for administering
                                                                    in which the state (or a local entity, such [as] a county or
elections. See 25 P.S. § 2641(a) (“There shall be a
                                                                    municipality) mails all registered voters a ballot before each
county board of elections in and for each county of this
                                                                    election without voters’ [sic] having to request them.”).
Commonwealth, which shall have jurisdiction over the
conduct of primaries and elections in such county, in
accordance with the provisions of [the Election Code].”).
The Election Code vests county boards of elections with                            3. The COVID-19 pandemic.
discretion to conduct elections and implement procedures
intended to ensure the honesty, efficiency, and uniformity of       Since early 2020, the United States, and Pennsylvania,
Pennsylvania's elections. Id. §§ 2641(a), 2642(g).                  have been engulfed in a viral pandemic of unprecedented
                                                                    scope and scale. [ECF 549-8, ¶ 31]. In that time,
                                                                    COVID-19 has spread to every corner of the globe,


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including Pennsylvania, and jeopardized the safety and             nationwide had cast their ballots using drop boxes in the 2016
health of many people. [Id. at ¶¶ 31, 38-39, 54-55, 66].           general election, including the majority of voters in Colorado
As of this date, more than 200,000 Americans have died,            (75%) and Washington (56.9%). [ECF 547, p. 18 (citing ECF
including more than 8,000 Pennsylvanians. See Covid in the         549-16) ].
U.S.: Latest Map and Case Count, The New York Times,
available at https://www.nytimes.com/interactive/2020/us/
coronavirus-us-cases.html (last visited Oct. 10, 2020);
                                                                                1. Secretary Boockvar's guidance
COVID-19 Data for Pennsylvania, Pennsylvania Department
                                                                                    with respect to drop boxes.
of Health, available at https://www.health.pa.gov/topics/
disease/coronavirus/Pages/Cases.aspx (last visited Oct. 10,        Since the passage of Act 77, Secretary Boockvar has
2020).                                                             issued several guidance documents to the counties regarding
                                                                   the counties’ implementation of mail-in voting, including
There have been many safety precautions that Pennsylvanians        guidance with respect to the use of drop boxes. [ECF 504-21;
have been either required or urged to take, such as limiting       504-22; 504-23; 504-24; 504-25; 571-1, Ex. E]. In general
participation in large gatherings, maintaining social distance,    terms, the Secretary's guidance as to drop boxes informed
and wearing face coverings. [ECF 549-8, ¶¶ 58, 63-65]. The         the counties that the use of drop boxes was authorized
threat of COVID-19 is likely to persist through the November       by the Election Code and recommended “best practices”
general election. [Id. at ¶¶ 53-56, 66-68].                        for their use. Her latest guidance offered standards for
                                                                   (1) where drop boxes should be located, [ECF 504-23, §
                                                                   1.2], (2) how drop boxes should be designed and what
   B. Facts relevant to drop boxes.
                                                                   signage should accompany them, [id. at §§ 2.2-2.3], (3) what
 *11 Pennsylvania's county-based election system vests
                                                                   security measures should be employed, [id. at § 2.5], and
county boards of elections with “jurisdiction over the conduct
                                                                   (4) what procedures should be implemented for collecting
of primaries and elections in such county, in accordance with
                                                                   and returning ballots to the county election office, [id. at §§
the provisions” of the Election Code. 25 P.S. § 2641(a).
                                                                   3.1-3.3, 4].
The Election Code further empowers the county boards to
“make and issue such rules, regulations and instructions, not
                                                                   As to the location of drop boxes, the Secretary recommended
inconsistent with law, as they may deem necessary for the
                                                                   that counties consider the following criteria, [id. at § 1.2]:
guidance of voting machine custodians, elections officers and
electors.” Id. at § 2642(f). The counties are also charged with      • Locations that serve heavily populated urban/suburban
the responsibility to “purchase, preserve, store and maintain          areas, as well as rural areas;
primary and election equipment of all kinds, including voting
booths, ballot boxes and voting machines.” Id. at § 2642(c).         • Locations near heavy traffic areas such as commercial
                                                                       corridors, large residential areas, major employers and
As noted above, in Pennsylvania Democratic Party v.                    public transportation routes;
Boockvar, the Pennsylvania Supreme Court interpreted the
                                                                     • Locations that are easily recognizable and accessible
Election Code, which allows for mail-in and absentee ballots
                                                                       within the community;
to be returned to the “county board of election,” to “permit[ ]
county boards of election to accept hand-delivered mail-in           • Locations in areas in which there have historically been
ballots at locations other than their office addresses including        delays at existing polling locations, and areas with
drop-boxes.” ––– A.3d at ––––, 2020 WL 5554644, at *10.                 historically low turnout;

Thus, it is now settled that the Election Code permits (but          • Proximity to communities with historically low vote by
does not require) counties to authorize drop boxes and other            mail usage;
satellite-collection locations for mailed ballots. 25 P.S. §
3150.16(a). Pennsylvania is not alone in this regard—as many         • Proximity to language minority communities;
as 34 other states and the District of Columbia authorize
                                                                     • Proximity to voters with disabilities;
the use of drop boxes or satellite ballot collection sites to
one degree or another. [ECF 549-11, p. 8, fig. 4]. Indeed,
Secretary Boockvar stated that as many as 16% of voters


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  • Proximity to communities with low rates of household           • Signage should also provide a statement that third-party
     vehicle ownership;                                               return of ballots is prohibited unless the person returning
                                                                      the ballot is rendering assistance to a disabled voter or
  • Proximity to low-income communities;                              an emergency absentee voter. Such assistance requires a
                                                                      declaration signed by the voter and the person rendering
  • Access to accessible and free parking; and
                                                                      assistance; and
  • The distance and time a voter must travel by car or public
                                                                   • Signage should provide a statement requesting that the
     transportation.
                                                                      designated county elections official should be notified
                                                                      immediately in the event the receptacle is full, not
With respect to drop-box design criteria, the Secretary
                                                                      functioning, or is damaged in any fashion, and should
recommended to counties, [id. at § 2.2]:
                                                                      provide a phone number and email address for such
   *12 • Hardware should be operable without any tight                purpose.
    grasping, pinching, or twisting of the wrist;
                                                                 With respect to ballot security, the Secretary stated that county
  • Hardware should require no more than 5 lbs. of pressure      boards should implement the following security measures,
     for the voter to operate;                                   [id. at § 2.5]:

  • Receptacle should be operable within reach-range of 15 to      • Only personnel authorized by the county board of
     48 inches from the floor or ground for a person utilizing       elections should have access to the ballots inside of a
     a wheelchair;                                                   drop-box;

  • The drop-box should provide specific points identifying        • Drop-boxes should be secured in a manner to prevent their
     the slot where ballots are inserted;                             unauthorized removal;

  • The drop-box may have more than one ballot slot (e.g. one      • All drop-boxes should be secured by a lock and sealed
     for drive-by ballot return and one for walk-up returns);        with a tamper-evident seal. Only authorized election
                                                                     officials designated by the county board of elections may
  • To ensure that only ballot material can be deposited             access the keys and/or combination of the lock;
    and not be removed by anyone but designated county
    board of election officials, the opening slot of a drop-       • Drop-boxes should be securely fastened in a manner as
    box should be too small to allow tampering or removal            to prevent moving or tampering, such as fastening the
    of ballots; and                                                  drop-box to concrete or an immovable object;

  • The opening slot should also minimize the ability for          • During the hours when the staffed return site is closed
    liquid to be poured into the drop-box or rainwater to seep       or staff is unavailable, the drop-box should be placed
    in.                                                              in a secure area that is inaccessible to the public and/or
                                                                     otherwise safeguarded;
The Secretary's guidance as to signage recommended, [id. at
§ 2.3]:                                                            • The county boards of election should ensure adequate
                                                                     lighting is provided at all ballot return sites when the site
  • Signage should be in all languages required under the            is in use;
    federal Voting Rights Act of 1965 (52 U.S.C. Sec.
    10503);                                                        • When feasible, ballot return sites should be monitored
                                                                     by a video security surveillance system, or an internal
  •    Signage should display language stating that                  camera that can capture digital images and/or video. A
      counterfeiting, forging, tampering with, or destroying         video security surveillance system can include existing
      ballots is a second-degree misdemeanor pursuant to             systems on county, city, municipal, or private buildings.
      sections 1816 and 1817 of the Pennsylvania Election            Video surveillance should be retained by the county
      Code (25 P.S. §§ 3516 and 3517);                               election office through 60 days following the deadline to
                                                                     certify the election; and


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                                                                         container for evidence of tampering and should receive
   *13 • To prevent physical damage and unauthorized                     the retrieved ballots by signing the retrieval form and
    entry, the drop-box at a ballot return site located                  including the date and time of receipt. In the event
    outdoors should be constructed of durable material able              tampering is evident, that fact must be noted on the
    to withstand vandalism, removal, and inclement weather.              retrieval form;

With respect to ballot collection and “chain of custody”              • The completed collection form should be maintained in
procedures, the Secretary stated that counties should adhere             a manner proscribed by the board of elections to ensure
to the following standards, [id. at §§ 3.1-3.2]:                         that the form is traceable to its respective secure ballot
                                                                         container; and
  • Ballots should be collected from ballot return sites only
     by personnel authorized by the county board of elections         • The county elections official at the county election office
     and at times determined by the board of elections, at least         or central count location should note the number of
     every 24 hours, excluding Saturdays and Sundays;                    ballots delivered on the retrieval form.

  • The county board of elections should designate at least         And finally, as to election day and post-election day
     two election officials to collect voted ballots from           procedures with respect to drop boxes, the Secretary provided
     a ballot return site. Each designated election official        as follows, [id. at §§ 3.3, 4]:
     should carry identification or an official designation
     that identifies them as an election official authorized to       • The county board of elections should arrange for
     collect voted ballots;                                             authorized personnel to retrieve ballots on election night
                                                                        and transport them to the county board of elections for
  • Election officials designated to collect voted ballots by           canvassing of the ballots;
    the board of elections should sign a declaration declaring
    that he or she will timely and securely collect and return        • Authorized personnel should be present at ballot return
    voted ballots, will not permit any person to tamper with            sites immediately prior to 8:00 p.m. or at the time the
    a ballot return site or its contents, and that he or she will       polls should otherwise be closed;
    faithfully and securely perform his or her duties;
                                                                      • At 8:00 p.m. on election night, or later if the polling
  • The designated election officials should retrieve the voted         place hours have been extended, all ballot return sites
     ballots from the ballot return site and place the voted            and drop-boxes must be closed and locked;
     ballots in a secure ballot transfer container;
                                                                       *14 • Staff must ensure that no ballots are returned to the
  • The designated election officials should note on Ballot             ballot return site after the close of polls;
    Return Site Collection Forms the site and unique
    identification number of the ballot return site and the           • After the final retrieval after the closing of the polls, the
    date and time of retrieval;                                          drop-box must be removed or locked and/or covered to
                                                                         prevent any further ballots from being deposited, and a
  • Ballots collected from any ballot return site should                 sign shall be posted indicating that polling is closed for
    be immediately transported to the county board of                    the election; and
    elections;
                                                                      • Any ballots collected from a return site should be
  • Upon arrival at the office of the county board of elections,        processed in the same manner as mail-in ballots
     the county board of elections, or their designee(s),               personally delivered to the central office of the county
     should note the time of arrival on the same form, as               board of elections official by the voter and ballots
     described above;                                                   received via the United States Postal Service or any other
                                                                        delivery service.
  • The seal number should be verified by a county election
     official or a designated representative;                       The Secretary and her staff developed this guidance
                                                                    in consultation with subject-matter experts within her
  • The county board of elections, or their designee(s),
                                                                    Department and after review of the policies, practices, and
    should inspect the drop-box or secure ballot transfer



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laws in other states where drop boxes have been used. [ECF           at the main county board of elections office.” [Id. at ¶ 58
549-6, pp. 23:14-22]. The evidence reflects at least one             (citing ECF 549-29) ].
instance in which the Secretary's deputies reiterated that these
“best practices” should be followed in response to inquiries          *15 In addition to any tangible benefit drop boxes may have
from county officials considering whether to use drop boxes.         for voter access and turnout, Secretary Boockvar also states
[ECF 549-32 (“Per our conversation, the list of items are            that drop boxes have a positive impact on voter confidence.
things the county must keep in mind if you are going to              In particular, she cites a recent news article, and a letter sent
provide a box for voters to return their ballots in person.”) ].     by the General Counsel of the U.S. Postal Service regarding
                                                                     Pennsylvania's absentee and mail-in ballot deadline, which
Approximately 24 counties plan to use drop boxes during the          have raised concerns over the timeliness and reliability of the
November general election, to varying degrees. [ECF 549-28;          U.S. Postal Service. [Id. at ¶¶ 60-61 (citing ECF 549-13; ECF
ECF 504-1]. Of these, about nine counties intend to staff the        549-14); ECF 549-17; ECF 549-2 ¶¶ 42-43]. Voters’ fears that
drop boxes with county officials, while about 17 counties            votes returned by mail will not be timely counted could, the
intend to use video surveillance in lieu of having staff present.    Secretary worries, “justifiably dissuade voters from wanting
[ECF 549-28].                                                        to rely upon the Postal Service for return of their mail-in or
                                                                     absentee ballot.” [ECF 547, ¶ 61]. Drop boxes, she says, can
                                                                     address this concern by allowing voters to safely return mail-
                                                                     in ballots to an in-person location.
     2. Defendants’ and Intervenors’ evidence of the
    benefits and low risks associated with drop boxes.
                                                                     In exchange for these benefits, the Secretary insists that any
Secretary Boockvar advocates for the use of drop boxes               potential security risk associated with drop boxes is low. She
as a “direct and convenient way” for voters to deliver               notes that the federal Department of Homeland Security has
cast ballots to their county boards of elections, “thereby           released guidance affirming that a “ballot drop box provides
increasing turnout.” [ECF 547, p. 22 ¶ 54 (citing 549-11 at          a secure and convenient means for voters to return their mail
pp. 10-11) ]. The Secretary also touts the special benefits          ballot,” and recommending that states deploy one drop box
of expanding drop-box use in the ongoing COVID-19                    for every 15,000 to 20,000 registered voters. [Id. at ¶¶ 63-65
pandemic. Specifically, she asserts that drop boxes reduce           (citing ECF 549-24, p. 1) ]. She also points to a purported lack
health risks and inspire voter confidence because “many              of evidence of systemic ballot harvesting or any attempts to
voters understandably do not wish to cast their votes in person      tamper with, destroy, or otherwise commit voter fraud using
at their polling place on Election Day” due to COVID-19.             drop boxes, either in Pennsylvania's recent primary election,
[Id. at ¶¶ 55, 57 (citing ECF 549-2 ¶ 39; ECF 549-11 at              or in other states that have used drop boxes for many years.
p. 10; 549-8, ¶ 95) ]. Drop boxes, she says, allow voters            [Id. at ¶¶ 68-74 (citations omitted) ]. And she asserts that “[i]n
to vote in person without coming into “close proximity to            the last 20 years in the entire state of Pennsylvania, there have
other members of the public, compared to in-person voting            been fewer than a dozen confirmed cases of fraud involving
or personally delivering a mail-in ballot to a public office         a handful of absentee ballots” among the many millions of
building.” [Id. at ¶ 57].                                            votes cast during that time period. [Id. at ¶ 70 (citing ECF
                                                                     549-10, pp. 3-4) ].
Secretary Boockvar also states that drop boxes are highly
convenient, and cost-saving, for both counties and voters. For       Finally, the Secretary, and other Defendants and Intervenors,
counties, she notes that “24-hour secure ballot drop boxes” are      argue that Pennsylvania already has robust measures in
“cost-effective measures ... as they do not have to be staffed by    place to prevent fraud, including its criminal laws, voter
election judges.” [Id. at p. 24 ¶ 62 (citing ECF 549-11 at p. 11);   registration system, mail-in ballot application requirement,
ECF 549-9 at ¶ 34]. As for voters, the Secretary explains that,      and canvassing procedures. [Id. at ¶¶ 66-67 (citing 25 P.S.
in a state where “ten counties ... cover more than 1,000 square      §§ 3516 - 3518) ]; [ECF 549-9, p. 15, ¶¶ 46-47 (“These
miles” and “two-thirds” of counties “cover more than 500             allegations are not consistent with my experience with drop
square miles,” many Pennsylvania voters “could be required           box security, particularly given the strong voter verification
to drive dozens of miles (and perhaps in excess of 100 miles)        procedures that are followed by elections officials throughout
if he or she wished to deposit his or her mail-in ballot in person   the country and in Pennsylvania. Specifically, the eligibility
                                                                     and identity of the voter to cast a ballot is examined by an



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election judge who reviews and confirms all the personal             “[d]rop boxes are managed by election officials ... delivered
identity information provided on the outside envelope. Once          to election officials more quickly than delivery through the
voter eligibility is confirmed, the ballot is extracted and          U.S. postal system, and are secure.” [Id.].
separated from the outside envelope to ensure the ballot
remains secret. During this step, election judges confirm            Ms. McReynolds also opines that Secretary Boockvar's
that there is only one ballot in the envelope and checks for         guidance with respect to drop boxes is “consistent with
potential defects, such as tears in the ballot.... Regardless        best practices and advice that NVAHI has provided across
of the receptacle used for acceptance of the ballot (drop            jurisdictions.” [Id. at ¶ 35]. But she also notes that “[b]est
box versus USPS mailbox), ballot validation occurs when              practices will vary by county based on the county's available
the ballot is received by the county board of elections. The         resources, population, needs, and assessment of risk.” [Id. at
validation is the same regardless of how the ballots are             ¶ 52].
collected or who delivers the ballot, even where that delivery
contravenes state law.”) ].                                          More generally, Ms. McReynolds argues that “[d]rop-boxes
                                                                     do not create an increased opportunity for fraud” as compared
Defendants and Intervenors also point to several expert              to postal boxes. [Id. at ¶ 44]. She also suggests that
reports expressing the view that drop boxes are both low risk        Pennsylvania guards against such fraud through other “strong
and beneficial. These experts include:                               voter verification procedures,” including “ballot validation
                                                                     [that] occurs when the ballot is received by the county
Professor Matthew A. Barreto, a Professor of Political               board of elections” and “[r]econciliation procedures adopted
Science and Chicana/o Studies at UCLA. [ECF 549-7].                  by election officials ... [to] protect against the potential
Professor Barreto offers the opinion that ballot drop boxes are      risk of double voting.” [Id. at ¶¶ 46-48]. She notes that
an important tool in facilitating voting in Black and Latino         “Pennsylvania's balloting system requires that those who
communities. Specifically, he discusses research showing that        request a mail-in vote and do not return the ballot (or spoil
Black and Latino voters are “particularly concerned about            the mail-in ballot at their polling place), can only vote a
the USPS delivering their ballots.” [Id. at ¶ 22]. And he            provisional ballot” and “[i]f a mail-in or absentee ballot was
opines that ballot drop boxes help to reassure these voters that     submitted by an individual, their provisional ballot is not
their vote will count, because “there is no intermediary step        counted.” [Id. at ¶ 48].
between the voters and the county officials who collect the
ballot.” [Id. at ¶ 24].                                              Professor Lorraine C. Minnite, an Associate Professor and
                                                                     Chair of the Department of Public Policy and Administration
 *16 Professor Donald S. Burke, a medical doctor and                 at Rutgers University-Camden. [ECF 549-10]. Professor
Distinguished University Professor of Health Science and             Minnite opines that “the incidence of voter fraud in
Policy, Jonas Salk Chair in Population Health, and Professor         contemporary U.S. elections is exceedingly rare, including
of Epidemiology at the University of Pittsburgh. [ECF 549-8].        the incidence of voter impersonation fraud committed
Professor Burke details the “significant risk of exposure” to        through the use of mail-in absentee ballots.” [Id. at p. 3].
COVID-19 in “enclosed areas like polling places.” [Id. at ¶          In Pennsylvania specifically, she notes that “[i]n the last 20
69]. He opines that “depositing a ballot in a mailbox and            years ... there have been fewer than a dozen confirmed cases
depositing a ballot in a drop-box are potential methods of           of fraud involving a handful of absentee ballots, and most
voting that impart the least health risk to individual voters, and   of them were perpetrated by insiders rather than ordinary
the least public health risk to the community.” [Id. at ¶ 95].       voters.” [Id. at pp. 3-4]. As a “point of reference,” she notes
                                                                     that 1,459,555 mail-in and absentee ballots were cast in
Amber McReynolds, the CEO of the National Vote at Home               Pennsylvania's 2020 primary election alone. [Id. at 4].
Institute, with 13 years of experience administering elections
as an Elections Director, Deputy Director, and Operations            Professor Robert M. Stein, a Professor of Political Science
Manager for the City and County of Denver, Colorado. [ECF            at Rice University and a fellow in urban politics at the
549-9]. Ms. McReynolds opines that “[b]allot drop-boxes can          Baker Institute. [ECF 549-11]. Professor Stein opines that
be an important component of implementing expanded mail-             “the Commonwealth's use of drop boxes provides a number
in voting” that are “generally more secure than putting a            of benefits without increasing the risk of mail-in or absentee
ballot in post office boxes.” [Id. at ¶ 16 (a) ]. She notes that     voter fraud that existed before drop boxes were implemented



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because (manned or unmanned) they are at least as secure
as U.S. Postal Service (‘USPS’) mailboxes, which have been
                                                                             3. Plaintiffs’ evidence of the risks of fraud
successfully used to return mail-in ballots for decades in
                                                                            and vote dilution associated with drop boxes.
the Commonwealth and elsewhere around the U.S.” [Id. at
p. 3]. According to Professor Stein, the use of drop boxes          Plaintiffs, on the other hand, argue that the drop boxes allow
“has been shown to increase turnout,” which he suggests is          for an unacceptable risk of voter fraud and “illegal delivery
particularly important “during a global pandemic and where          or ballot harvesting” that, when it occurs, will “dilute” the
research has shown that natural and manmade disasters have          votes of all lawful voters who comply with the Election
historically had a depressive effect on voter turnout.” [Id. at     Code. See, e.g., [ECF 461, ¶¶ 127-128]. As evidence of the
p. 4]. Professor Stein notes that “[d]rop boxes are widely          dilutive impact of drop boxes, Plaintiffs offer a combination
used across a majority of states as a means to return mail-in       of anecdotal and expert evidence.
ballots” and he is “not aware of any studies or research that
suggest that drop boxes (manned or unmanned) are a source           Foremost among this evidence is the expert report of Greg
for voter fraud.” [Id.]. Nor is he aware “of any evidence that      Riddlemoser, the former Director of Elections and General
drop boxes have been tampered with or led to the destruction        Registrar for Stafford County, Virginia from 2011 until 2019.
of ballots.” [Id.].                                                 [ECF 504-19]. According to Mr. Riddlemoser, “voter fraud
                                                                    exists.” [Id. at p. 2]. He defines the term “voter fraud” to
 *17 Professor Paul Gronke, a Professor of Political                mean any “casting and/or counting of ballots in violation of
Science at Reed College and Director of the Early                   a state's election code.” [Id.]. Examples he gives include:
Voting Information Center. [ECF 545-7]. Professor Gronke            “Voting twice yourself—even if in multiple jurisdictions,”
recommends that “drop boxes should be provided in                   “voting someone else's ballot,” and “[e]lection officials
every jurisdiction that has significant (20% or more)               giving ballots to or counting ballots from people who were
percentage[ ] of voters casting a ballot by mail, which includes    not entitled to vote for various reasons.” [Id. at pp. 2-3]. All
Pennsylvania” for the general election. [Id. at ¶ 6]. He            of these things, he asserts, are “against the law and therefore
avers that “[s]cientific research shows that drop boxes raise
                                                                    fraudulent.” [Id.]. 3
voter turnout and enhance voter confidence in the elections
process.” [Id. at ¶ 7]. Voters, he explains, “utilize drop boxes
                                                                    3
heavily—forty to seventy percent of voters in vote by mail                   As noted above, Plaintiffs and Mr. Riddlemoser
states and twenty-five percent or more in no-excuse absentee                 use the term “voter fraud” to mean “illegal
states.” [Id.]. Professor Gronke further states that he is “not              voting”—i.e., voter fraud is any practice that
aware of any reports that drop boxes are a source for voter                  violates the Election Code. For purposes of the
fraud” despite having “been in use for years all over the                    Court's decision and analysis of Plaintiffs’ vote-
country.” [Id. at ¶ 8]. And he suggests that the use of drop                 dilution claims, the Court accepts this definition.
boxes is “especially important” in an election “that will be        Mr. Riddlemoser argues that “ballot harvesting” (which is
conducted under the cloud of the COVID-19 pandemic, and             the term Plaintiffs use to refer to situations in which an
for a state like Pennsylvania that is going to experience an        individual returns the ballots of other people) “persists in
enormous increase in the number of by-mail ballots cast by          Pennsylvania.” [Id. at p. 3]. He points to the following
the citizenry of the state.” [Id. at ¶ 9].                          evidence to support this opinion:

Based on this evidence, and the purported lack of any contrary          • Admissions by Pennsylvania's Deputy Secretary
evidence showing great risks of fraud associated with the                 for Elections and Commissions, Jonathan Marks,
use of drop boxes, Defendants and Intervenors argue that                  that “several Pennsylvania counties permitted ballot
Pennsylvania's authorization of drop boxes, and the counties’             harvesting by counting ballots that were delivered in
specific implementation of them, furthers important state                 violation of Pennsylvania law” during the recent primary
interests at little cost to the integrity of the election system.         election, [Id.];

                                                                        • “[S]everal instances captured by the media where voters
                                                                           in the June 2020 Primary deposited multiple ballots into
                                                                           unstaffed ballot drop boxes,” [Id. at p. 4];




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  • “Other photographs and video footage of at least one              According to Mr. Riddlemoser, anything short of these robust
     county's drop box (Elk County) on Primary Election               procedures won't do. In particular, “video cameras would not
     day” which “revealed additional instances of third-party         prevent anyone from engaging in activity that could or is
     delivery,” [Id.]; and                                            designed to spoil the ballots inside the box; such as dumping
                                                                      liquids into the box, lighting the ballots on fire by using
  • “Documents produced by Montgomery County” which
                                                                      gasoline and matches, or even removing the box itself.” [Id.
     “reveal that despite signs warning that ballot harvesting
                                                                      at p. 17]. Even if the “identity of the person responsible may
     is not permitted, people during the 2020 Primary
                                                                      be determined ... the ballots themselves would be destroyed
     attempted to deposit into the five drop boxes used by that
                                                                      —effectively disenfranchising numerous voters.” [Id.]. And
     county ballots that were not theirs,” [Id.].
                                                                      given “recent footage of toppled statues and damage to
                                                                      government buildings” in the news, Mr. Riddlemoser finds
 *18 With respect to the use of “unstaffed” or “unmanned”
                                                                      the “forcible removal of ballot drop boxes” to be “a distinct
ballot drop boxes, Mr. Riddlemoser expresses the opinion
                                                                      possibility.” [Id.]. In addition to increasing the risk of ballot
that “the use of unmanned drop boxes presents the easiest
                                                                      destruction, Mr. Riddlemoser notes that reliance on video
opportunity for voter fraud” and “certain steps must be taken
                                                                      cameras would also “not prohibit someone from engaging in
to make drop boxes ‘secure’ and ‘monitored.’ ” [Id. at p. 16].
                                                                      ballot harvesting by depositing more than one ballot in the
                                                                      drop box[.]” [Id.].
He states that, to be “secure,” drop boxes must be “attended”
by “sworn election officials” at all times (i.e., “never left
                                                                      Beyond Mr. Riddlemoser's expert testimony, Plaintiffs proffer
unattended at any time they are open for ballot drop-off.”).
                                                                      several other pieces of evidence to support their claims
[Id.]. He further suggests that officials stationed at drop boxes
                                                                      that drop boxes pose a dilutive threat to the ballots of
must be empowered, and required, to “verify the person
                                                                      lawful voters. Most notably, they present photographs and
seeking to drop off a ballot is the one who voted it and is
                                                                      video stills of, by the Court's count, approximately seven
not dropping off someone else's ballot.” [Id.]. Doing so, he
                                                                      individuals returning more than one ballot to drop boxes
says, would, in addition to providing better security, also
                                                                      in Philadelphia and Elk County (the same photographs
“allow the election official to ask the voter if they followed
                                                                      referenced by Mr. Riddlemoser). [ECF 504-19, PDF pp.
the instructions they were provided ... and assist them in
                                                                      49-71].
doing so to remediate any errors, where possible, before ballot
submission.” [Id.].
                                                                      *19 Those photographs depict the following:

In addition to being “manned,” Mr. Riddlemoser suggests
that certain procedures with respect to ballot collection are
necessary to ensure the integrity of votes cast in drop boxes.                     • An unidentified woman holding
For example, he suggests that, at the end of each day, drop                          what appear to be two ballots at a
boxes, which should themselves be “tamperproof,” should                              Philadelphia drop box.
“be verifiably completely emptied into fireproof/tamperproof
receptacles, which are then sealed and labeled by affidavit as
to whom, where, when, etc.” [Id.] Once sealed, the containers
“must then be transported by sworn officials in a county
owned vehicle (preferably marked law enforcement) back
to the county board where they are properly receipted and
safeguarded.” [Id.]. Emptied drop boxes should also be sealed
at the end of each day “such that they are not able to accept
any additional ballots until they are ‘open’ again[.]” [Id.]. And
boxes should be “examined to ensure no ballots are in the
box, that nothing else is inside the box, and that the structural
integrity and any security associated with the box remains
intact.” [Id.]. All of this, he suggests, should also be “available
for monitoring by poll watchers.” [Id.].


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                                                                             • A photograph posted to social
                                                                               media showing a hand placing two
                                                                               ballots in a drop box; captioned,
                                                                               in part, “Cory and I voted!”




            •           Instagram            user
                “thefoodiebarrister” posing for
                a selfie with two ballots in
                Philadelphia; captioned, in part,
                “dropping of [sic] my votes in a
                designated ballot drop box.”




                                                                             • A photograph of an unidentified
                                                                               man wearing a “Philadelphia
                                                                               Water” sweater and hat, placing
                                                                               two ballots in a Philadelphia drop
                                                                               box.




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                                                                people away yesterday and today without incident who had
                                                                ballots other than their own.” [ECF 504-28].

                                                                Separate and apart from this evidence specific to the use of
                                                                drop boxes, Plaintiffs and their expert also provide evidence
                                                                of instances of election fraud, voter fraud, and illegal voting
                                                                generally. These include, for example:

                                                                  • A case in which a New Jersey court ordered a
                                                                    new municipal election after a city councilman and
                                                                    councilman-elect were charged with fraud involving
                                                                    mail-in ballots. [ECF 504-19, p. 3].

                                                                  • A New York Post article written by an anonymous
                                                                    fraudster who claimed to be a “master at fixing mail-in
                                                                    ballots” and detailed his methods. [Id.].

                                                                  • Philadelphia officials’ admission that approximately 40
                                                                     people were permitted to vote twice during the 2020
                                                                     primary elections. [Id.].

                                                                  • A YouTube video purporting to show Philadelphia
            •     Several video stills that,                        election officials approving the counting of mail-in
                according to Plaintiffs, show                       ballots that lacked a completed certification on the
                voters depositing more than one                     outside of the envelope. [Id. (citation omitted) ].
                ballot in an Elk County drop box.
                                                                  • The recent guilty plea of the former Judge of Elections
                                                                     in South Philadelphia, Domenick J. DeMuro, to adding
                                                                     fraudulent votes to voting machines on election day.
                                                                     [ECF 461, ¶ 61]; see United States v. DeMuro, No. 20-
                                                                     cr-112 (E.D. Pa. May 21, 2020).

                                                                  • The 2014 guilty plea of Harmar Township police chief
                                                                    Richard Allen Toney to illegally soliciting absentee
                                                                    ballots to benefit his wife and her running mate in the
                                                                    2009 Democratic primary for town council, [ECF 461,
                                                                    ¶ 69];

                                                                  • The 2015 guilty plea of Eugene Gallagher for unlawfully
                                                                     persuading residents and non-residents of Taylor, in
                                                                     Lackawanna County, Pennsylvania, to register for
                                                                     absentee ballots and cast them for him during his
                                                                     councilman candidacy in the November 2013 election,
                                                                     [Id.];

                                                                   *20 • The 1999 indictment of Representative Austin J.
                                                                    Murphy in Fayette County for forging absentee ballots
                                                                    for residents of a nursing home and adding his wife as a
In addition to these photographs and video stills, Plaintiffs       write-in candidate for township election judge, [Id.];
also provide a May 24, 2020, email sent by an official
in Montgomery County (which placed security guards to             • The 1994 Eastern District of Pennsylvania and Third
monitor its drop boxes) observing that security “have turned        Circuit case Marks v. Stinson, which involved an alleged


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      incident of extensive absentee ballot fraud by a candidate   by “verifying the proof of identification and comparing the
      for the Pennsylvania State Senate, see Marks v. Stinson,     information provided on the application with the information
      19 F.3d 873 (3d Cir. 1994); Marks v. Stinson, No.            contained on the applicant's permanent registration card.”
      93-6157, 1994 WL 146113 (E.D. Pa. Apr. 26, 1994),            25 P.S. § 3150.12b(a). The county board of elections then
      [ECF 461, ¶ 78]; and                                         either approves the application 5 or “immediately” notifies
                                                                   the applicant if the application is not approved. Id. at §
    • A report from the bipartisan Commission on Federal
                                                                   3150.12b(a), (c). Upon approval, the county mails the voter
      Election Reform, chaired by former President Jimmy
                                                                   the mail-in ballot.
      Carter and former Secretary of State James A. Baker
      III, which observed that absentee voting is “the largest
                                                                   5
      source of potential voter fraud” and proposed that states            If the application is approved, the approval is “final
      “reduce the risks of fraud and abuse in absentee voting              and binding,” subject only to challenges “on the
      by prohibiting ‘third-party’ organizations, candidates,              grounds that the applicant was not a qualified
      and political party activists from handling absentee                 elector.” 25 P.S. § 3150.12b(a)(2). An unqualified
      ballots.” [ECF 461, ¶¶ 66-67, 80].                                   elector would be, for example, an individual who
                                                                           has not “been a citizen of the United States at least
                                                                           one month.” Pa. Const. Art. 7, § 1; see also 25 P.S. §
   C. Facts relevant to signature comparison.                              2602(t) (defining “qualified elector” as “any person
Many of the facts relevant to Plaintiffs’ signature-comparison             who shall possess all of the qualifications for voting
claim relate to the verification procedures for mail-in and                now or hereafter prescribed by the Constitution
absentee ballots, on one hand, and those procedures for in-                of this Commonwealth, or who, being otherwise
person voting, on the other. These are described below.                    qualified by continued residence in his election
                                                                           district, shall obtain such qualifications before the
                                                                           next ensuing election”).
         1. Mail-in and absentee ballot verification.               *21 After receiving the ballot, the mail-in voter must “mark
                                                                   the ballot” with his or her vote, insert the ballot into the
As noted above, Pennsylvania does not distribute unsolicited       “secrecy” envelope, and place the “secrecy” envelope into
mail-in and absentee ballots. Rather, a voter must apply for the   a larger envelope. Id. at § 3150.16(a). Then, the voter must
ballot (and any voter can). [ECF 549-2, ¶ 64]. As part of the      “fill out, date and sign the declaration printed on [the larger]
application for a mail-in ballot, 4 an applicant must provide      envelope. [The larger] envelope shall then be securely sealed
certain identifying information, including name, date of birth,    and the elector shall send [it] by mail ... or deliver it in person
length of time as a resident of the voting district, voting        to said county board of election.” Id. The declaration on the
district if known, party choice in the primary, and address        larger envelope must be signed, unless the voter is physically
where the ballot should be sent. 25 P.S. § 3150.12(b). In          unable to do so. Id. at § 3150.16(a)-(a.1).
applying for a mail-in ballot, the applicant must also provide
“proof of identification,” which is defined by statute as that     Once the voter mails or delivers the completed mail-in ballot
person's driver's license number, last four digits of Social       to the appropriate county board of elections, the ballot is kept
Security number, or another specifically approved form of          “in sealed or locked containers until they are to be canvassed
identification. [ECF 549-2, ¶ 64; ECF 549-27]; 25 P.S. §           by the county board of elections.” Id. at § 3146.8(a). The
2602(z.5)(3). A signature is not mentioned in the definition       county boards of elections can begin pre-canvassing and
of “proof of identification.” 25 P.S. § 2602(z.5)(3). However,     canvassing the mail-in ballots no earlier than election day. Id.
if physically capable, the applicant must sign the application.    at § 3146.8(g)(1.1).
Id. at § 3150.12(c)-(d).
                                                                   When pre-canvassing and canvassing the mail-in ballots, the
4                                                                  county boards of elections must “examine the declaration on
         The procedure for absentee ballots and applications
         largely resembles the procedure for mail-in ballots       the [larger] envelope of each ballot ... and shall compare the
         and applications.                                         information thereon with that contained in the ...Voters File.”
                                                                   Id. at § 3146.8(g)(3). The board shall then verify the “proof
Upon receiving the mail-in ballot application, the county
                                                                   of identification” and shall determine if “the declaration [on
board of elections determines if the applicant is qualified


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the larger envelope] is sufficient.” Id. If the information in the     signature-comparison analysis of voters’ signatures on ballots
“Voters File ... verifies [the elector's] right to vote,” the ballot   and applications for ballots.
shall be counted. Id.
                                                                        *22 Most of the counties intend to follow the Secretary's
                                                                       guidance and will not compare signatures on mail-in ballots
                                                                       and applications for the upcoming general election. E.g.,
               2. In-person voting verification.
                                                                       [ECF 504-1]. A few counties, however, stated their intent to
When a voter decides to vote in-person on election day, rather         not comply with the guidance, and instead would compare
than vote by mail, the procedures are different. There is no           and verify the authenticity of signatures. E.g., [id. (noting the
application to vote in person. Rather, on election day, the in-        counties of Cambria, Elk, Franklin, Juniata, Mifflin, Sullivan,
person voter arrives at the polling place and “present[s] to           Susquehanna, and Wyoming, as not intending to follow
an election officer proof of identification,” which the election       Secretary Boockvar's guidance to not compare signatures) ].
officer “shall examine.” Id. at § 3050(a). The in-person voter
shall then sign a voter's certificate” and give it to “the election    According to Defendants, there are valid reasons to not
officer in charge of the district register.” Id. at § 3050(a.3)        require signature comparisons for mail-in and absentee
(1). Next, the election officer shall “announce the elector's          ballots. For example, Secretary Boockvar notes that signature
name” and “shall compare the elector's signature on his voter's        verification is a technical practice, and election officers are
certificate with his signature in the district register.” Id. at       not “handwriting experts.” [ECF 549-2, p. 19, ¶ 68]. Secretary
§ 3050(a.3)(2). If the election officer believes the signature         Boockvar also notes that voters’ signatures can change
to be “genuine,” the in-person voter may vote. Id. But if the          over time, and various medical conditions (e.g., arthritis)
election officer does not deem the signature “authentic,” the          can impact a person's signature. [Id.] Defendants’ expert,
in-person voter may still cast a provisional ballot and is given       Amber McReynolds, also finds that “signature verification”
the opportunity to remedy the deficiency. Id.                          involves “inherent subjectivity.” [ECF 549-9, p. 20, ¶ 64].
                                                                       Ms. McReynolds further notes the “inherent variability of
                                                                       individuals’ signatures over time.” [Id.] And according to
                                                                       Secretary Boockvar, these are just some reasons Pennsylvania
             3. The September 11, 2020, and                            implements verification procedures other than signature
           September 28, 2020, sets of guidance.                       comparisons for mail-in voters, who, unlike in-person voters,
                                                                       are not present when their signature would be verified. [ECF
In September 2020, Secretary Boockvar issued two new
                                                                       549-2, p. 20, ¶ 69].
sets of guidance related to signature comparisons of
mail-in and absentee ballots and applications. The first,
                                                                       Plaintiffs’ expert, Greg Riddlemoser, on the other hand, states
issued on September 11, 2020, was titled “Guidance
                                                                       that signature comparison is “a crucial security aspect of vote-
Concerning Examination of Absentee and Mail-In Ballot
                                                                       by-mail” and failing to verify signatures on mail-in ballots
Return Envelopes.” [ECF 504-24]. The guidance stated,
                                                                       would “undermine voter confidence and would increase the
in relevant part, the “Pennsylvania Election Code does
                                                                       possibility of voter fraud.” [ECF 504-19, pp. 10-11]. Mr.
not authorize the county board of elections to set aside
                                                                       Riddlemoser asserts that Secretary Boockvar's September
returned absentee or mail-in ballots based solely on signature
                                                                       11, 2020, and September 28, 2020, guidance “encourage,
analysis by the county board of elections.” [Id. at p. 3]. The
                                                                       rather than prevent, voter fraud.” [Id. at p. 12]. As such, Mr.
second set of guidance, issued on September 28, 2020, was
                                                                       Riddlemoser explains that mail-in voters should be subject
titled, “Guidance Concerning Civilian Absentee and Mail-
                                                                       to the same signature-comparison requirement as in-person
In Ballot Procedures.” [ECF 504-25]. This September 28,
                                                                       voters. [Id. at pp. 13-14].
2020, guidance stated, in relevant part, “The Election Code
does not permit county election officials to reject applications
or voted ballots based solely on signature analysis. ... No
challenges may be made to mail-in and absentee ballots at                   4. Secretary Boockvar's King's Bench petition.
any time based on signature analysis.” [Id. at p. 9]. Thus, as
evidenced by these two sets of guidance, Secretary Boockvar            In light of this case and the parties’ disagreement over
advised the county boards of elections not to engage in a              whether the Election Code mandates signature comparison
                                                                       for mail-in ballots, Secretary Boockvar filed a “King's Bench”



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petition with the Pennsylvania Supreme Court on October 4,         is a qualified registered elector.” 25 P.S. § 2687(b) (eff. Oct.
2020. In that petition, she asked the Pennsylvania Supreme         8, 2004).
Court to exercise its extraordinary jurisdiction, in light of
the impending election, to clarify whether the Election Code       This county-residency requirement is in line with (or is, in
mandates signature comparison of mail-in and absentee              some cases, more permissive than) the laws of at least eight
ballots and applications. [ECF 556, p. 11; ECF 557].               other states, which similarly require prospective poll watchers
                                                                   to reside in the county in which they wish to serve as a
On October 7, 2020, several groups, including Donald J.            watcher or (similar to the pre-2004 Pennsylvania statute) limit
Trump for President, Inc. and the Republican National              poll watchers to a sub-division of the county. See, e.g., Fla.
Committee—who are Plaintiffs in this case—moved to                 Stat. Ann. § 101.131(1) (Florida); Ind. Code Ann. § 3-6-8-2.5
intervene as Respondents in the Pennsylvania Supreme Court         (Indiana); Ky. Rev. Stat. Ann. § 117.315(1) (Kentucky); N.Y.
case. [ECF 571-1]. The Pennsylvania Supreme Court has not          Elec. Law § 8-500(5) (New York); N.C. Gen. Stat. Ann. §
yet decided the motion to intervene or whether to accept the       163-45(a) (North Carolina); Tex. Elec. Code Ann. § 33.031(a)
case. The petition remains pending.                                (Texas); S.C. Code Ann. § 7-13-860 (South Carolina); Wyo.
                                                                   Stat. Ann. § 22-15-109(b) (Wyoming). However, at least one
                                                                   state (West Virginia) does not provide for poll watchers at all.
  D. Facts relevant to poll-watcher claims.                        See W. Va. Code Ann. § 3-1-37; W. Va. Code Ann. § 3-1-41
The position of “poll watcher” is a creation of state statute.
See 25 P.S. § 2687. As such, the Election Code defines how a       The General Assembly has not amended the poll-watcher
poll watcher may be appointed, what a poll watcher may do,         statute since 2004, even though some lawmakers have
and where a poll watcher may serve.                                advocated for the repeal of the residency requirement. See
                                                                   Cortés, 218 F. Supp. 3d at 402 (observing that legislative
                                                                   efforts to repeal the poll-watcher residency requirement have
 1. The county-residency requirement for poll watchers.            been unsuccessful).

 *23 The Election Code permits candidates to appoint two           As part of its September 17, 2020, decision, the Pennsylvania
poll watchers for each election district. 25 P.S. § 2687(a). The   Supreme Court found that the county-residency requirement
Election Code permits political parties and bodies to appoint      does not violate the U.S. or Pennsylvania constitutions.
three poll watchers for each election district. Id.                Boockvar, ––– A.3d at ––––, 2020 WL 5554644, at *31.

For many years, the Pennsylvania Election Code required
that poll watchers serve only within their “election district,”
                                                                               2. Where and when poll watchers
which the Code defines as “a district, division or precinct, ...
                                                                               can be present during the election.
within which all qualified electors vote at one polling place.”
25 P.S. § 2687(b) (eff. to May 15, 2002) (watchers “shall          The Pennsylvania Election Code sets forth the rules for where
serve in only one district and must be qualified registered        and when poll watchers are permitted to be present.
electors of the municipality or township in which the district
where they are authorized to act is located”); 25 P.S. §           The Election Code provides that poll watchers may be
2602(g). Thus, originally, poll watching was confined to a         present “at any public session or sessions of the county
more limited geographic reach than one's county, as counties       board of elections, and at any computation and canvassing
are themselves made up of many election districts.                 of returns of any primary or election and recount of ballots
                                                                   or recanvass of voting machines under” the Code. 25 P.S.
Then, in 2004, the General Assembly amended the relevant           § 2650. Additionally, one poll watcher for each candidate,
poll-watcher statute to provide that a poll watcher “shall         political party, or political body may “be present in the polling
be authorized to serve in the election district for which the      place ... from the time that the election officers meet prior to
watcher was appointed and, when the watcher is not serving         the opening of the polls ... until the time that the counting of
in the election district for which the watcher was appointed, in   votes is complete and the district register and voting check list
any other election district in the county in which the watcher     is locked and sealed.” 25 P.S. § 2687(b).




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 *24 During this time, poll watchers may raise objections            Under Act 12, counties are permitted to “pre-canvass” mail-in
to “challenge any person making application to vote.” Id.            or absentee ballots received before Election Day beginning at
Poll watchers also may raise challenges regarding the voters’        7:00 a.m. on Election Day. 25 P.S. § 3146.8(g)(1.1). Counties
identity, continued residence in the election district, or           are further permitted to “canvass” ballots received after that
registration status. 25 P.S. § 3050(d).                              time beginning “no earlier than the close of the polls on the
                                                                     day of the election and no later than the third day following
Although Pennsylvania has historically allowed absentee              the election.” Id. § 3146.8(g)(2).
ballots to be returned by U.S. Postal Service or by in-person
delivery to a county board of elections office, the Election         The Election Code permits “[o]ne authorized representative
Code does not provide (and has never provided for) any right         of each candidate” and “one representative from each political
to have poll watchers in locations where absentee voters fill        party” to “remain in the room in which the absentee ballots
out their ballots (which may include their home, office, or          and mail-in ballots are pre-canvassed.” 25 P.S. § 3146.8(g)
myriad other locations), nor where those votes are mailed            (1.1). Similarly, during canvassing, the Election Code permits
(which may include their own mailbox, an official U.S. Postal        “[o]ne authorized representative of each candidate” and “one
Service collection box, a work mailroom, or other places             representative from each political party” to “remain in the
U.S. Postal Service mail is collected), nor at county board of       room in which the absentee ballots and mail-in ballots are
elections offices. [ECF 549-2, ¶¶ 86-90].                            canvassed.” 25 P.S. § 3146.8(g)(2).

Before Act 77, absentee ballots were held in election districts       *25 The Election Code provisions pertaining to the “pre-
rather than centralized at the county board of elections. See        canvass” and “canvass” do not make any separate reference
25 P.S. § 3146.8 (eff. Mar. 14, 2012 to Oct. 30, 2019) (“In          to poll watchers, instead referring only to the “authorized
all election districts in which electronic voting systems are        representatives” of parties and candidates. See 25 P.S. §
used, absentee ballots shall be opened at the election district,     3146.8.
checked for write-in votes in accordance with section 1113-
A and then either hand-counted or counted by means of the            On October 6, 2020, Secretary Boockvar issued guidance
automatic tabulation equipment, whatever the case may be.”).         concerning poll watchers and authorized representatives.
                                                                     [ECF 571-1]. The guidance states that poll watchers “have
At such time (again, before Act 77), poll workers opened             no legal right to observe or be present at ... ballot return
those absentee ballots at each polling place after the close of      sites,” such as drop-box locations. [ECF 571-1, Ex. E,
the polls. Id. (“Except as provided in section 1302.1(a.2), the      p. 5]. The guidance also states that while a candidate's
county board of elections shall then distribute the absentee         authorized representative may be present when mail-in ballots
ballots, unopened, to the absentee voter's respective election       are opened (including during pre-canvass and canvass), the
district concurrently with the distribution of the other election    representative cannot challenge those ballots. [Id. at Ex. E, p.
supplies. Absentee ballots shall be canvassed immediately            4].
and continuously without interruption until completed after
the close of the polls on the day of the election in each election   On October 9, 2020, in a separate lawsuit brought by
district. The results of the canvass of the absentee ballots shall   the Trump Campaign in the Philadelphia County Court of
then be included in and returned to the county board with the        Common Pleas, the state court there confirmed Secretary
returns of that district.” (footnote omitted)).                      Boockvar's guidance. Specifically, the state court held
                                                                     that satellite ballot-collection locations, such as drop-box
With the enactment of Act 77, processing and counting of             locations, are not “polling places,” and therefore poll watchers
mail-in and absentee ballots is now centralized in each county       are not authorized to be present in those places. [ECF 573-1,
board of elections, with all mail-in and absentee ballots in         p. 12 (“It is clear from a reading of the above sections [of the
such county held and counted at the county board of elections        Election Code] that the satellite offices where these activities,
(or such other site as the county board may choose) without          and only these activities, occur are true ‘offices of the Board
regard to which election district those ballots originated from.     of Elections’ and are not polling places, nor public sessions
25 P.S. § 3146.8(a) (eff. Mar. 27, 2020); [ECF 549-2, ¶ 81].         of the Board of Elections, at which watchers have a right to
                                                                     be present under the Election Code.”) ]. Immediately after
                                                                     issuance of this decision, the Trump Campaign filed a notice



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of appeal, indicating its intention to appeal the decision to        Representative Kelly stated in his declaration that he was
the Commonwealth Court of Pennsylvania. Having just been             “likely to have difficulty getting enough poll watchers from
noticed, that appeal remains in its infancy as of the date of        within Erie County to watch all polls within that county on
this Opinion.                                                        election day.” [ECF 504-5, ¶ 16]. Representative Kelly never
                                                                     detailed his efforts (e.g., the outreach he tried, prospective
                                                                     candidates he unsuccessfully recruited, and the like), and he
                                                                     never explained why those efforts aren't likely to succeed in
       3. Plaintiffs’ efforts to recruit poll watchers
                                                                     the future. See generally [id.].
            for the upcoming general election.

In order to become a certified poll watcher, a candidate must        In his declaration, Representative Thompson only stated that
meet certain criteria. [ECF 504-20, ¶ 9]. That is, a poll watcher    based on his experience, “parties and campaigns cannot
needs to be “willing to accept token remuneration, which is          always find enough volunteers to serve as poll watchers in
capped at $120 under Pennsylvania state law” and must be             each precinct.” [ECF 504-4, ¶ 20].
able to take off work or otherwise make arrangements to be at
the polling place during its open hours on Election Day, which       According to statistics collected and disseminated by the
can mean working more than 14 hours in a single day. [Id.].          Pennsylvania Department of State, there is a gap between the
                                                                     number of voters registered as Democrats and Republicans
The Pennsylvania Director for Election Day Operations                in some Pennsylvania counties. [ECF 504-34]. Plaintiffs’
for the Trump Campaign, James J. Fitzpatrick, stated that            expert, Professor Lockerbie, believes this puts the party with
the Trump Campaign wants to recruit poll watchers for                less than a majority of voters in that county at a disadvantage
every county in Pennsylvania. [ECF 504-2, ¶ 30]. To that             in recruiting poll watchers. [ECF 504-20, ¶ 15]. However,
end, the RNC and the Trump Campaign have initiated                   despite this disadvantage, Professor Lockerbie states that “the
poll-watcher recruitment efforts for the general election by         Democratic and Republican parties might be able to meet the
using a website called DefendYourBallot.com. [ECF 528-14,            relevant criteria and recruit a sufficient population of qualified
265:2-15, 326:14-329-7]. That website permits qualified              poll watchers who meet the residency requirement[ ].” [Id. at
electors to volunteer to be a poll watcher. [Id.]. In addition,      ¶ 16].
Plaintiffs have called qualified individuals to volunteer
to be poll watchers, and worked with county chairs and               Additionally, Professor Lockerbie finds the gap in registered
conservative activists to identify potential poll watchers. [Id.].   voters in various counties to be especially problematic for
                                                                     minor political parties. [Id. at ¶ 16]. As just one example,
Despite these efforts, the Trump Campaign claims it “is              according to Professor Lockerbie, even if one were to assume
concerned that due to the residency restriction, it will not have    that all third-party voters were members of the same minor
enough poll watchers in certain counties.” [ECF 504-2, ¶ 25].        party, then in Philadelphia County it would require “every 7th
Mr. Fitzpatrick, however, could not identify a specific county       registrant” to be a poll watcher in order for the third party to
where the Trump Campaign has been unable to obtain full              have a poll watcher observing each precinct.” [Id.].
coverage of poll watchers or any county where they have tried
and failed to recruit poll watchers for the General Election.        Professor Lockerbie believes that disruptions to public
[ECF 528-14, 261:21-262:3, 263:8-19, 265:2-266:3].                   life caused by the COVID-19 pandemic “magnified” the
                                                                     difficulties in securing sufficient poll watchers. [Id. at ¶ 10].
 *26 In his declaration, Representative Reschenthaler shared
Mr. Fitzpatrick's concern, stating that he does not believe that     Nothing in the Election Code limits parties from recruiting
he will “be able to recruit enough volunteers from Greene            only registered voters from their own party. [ECF 528-14,
County to watch the necessary polls in Greene County.” [ECF          267:23-268:1]. For example, the Trump Campaign utilized at
504-6, ¶ 12]. But Representative Reschenthaler did not               least two Democrats among the poll watchers it registered in
provide any information regarding his efforts to recruit poll        the primary. [ECF 528-15, P001648].
watchers to date, or what he plans to do in the future to attempt
to address his concern. See generally [id.].
                                                                        4. Rationale for the county-residency requirement.




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Defendants have advanced several reasons to explain the            201 (3d Cir. 2006). If the non-moving party “fails to make
rationale behind county-residency requirement for poll             a showing sufficient to establish the existence of an element
watchers.                                                          essential to that party's case, and on which that party will
                                                                   bear the burden at trial,” summary judgment is warranted.
Secretary Boockvar has submitted a declaration, in which           Celotex Corp. v. Catrett, 477 U.S. 317, 324, 106 S.Ct. 2548,
she has set forth the reasons for and interests supporting         91 L.Ed.2d 265 (1986).
the county-residency requirement. Secretary Boockvar states
that the residency requirement “aligns with Pennsylvania's         “The rule is no different where there are cross-motions for
county-based election scheme[.]” [ECF 549-2, p. 22, ¶ 77].         summary judgment.” Lawrence v. City of Philadelphia, 527
“By restricting poll watchers’ service to the counties in which    F.3d 299, 310 (3d Cir. 2008). The parties’ filing of cross-
they actually reside, the law ensures that poll watchers should    motions “does not constitute an agreement that if one is
have some degree of familiarity with the voters they are           rejected the other is necessarily justified[.]” Id. But the
observing in a given election district.” [Id. at p. 22, ¶ 78].     Court may “resolve cross-motions for summary judgment
                                                                   concurrently.” Hawkins v. Switchback MX, LLC, 339 F. Supp.
 *27 In a similar vein, Intervenors’ expert, Dr. Barreto, in his   3d 543, 547 (W.D. Pa. 2018). When doing so, the Court views
report, states that, voters are more likely to be comfortable      the evidence “in the light most favorable to the non-moving
with poll watchers that “they know” and are “familiar with ...     party with respect to each motion.” Id.
from their community.” [ECF 524-1, p. 14, ¶ 40]. That's
because when poll watchers come from the community, “there
is increased trust in government, faith in elections, and voter
                                                                                  DISCUSSION & ANALYSIS
turnout[.]” [Id.].
                                                                   Plaintiffs, Defendants, and Intervenors all cross-move for
At his deposition, Representative Kelly agreed with this           summary judgment on all three of Plaintiffs’ remaining
idea: “Yeah, I think – again, depending how the districts          claims, which the Court refers to, in the short-hand, as (1) the
are established, I think people are probably even more             drop-box claim, (2) the signature-comparison claim, and (3)
comfortable with people that they – that they know and they        the poll-watching claim. The common constitutional theory
recognize from their area.” [ECF 524-23, 111:21-25].               behind each of these claims is vote dilution. Absent the
                                                                   security measures that Plaintiffs seek, they fear that others
                                                                   will commit voter fraud, which will, in turn, dilute their
                   LEGAL STANDARD                                  lawfully cast votes. They assert that this violates the federal
                                                                   and Pennsylvania constitutions.
Summary judgment is appropriate “if the movant shows that
there is no genuine dispute as to any material fact and the        The Court will address only the federal-constitutional claims.
movant is entitled to judgment as a matter of law.” Fed. R. Civ.   For the reasons that follow, the Court finds that Plaintiffs lack
P. 56(a). At summary judgment, the Court must ask whether          standing to bring their federal-constitutional claims because
the evidence presents “a sufficient disagreement to require        Plaintiffs’ injury of vote dilution is not “concrete” for Article
submission to the jury or whether it is so one-sided that one      III purposes.
party must prevail as a matter of law.” Anderson v. Liberty
Lobby, Inc., 477 U.S. 242, 251-52, 106 S.Ct. 2505, 91 L.Ed.2d      But even assuming Plaintiffs had standing, the Court
202 (1986). In making that determination, the Court must           also concludes that Defendants’ regulations, conduct, and
“consider all evidence in the light most favorable to the party    election guidance here do not infringe on any right to
opposing the motion.” A.W. v. Jersey City Pub. Schs., 486 F.3d     vote, and if they do, the burden is slight and outweighed
791, 794 (3d Cir. 2007).                                           by the Commonwealth's interests—interests inherent in the
                                                                   Commonwealth's other various procedures to police fraud, as
The summary-judgment stage “is essentially ‘put up or shut         well as its overall election scheme.
up’ time for the non-moving party,” which “must rebut the
motion with facts in the record and cannot rest solely on           *28 Finally, because the Court will be dismissing all federal-
assertions made in the pleadings, legal memoranda, or oral         constitutional claims, it will decline to exercise supplemental
argument.” Berckeley Inv. Grp. Ltd. v. Colkitt, 455 F.3d 195,



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jurisdiction over any of the state-constitutional claims and
will thus dismiss those claims without prejudice.                  The Court finds that Plaintiffs’ claims are ripe. Applying
                                                                   the two-factor test here, the Court first concludes that the
                                                                   parties would face significant hardship if the Court were to
I. Defendants’ procedural and jurisdictional challenges.           hold that the case was unripe (assuming it was otherwise
At the outset, Defendants and Intervenors raise a number of        justiciable). The general election is less than one month away,
jurisdictional, justiciability, and procedural arguments, which    and Plaintiffs assert claims that could significantly affect
they assert preclude review of the merits of Plaintiffs’ claims.   the implementation of Pennsylvania's electoral procedures.
Specifically, they assert (1) the claims are not ripe and are      Further, if the Court were to find that Plaintiffs’ claims
moot, (2) there is a lack of evidence against certain county       were not ripe, Plaintiffs would be burdened. This is because
boards, and those boards are not otherwise necessary parties,      Plaintiffs would then have to either wait until after the election
and (3) Plaintiffs lack standing. The Court addresses each         occurred—and thus after the alleged harms occurred—or
argument, in turn.                                                 Plaintiffs would have to bring suit on the very eve of the
                                                                   election, and thus there would be insufficient time for the
                                                                   Court to address the issues. This hardship makes judicial
  A. Plaintiffs’ claims are ripe and not moot.
                                                                   review at this time appropriate. The first factor is met.
Several Defendants have argued that Plaintiffs’ claims in the
Second Amended Complaint are not ripe and are moot. The
                                                                    *29 Some Defendants argue that because some of the
Court disagrees.
                                                                   Secretary's guidance was issued after the 2020 primary
                                                                   election, Plaintiffs’ claims that rely on such guidance are not
                                                                   ripe because the guidance has not been implemented in an
                1. Plaintiffs’ claims are ripe.                    election yet. The Court disagrees. Both the allegations in the
                                                                   Second Amended Complaint, and the evidence presented on
The ripeness doctrine seeks to “prevent the courts, through        summary judgment, reveal that the guidance issued after the
the avoidance of premature adjudication, from entangling           primary election will apply to the upcoming general election.
themselves in abstract disagreements.” Artway v. Attorney
                                                                   This is sufficient to make this a properly ripe controversy. 6
Gen. of N.J., 81 F.3d 1235, 1246-47 (3d Cir. 1996) (cleaned
up). The ripeness inquiry involves various considerations
                                                                   6
including whether there is a “sufficiently adversarial posture,”           In her summary-judgment brief, Secretary
the facts are “sufficiently developed,” and a party is                     Boockvar argues that Plaintiffs’ as-applied
“genuinely aggrieved.” Peachlum v. City of York, 333 F.3d                  challenge to Pennsylvania's county-residency
429, 433-34 (3d Cir. 2003). Ripeness requires the case to                  requirement is unripe. [ECF 547, pp. 60-63]. The
“have taken on fixed and final shape so that a court can                   Secretary reasons that Plaintiffs have not shown
see what legal issues it is deciding, what effect its decision             sufficient evidence that they are harmed by the
will have on the adversaries, and some useful purpose to                   county-residency requirement. This argument is
be achieved in deciding them.” Wyatt, Virgin Islands, Inc. v.              directed more towards a lack of standing and
Gov't of the Virgin Islands, 385 F.3d 801, 806 (3d Cir. 2004)              a lack of evidence to support the claim on the
(quoting Pub. Serv. Comm'n of Utah v. Wycoff Co., 344 U.S.                 merits. As the sufficiency of the evidence of
237, 244, 73 S.Ct. 236, 97 L.Ed. 291 (1952)). “A dispute is                harm is a separate issue from ripeness (which is
not ripe for judicial determination if it rests upon contingent            more concerned with timing), the Court does not
future events that may not occur as anticipated, or indeed may             find Plaintiffs’ as-applied challenge to the county-
not occur at all.” Id.                                                     residency requirement unripe. See Progressive
                                                                           Mountain Ins. Co. v. Middlebrooks, 805 F. App'x
Ultimately, “[r]ipeness involves weighing two factors: (1) the             731, 734 (11th Cir. 2020) (“The question of
hardship to the parties of withholding court consideration; and            ripeness frequently boils down to the same
(2) the fitness of the issues for judicial review.” Artway, 81             question as questions of Article III standing, but
F.3d at 1247. Unlike standing, ripeness is assessed at the time            the distinction between the two is that standing
of the court's decision (rather than the time the complaint was            focuses [on] whether the type of injury alleged is
filed). See Blanchette v. Connecticut General Ins. Corp., 419              qualitatively sufficient to fulfill the requirements of
U.S. 102, 139-40, 95 S.Ct. 335, 42 L.Ed.2d 320 (1974).                     Article III and whether the plaintiff has personally


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        suffered that harm, whereas ripeness centers on
        whether that injury has occurred yet.” (cleaned up)          *30 Here, the Court finds that Plaintiffs’ claims are not
        (citations omitted)).                                       moot, as the claims Plaintiffs are proceeding with are “live.”
                                                                    First, Plaintiffs’ claims are based on guidance that issued
The second factor the Court must consider in determining
                                                                    after the primary election and are to be applied in the
ripeness is “the fitness of the issues for judicial review.”
                                                                    upcoming general election. As such, the harms alleged are
Artway, 81 F.3d at 1247. “The principal consideration [for this
                                                                    not solely dependent on the already-passed primary election.
factor] is whether the record is factually adequate to enable the
                                                                    Second, Defendants, by and large, have made clear that
court to make the necessary legal determinations. The more
                                                                    they intend to abide by guidance that Plaintiffs assert is
that the question presented is purely one of law, and the less
                                                                    unlawful or unconstitutional. Third, Plaintiffs sufficiently
that additional facts will aid the court in its inquiry, the more
                                                                    show that certain Defendants intend to engage in the conduct
likely the issue is to be ripe, and vice-versa.” Id. at 1249.
                                                                    (e.g., use unmanned drop-boxes) that Plaintiffs say infringes
                                                                    their constitutional rights. Thus, these issues are presently
Under this framework, the Court concludes that the issues
                                                                    “live” and are not affected by the completion of the primary
are fit for review. The parties have engaged in extensive
discovery, creating a developed factual record for the Court        election. 7 Plaintiffs’ claims are not moot.
to review. Further, as shown below, the Court finds it can
assess Plaintiffs’ claims based on the current factual record       7      In their briefing, the parties focused on the “capable
and can adequately address the remaining legal questions that              of repetition yet evading review” exception to the
predominate this lawsuit. As such, the Court finds Plaintiffs’             mootness doctrine. The Court, however, does not
claims fit for judicial review.                                            find that it needs to rely on this exception. Nearing
                                                                           the eve of the election, it is clear that Defendants
Thus, Plaintiffs’ claims are presently ripe.                               intend to engage in the conduct that Plaintiffs assert
                                                                           is illegal and unconstitutional. Thus, the claims are
                                                                           presently live, and are not “evading review” in this
             2. Plaintiffs’ claims are not moot.                           circumstance.

Some Defendants also assert that Plaintiffs’ claims are moot
because Plaintiffs reference allegations of harm that occurred                     3. All named Defendants are
during the primary election, and since then, Secretary                           necessary parties to this lawsuit.
Boockvar has issued new guidance and the Pennsylvania
                                                                    Many of the county boards of elections that are Defendants
Supreme Court has interpreted the Election Code to clarify
                                                                    in this case argue that the claims against them should be
several ambiguities. The Court, however, concludes that
                                                                    dismissed because Plaintiffs did not specifically allege or
Plaintiffs’ remaining claims are not moot.
                                                                    prove sufficient violative facts against them. Plaintiffs argue
                                                                    in response that all county boards have been joined because
Mootness stems from the same principle as ripeness, but
                                                                    they are necessary parties, and the Court cannot afford relief
is stated in the inverse: courts “lack jurisdiction when ‘the
                                                                    without their presence in this case. The Court agrees with
issues presented are no longer ‘live’ or the parties lack
                                                                    Plaintiffs, and declines to dismiss the county boards from the
a legally cognizable interest in the outcome.’ ” Merle v.
                                                                    case. They are necessary parties.
U.S., 351 F.3d 92, 94 (3d Cir. 2003) (quoting Powell v.
McCormack, 395 U.S. 486, 496, 89 S.Ct. 1944, 23 L.Ed.2d
                                                                    Federal Rule of Civil Procedure 19(a) states that a party is
491 (1969)). Like ripeness and unlike standing, mootness is
                                                                    a necessary party that must be joined in the lawsuit if, “in
determined at the time of the court's decision (rather than at
                                                                    that [party's] absence, the court cannot accord complete relief
the time the complaint is filed). See U.S. Parole Commission
                                                                    among existing parties.” Fed. R. Civ. P. 19(a)(1)(A).
v. Geraghty, 445 U.S. 388, 397, 100 S.Ct. 1202, 63 L.Ed.2d
479 (1980). When assessing mootness, the Court may assume
                                                                    Here, if the county boards were not named defendants in
(for purposes of the mootness analysis) that standing exists.
                                                                    this case, the Court would not be able to provide Plaintiffs
Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., 528 U.S.
                                                                    complete relief should Plaintiffs prove their case. That's
167, 180, 120 S.Ct. 693, 145 L.Ed.2d 610 (2000) (citation
                                                                    because the Court could not enjoin the county boards if
omitted).


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they were not parties. See Fed. R. Civ. P. 65(d)(2). 8 This is      election in a manner that is both legally-compliant and meets
important because each individual county board of elections         the unique needs of each County's citizens.” [ECF 518, p.
manages the electoral process within its county lines. As           6]. Thus, because of each county's discretionary authority, if
one court previously summarized, “Election procedures and           county boards engage in unconstitutional conduct, the Court
processes are managed by each of the Commonwealth's sixty-          would not be able to remedy the violation by enjoining only
seven counties. Each county has a board of elections, which         Secretary Boockvar. 9
oversees the conduct of all elections within the county.”
Cortés, 218 F. Supp. 3d at 403 (citing 25 P.S. § 2641(a)). “The     9      As evidence of the county boards’ indispensability,
county board of elections selects, fixes and at times alters the           one court recently found that the failure to join
polling locations of new election districts. Individual counties           local election officials in an election case can make
are also tasked with the preservation of all ballots cast in that          the harm alleged not “redressable.” It would be
county, and have the authority to investigate fraud and report             a catch-22 to say that county boards cannot be
irregularities or any other issues to the district attorney[.]”            joined to this case as necessary parties, but then
Id. (citing 25 P.S. §§ 2726, 2649, and 2642). The county                   dismiss the case for lack of standing due to the
boards of elections may also make rules and regulations “as                boards’ absence. Cf. Jacobson v. Florida Secretary
they may deem necessary for the guidance of voting machine
                                                                           of States, 974 F.3d 1236, –––– – ––––, 2020 WL
custodians, elections officers and electors.” 25 P.S. § 2642(f).
                                                                           5289377, at *11-12 (11th Cir. Sept. 3, 2020) (“The
                                                                           problem for the [plaintiffs] is that Florida law
8       While Rule 65(d)(2)(C) states that an injunction                   tasks the [county] Supervisors, independently of
        binds “[non-parties] who are in active concert or                  the Secretary, with printing the names of candidates
        participation” with the parties or the parties’ agents,            on ballots in the order prescribed by the ballot
        the Court does not find that Rule 65(d) helps the                  statute. ... The Secretary is responsible only for
        county boards. As discussed, the county boards                     certifying to the supervisor of elections of each
        manage the elections and implement the electoral                   county the names of persons nominated ... Because
        procedures. While the Court could enjoin Secretary                 the Secretary didn't do (or fail to do) anything that
        Boockvar, for example, from using unmanned drop                    contributed to [plaintiffs’] harm, the voters and
        boxes, each individual county election board could                 organizations cannot meet Article III's traceability
        still use unmanned drop boxes on their own. Doing                  requirement.” (cleaned up)).
        so would not result in the counties being in “active        To grant Plaintiffs relief, if warranted, the Court would need
        concert or participation” with Secretary Boockvar,          to enter an order affecting all county boards of elections—
        as each county is independently managing the                which the Court could not do if some county boards were
        electoral process within their county lines. See            not joined in this case. Otherwise, the Court could only
        Marshak v. Treadwell, 595 F.3d 478, 486 (3d Cir.            enjoin violative conduct in some counties but not others.
        2009) (“[N]on-parties guilty of aiding or abetting          As a result, inconsistent rules and procedures would be in
        or acting in concert with a named defendant or              effect throughout the Commonwealth. While some counties
        his privy in violating the injunction may be held           can pledge to follow orders issued by this Court, the judicial
        in contempt.” (cleaned up) (citations omitted)). In         system cannot rely on pledges and promises, regardless of
        other words, each county elections board would              the county boards’ good intent. The only way to ensure that
        not be “aiding or abetting” Secretary Boockvar in           any illegal or unconstitutional conduct is uniformly remedied,
        violating the injunction (which would implicate             permanently, is to include all county boards in this case.
        Rule 65(d)(2)(C)); rather, the counties would be
        utilizing their independent statutory authority to          Thus, because the county boards are necessary parties, the
        manage elections within their county lines.                 Court cannot dismiss them.
 *31 Indeed, Defendants’ own arguments suggest that they
must be joined in this case. As just one example, a handful
of counties assert in their summary-judgment brief that the
“[Election] Code permits Boards to exercise discretion in
certain areas when administering elections, to administer the



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                                                                      should not perform a signature comparison for mail-in ballots;
                                                                      and (3) a challenge to Pennsylvania's county-residency
       4. Plaintiffs lack Article III standing to raise
                                                                      restriction for poll-watchers. See [ECF 509, pp. 4-5]. The
         their claims of vote dilution because they
                                                                      theory behind all of these claims and the asserted injury is
       cannot establish a “concrete” injury-in-fact.
                                                                      one of vote dilution due to the heightened risk of fraud; that
While Plaintiffs can clear the foregoing procedural hurdles,          is, without the above measures in place, there is an imminent
they cannot clear the final one—Article III standing.                 risk of voter fraud (primarily by mail-in voters); and if that
                                                                      fraud occurs, it will dilute the votes of many of Plaintiffs,
Federal courts must determine that they have jurisdiction             who intend to vote in person in the upcoming election. [ECF
before proceeding to the merits of any claim. Steel Co.               551, p. 12 (“As qualified electors who will be voting in the
v. Citizens for Better Env't, 523 U.S. 83, 94-95, 118                 November election, Plaintiffs will suffer an injury through
S.Ct. 1003, 140 L.Ed.2d 210 (1998). Article III of the                their non-equal treatment and/or the dilution or debasement
Constitution limits the jurisdiction of federal courts to             of their legitimately case votes by absentee and mail-in votes
“Cases” and “Controversies.” One component of the case-               that have not been properly verified by matching the voters’
or-controversy requirement is standing, which requires a              signatures on their applications and ballots to the permanent
plaintiff to demonstrate the now-familiar elements of (1)             voter registration record and/or that have been improperly
injury in fact, (2) causation, and (3) redressability. See Lujan v.   delivered by others to drop boxes or other mobile collection
Defenders of Wildlife, 504 U.S. 555, 560–61, 112 S.Ct. 2130,          sites in manners that are different[ ] from those offered or
119 L.Ed.2d 351 (1992).                                               being used in their counties of residence.”) ].


Standing is particularly important in the context of election-        Turning to the familiar elements of Article III standing,
law cases, including a case like this one, that challenge             the first and, in the Supreme Court's estimation, “foremost”
the laws, regulations, and guidance issued by elected and             element—injury-in-fact—is dispositive. See Gill v. Whitford,
appointed state officials through the democratic processes.           ––– U.S. ––––, 138 S. Ct. 1916, 1929, 201 L.Ed.2d 313
As the Supreme Court has explained, the standing “doctrine            (2018). Specifically, the Court finds that Plaintiffs’ theory of
developed in our case law to ensure that federal courts do not        vote dilution, based on the evidence presented, is insufficient
exceed their authority as it has been traditionally understood.”      to establish standing because Plaintiffs’ injury-in-fact is not
Spokeo, Inc. v. Robins, ––– U.S. ––––, 136 S. Ct. 1540, 1547,         sufficiently “concrete.”
194 L.Ed.2d 635 (2016) (cleaned up). The doctrine “limits
the category of litigants empowered to maintain a lawsuit             With respect to injury-in-fact, the Supreme Court has made
in federal court to seek redress for a legal wrong.” Id. In           clear that an injury must be “concrete” and “particularized.”
this way, “Article III standing serves to prevent the judicial        See Spokeo, 136 S. Ct. at 1548. Defendants argue that the
process from being used to usurp the powers of the political          claimed injury of vote dilution caused by possible voter fraud
branches.” Id. Nowhere is that concern more acute than in a           here is too speculative to be concrete. The Court agrees.
case that challenges a state's exercise of its core constitutional
authority to regulate the most deeply political arena of all—         To establish a “concrete” injury, Plaintiffs rely on a chain
elections.                                                            of theoretical events. They first argue that Defendants’ lack
                                                                      of election safeguards (poll watchers, drop-box guards, and
 *32 Here, Defendants and Intervenors claim that Plaintiffs           signature-comparison procedures) creates a risk of voter fraud
lack standing, largely arguing that Plaintiffs’ injury is too         or illegal voting. See [ECF 461, ¶¶ 230-31, 240, 256]. That
speculative. [ECF 547, pp. 43-50]. The Court agrees and finds         risk, they say, will lead to potential fraudsters committing
that Plaintiffs lack Article III standing for this reason.            voter fraud or ballot destruction. [Id.]. And if that happens,
                                                                      each vote cast in contravention of the Election Code will, in
Initially, to frame the standing inquiry, understanding the           Plaintiffs’ view, dilute Plaintiffs’ lawfully cast votes, resulting
specific claims at issue is important. As discussed above,            in a constitutional violation.
there are essentially three claims remaining in this case: (1)
a challenge to Secretary Boockvar's guidance that does not            The problem with this theory of harm is that this fraud hasn't
require all drop boxes to have manned security personnel; (2)         yet occurred, and there is insufficient evidence that the harm
a challenge to Secretary Boockvar's guidance that counties            is “certainly impending.”



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                                                                  mechanism already susceptible to voter fraud.” [ECF 504-19,
To be clear, Plaintiffs need not establish actual fraud at        p. 20].
this stage; but they must establish that fraud is “certainly
impending,” and not just a “possible future injury.” See          This increased susceptibility to fraud and ballot destruction
Clapper, 568 U.S. at 409, 133 S.Ct. 1138 (“Thus, we have          is the impetus for Plaintiffs, in their various capacities, to
repeatedly reiterated that threatened injury must be certainly    express their concerns that vote dilution might occur and
impending to constitute injury in fact, and that allegations of   disrupt their right to a “free and fair election.” See, e.g.,
possible future injury are not sufficient.”) (cleaned up).        [504-3, ¶ 6; 504-4, ¶ 7; ECF 504-6, ¶¶ 6-8; ECF 504-7, ¶¶
                                                                  5-9]. But these concerns, as outlined above, are based solely
 *33 This case is well past the pleading stage. Extensive fact    on a chain of unknown events that may never come to pass.
and expert discovery are complete. [ECF 462]. Nearly 300
exhibits have been submitted on cross-motions for summary         In addition to Plaintiffs’ expert report, Plaintiffs’ evidence
judgment (including 68 by Plaintiffs alone). Plaintiffs bear      consists of instances of voter fraud in the past, including an
the burden of proof on this issue, and unlike on a motion         article in the N.Y. Post purporting to detail the strategies of an
to dismiss, on summary judgment, they must come forward           anonymous fraudster, as well as pointing to certain prior cases
with proof of injury, taken as true, that will prove standing,    of voter fraud and election irregularities (e.g., Philadelphia
including a concrete injury-in-fact. See Lujan, 504 U.S. at       inadvertently allowing 40 people to vote twice in the 2020
561, 112 S.Ct. 2130 (1992) (“At the pleading stage, general       primary election; some counties counting ballots that did not
factual allegations of injury resulting from the defendant's      have a completed declaration in the 2020 primary election).
conduct may suffice ... In response to a summary judgment         [ECF 461, ¶¶ 63-82; ECF 504-19, p. 3 & Ex. D]. Initially, with
motion, however, the plaintiff can no longer rest on such mere    one exception noted directly below, none of this evidence is
allegations, but must set forth by affidavit or other evidence    tied to individuals using drop boxes, submitting forged mail-
specific facts ... which for purposes of the summary judgment     in ballots, or being unable to poll watch in another county
motion will be taken to be true.”) (cleaned up).                  —and thus it is unclear how this can serve as evidence of
                                                                  a concrete harm in the upcoming election as to the specific
Based on the evidence presented by Plaintiffs, accepted as        claims in this case.
true, Plaintiffs have only proven the “possibility of future
injury” based on a series of speculative events—which falls        *34 Perhaps the best evidence Plaintiffs present are the
short of the requirement to establish a concrete injury. For      several photographs and video stills, which are depicted
example, Plaintiffs’ expert, Mr. Riddlemoser, opines that the     above, and which are of individuals who appear to be
use of “unstaffed or unmanned” drop boxes merely “increases       delivering more than one ballot to a drop box during the
the possibility for voter fraud (and vote destruction)[.]” [ECF   primary election. It is undisputed that during the primary
504-19, p. 20 (emphasis added) ]. That's because, according       election, some county boards believed it be appropriate to
to him (and Plaintiffs’ other witnesses), theoretical bad         allow voters to deliver ballots on behalf of third parties. [ECF
actors might intentionally “target” a drop box as the “easiest    504-9, 92:4-10; ECF 504-10, 60:3-61:10; ECF 504-49].
opportunity for voter fraud” or with the malicious “intent
to destroy as many votes ... as possible.” [Id. at pp. 16-18;     But this evidence of past injury is also speculative. Initially,
see also ECF 504-2, ¶ 12 (declaring that drop boxes “may          the evidence is scant. But even assuming the evidence were
serve as a target for bad actors that may wish to tamper          more substantial, it would still be speculative to find that
with lawfully case ballots before such ballots are counted”)      third-party ballot delivery will also occur in the general
(emphasis added) ]. But there's no way of knowing whether         election. It may; it may not. Indeed, it may be less likely
these independent actors will ever surface, and if they do,       to occur now that the Secretary issued her September 28,
whether they will act as Mr. Riddlemoser and Plaintiffs           2020, guidance, which made clear to all county boards that for
predict.                                                          the general election, third-party ballot delivery is prohibited.
                                                                  [ECF 504-25 (“Third-person delivery of absentee or mail-in
Similarly, Mr. Riddlemoser concludes that, at most, not           ballots is not permitted, and any ballots delivered by someone
conducting signature analysis for mail-in and absentee ballots    other than the voter are required to be set aside. The only
“open[s] the door to the potential for massive fraud through a    exceptions are voters with a disability, who have designated
                                                                  in writing an agent to deliver their ballot for them.”) ]. It may



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also be less likely to occur in light of the Secretary's other      of respondents’ contacts; and (5) respondents will be parties
guidance, which recommends that county boards place signs           to the particular communications that the Government
near drop boxes, warning voters that third-party delivery is        intercepts).
prohibited.
                                                                     *35 In the end, the Court found that it would not “endorse
It is difficult—and ultimately speculative—to predict future        standing theories that rest on speculation about the decisions
injury from evidence of past injury. This is why the Supreme        of independent actors.” Id. at 414, 133 S.Ct. 1138.
Court has recognized that “[p]ast exposure to illegal conduct
does not in itself show a present case or controversy regarding     Like Clapper, here, Plaintiffs’ theory of harm rests on
injunctive relief if unaccompanied by any continuing, present       speculation about the decisions of independent actors.
adverse effects.” Lujan, 504 U.S. at 564, 112 S.Ct. 2130            For drop boxes, that speculation includes that unknown
(cleaned up).                                                       individuals will utilize drop boxes to commit fraud or other
                                                                    illegal activity; for signature comparison, that fraudsters will
In fact, based on Plaintiffs’ theory of harm in this case, it       submit forged ballots by mail; for poll watchers, that illegal
is almost impossible for them to present anything other than        votes will not be sufficiently challenged; and for all these
speculative evidence of injury. That is, they would have to         claims, that other security measures in place to monitor drop
establish evidence of a certainly impending illegal practice        boxes, to verify ballot information, and to challenge ballots
that is likely to be prevented by the precautions they seek.        will not work.
All of this sounds in “possible future injury,” not “certainly
impending” injury. In that way, this case is very much like the     All of this may occur and may result in some of Plaintiffs’
Supreme Court's decision in Clapper.                                votes being diluted; but the question is whether these events
                                                                    are “certainly impending.” The evidence outlined above and
In Clapper, plaintiffs-respondents were attorneys, other            presented by Plaintiffs simply fails to meet that standard.
advocates, and media groups who communicated with clients
overseas whom they feared would be subject to government            This is not to say that claims of vote dilution or voter
surveillance under a FISA statute. 568 U.S. at 406, 133 S.Ct.       fraud never give rise to a concrete injury. A plaintiff can
1138. The plaintiffs there alleged that the FISA statute at issue   have standing to bring a vote-dilution claim—typically, in a
created a risk of possible government surveillance, which           malapportionment case—by putting forth statistical evidence
prevented them from communicating in confidence with their          and computer simulations of dilution and establishing that
clients and compelled them to travel overseas instead and           he or she is in a packed or cracked district. See Gill, 138 S.
incur additional costs. Id. at 406-07, 133 S.Ct. 1138. Based        Ct. at 1936 (Kagan, J., concurring). And a plaintiff can have
on these asserted injures, the plaintiffs filed suit, seeking to    standing to bring a voter-fraud claim, but the proof of injury
invalidate provisions of FISA. Id. at 407, 133 S.Ct. 1138.          there is evidence of actual fraud in the election and thus the
                                                                    suit will be brought after the election has occurred. See, e.g.,
The Supreme Court held that plaintiffs there lacked standing        Marks v. Stinson, 19 F.3d 873 (3d Cir. 1994). But, at least
because their risk of harm was not concrete—rather, it was          based on the evidence presented here, a claim of vote dilution
attenuated and based on a series of speculative events that         brought in advance of an election on the theory of the risk of
may or may not ever occur. Id. at 410, 133 S.Ct. 1138               potential fraud fails to establish the requisite concrete injury
(finding that “respondents’ argument rests on their highly          for purposes of Article III standing.
speculative fear that: (1) the Government will decide to
target the communications of non-U.S. persons with whom             Plaintiffs advance three other theories of harm here, in order
they communicate; (2) in doing so, the Government will              to establish standing—none of which establish a concrete
choose to invoke its authority under § 1881a rather than            injury-in-fact.
utilizing another method of surveillance; (3) the Article III
judges who serve on the Foreign Intelligence Surveillance           First, Plaintiffs assert that since some of them are Republican
Court will conclude that the Government's proposed                  candidates and that Republicans are more likely to vote in
surveillance procedures satisfy § 1881a's many safeguards           person and Democrats more likely to vote by mail, that their
and are consistent with the Fourth Amendment; (4) the               injury here is a competitive disadvantage in the electoral
Government will succeed in intercepting the communications          process. [ECF 551, pp. 16-18 (“The challenged guidance will



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further harm the RNC through the institutional prioritization       a concrete injury. Clapper, 568 U.S. at 416, 133 S.Ct. 1138
of voting by mail and the potential disenfranchisement of           (“Respondents’ contention that they have standing because
Republican voters, who prefer to vote in person in the              they incurred certain costs as a reasonable reaction to a risk
upcoming General Election.”) ]. This too is a speculative,          of harm is unavailing—because the harm respondents seek to
non-concrete injury. There is nothing in the record to establish    avoid is not certainly impending. In other words, respondents
that potential voter fraud and dilution will impact Republicans     cannot manufacture standing merely by inflicting harm on
more than Democrats.                                                themselves based on their fears of hypothetical future harm
                                                                    that is not certainly impending.”); see also Donald J. Trump
 *36 To be sure, the information that Plaintiffs present            for President, Inc. v. Cegavske, ––– F. Supp. 3d ––––, ––––,
shows that more Democrats are likely to use mail-in                 2020 WL 5626974, at *5 (D. Nev. Sept. 18, 2020) (“Outside
ballots. [ECF 551, p. 31 (“[I]n Pennsylvania, of the 1.9            of stating ‘confusion’ and ‘discouragement’ in a conclusory
million absentee or mail-in ballots that have been requested        manner, plaintiffs make no indication of how AB 4 will
for the November 3, 2020 General Election, ‘nearly 1.5              discourage their member voters from voting. If plaintiffs
million Democrats have requested a mail-in ballot—nearly            did not expend any resources on educating their voters on
three times the requests from Republicans.’ ”) (quoting L.          AB4, their voters would proceed to vote in-person as they
Broadwater, “Both Parties Fret as More Democrats Request            overwhelmingly have in prior elections.”).
Mail Ballots in Key States,” New York Times (Sept. 30,
2020), available at https://www.nytimes.com/2020/09/30/             Third, with respect to the poll-watching claim, Plaintiffs
us/mail-voting-democrats-republicans-turnout.html) ]. But it        argue that at least one of the Plaintiffs, Ms. Patterson, is a
doesn't necessarily follow that more Democrats will commit          prospective poll watcher who is being denied the right to
voter fraud, such as through the destruction of drop boxes          poll watch based on the county-residency restriction, and
or third-party ballot harvesting, and thus more Republicans’        thus she meets the Article III requirements. [ECF 551, p. 34
votes will be diluted.                                              (citing ECF 551-3, ¶¶ 9-10) ]. However, Ms. Patterson cannot
                                                                    establish standing because, by Plaintiffs’ own concession, the
In fact, as Plaintiffs’ expert, Mr. Riddlemoser, explains,          theory of harm in this case is not the denial of the right to poll
fraudsters from either party could target drop boxes in specific    watch, but instead dilution of votes from fraud caused from
areas in order to destroy ballots, depending on who may be          the failure to have sufficient poll watchers. [ECF 509, p. 67
the predominant party in the area. [ECF 504-19, at pp. 17-18        (“But, the core of the as-applied challenge here is not that the
(“In short, nothing would prevent someone from intentionally        Plaintiffs cannot staff a particular polling place, it is that a
targeting a drop box in a predominantly Republican or               candidate and his or her party is presented with the Hobson's
predominantly Democratic area with an intent to destroy as          choice of selecting limited polling places to observe due to
many votes for that political party or that party's candidate(s)    the residency requirement and accept that unobserved polling
as possible.”) ]. Indeed, the more important fact for this theory   places must exist due to the inability to recruit a sufficient
of harm is not the party of the voter, but the party of the         force of poll watchers due to the necessity that candidates be
fraudster—and, on this, Plaintiffs present no evidence that one     county residents.”) ].
party over the other is likely to commit voter fraud.
                                                                     *37 And the remedy sought here is much broader than
Second, Plaintiffs also argue that the RNC, the Congressional       simply allowing Ms. Patterson to poll watch in a certain
Plaintiffs, and the Trump Campaign have organizational              county, but is tied to the broader harm of vote dilution that
standing because they “have and will continue to devote             Plaintiffs assert. [ECF 503-1, p. 3, ¶ 3 (“Plaintiffs shall be
their time and resources to ensure that their Pennsylvania          permitted to have watchers present at all locations where
supporters, who might otherwise be discouraged by the               voters are registering to vote, applying for absentee or mail-
Secretary's guidance memos favoring mail-in and absentee            in ballots, voting absentee or mail-in ballots, and/or returning
voting and Defendants’ implementation thereof, get out to the       or collecting absentee or mail-in ballots, including without
polls and vote on Election Day.” [ECF 551, p. 19]. This is          limitation any satellite or early voting sites established by any
a similar argument raised by the plaintiffs in Clapper, and         county board of elections.”) ]. Standing is measured based on
rejected there by the Supreme Court. Because Plaintiffs’ harm       the theory of harm and the specific relief requested. See Gill,
is not “certainly impending,” as discussed above, spending          138 S. Ct. at 1934 (“We caution, however, that ‘standing is
money in response to that speculative harm cannot establish         not dispensed in gross’: A plaintiff's remedy must be tailored



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to redress the plaintiff's particular injury.”). As with all of
the claims, the poll-watching claim rests on evidence of vote     The evidence relevant to these claims is undisputed. See [ECF
dilution that does not rise to the level of a concrete harm.      509, p. 45 (“After the completion of extensive discovery,
                                                                  including numerous depositions and responses to discovery
In sum, Plaintiffs here, based on the evidence presented, lack    requests, no genuine dispute of material fact exists regarding
Article III standing to assert their claims. Because they lack    Plaintiffs’ constitutional claims.”) ]. Viewed in the light most
standing, the Court will enter judgment in Defendants’ favor      favorable to Plaintiffs, the Court could conclude from this
and dismiss all claims. 10 However, because of the novelty        evidence, and will assume for purposes of this decision, that
of Plaintiffs’ claims and theories, a potential appeal in this    (1) drop boxes allow for greater risk of third-party ballot
case, and the short time before the general election, out of      delivery in violation of the Election Code than in-person
an abundance of caution, the Court will, in the alternative,      polling locations or manned drop boxes, and (2) that the use
proceed to examine the claims on the merits.                      of drop boxes is “uneven” across Pennsylvania due to its
                                                                  county-based election system—i.e., some counties are using
10                                                                “unmanned” drop boxes with varying security measures,
       The organizational Plaintiffs also raise
                                                                  some are using “manned” drop boxes, some are using dozens
       certain associational and organizational standing
                                                                  of drop boxes in a variety of locations, some are using one
       arguments, asserting that they represent their
                                                                  drop box in a county office building, and some are not using
       members’ interests. The associational standing
                                                                  drop boxes at all. The question before the Court is whether
       arguments are derivative of their members’
                                                                  this state of affairs violates equal protection or due process.
       interests. That is, because the Court has found
       no concrete injury suffered by the individual
                                                                   *38 The Court finds that it does not. The uneven use of
       voters, which would include the members
                                                                  drop boxes across counties does not produce dilution as
       of the organizational Plaintiffs, there are no
                                                                  between voters in different counties, or between “lawful” and
       separate grounds to establish standing for these
                                                                  “unlawful” voters, and therefore does not present an equal-
       organizations. See United Food & Commercial
                                                                  protection violation. But even if it did, the guidelines provided
       Workers Union Local 751 v. Brown Grp., Inc., 517
                                                                  by Secretary Boockvar are rational, and weighing the relative
       U.S. 544, 553, 116 S.Ct. 1529, 134 L.Ed.2d 758
                                                                  burdens and benefits, the Commonwealth's interests here
       (1997) (an organization only has standing to sue on
                                                                  outweigh any burden on Plaintiffs’ right to vote.
       behalf of its members when “its members would
       otherwise have standing to sue in their own right”)
       (citation omitted).                                           A. Pennsylvania's “uneven” use of drop boxes does not
                                                                     violate federal equal-protection rights.
II. Defendants and Intervenors are entitled to summary            Plaintiffs’ primary claim concerns the uneven use of drop
judgment on Plaintiffs’ claim that drop boxes violate the         boxes across the Commonwealth, which they contend violates
U.S. Constitution.                                                the Equal-Protection Clause of the 14th Amendment.
Plaintiffs’ drop-box claim has materially changed since
the Pennsylvania Supreme Court's decision authorizing the         The 14th Amendment's Equal-Protection Clause commands
use of drop boxes. Plaintiffs now allege that drop boxes          that “no State shall ... deny to any person within its jurisdiction
effectively allow third parties to return the ballots of voters   the equal protection of laws.” U.S. Const. amend. XIV, § 1.
other than themselves because, they say, no one is there          This broad and simple promise is “an essential part of the
to stop them. Absent an in-person guard or poll worker to         concept of a government of laws and not men.” Reynolds
monitor the drop boxes and prevent the return of ballots cast     v. Sims, 377 U.S. 533, 568, 84 S.Ct. 1362, 12 L.Ed.2d 506
in a manner contrary to what the Election Code permits,           (1964).
Plaintiffs assert that they face an unacceptable risk of vote
dilution, which burdens their right to vote. Plaintiffs also      But while the Constitution demands equal protection, that
argue that the “uneven” use of drop boxes in Pennsylvania,        does not mean all forms of differential treatment are
by some counties but not others, violates equal protection by     forbidden. See Nordlinger v. Hahn, 505 U.S. 1, 10, 112
subjecting voters in different counties to different amounts      S.Ct. 2326, 120 L.Ed.2d 1 (1992) (“Of course, most laws
of dilutive risk, and perhaps by diluting lawful votes cast by    differentiate in some fashion between classes of persons. The
individuals who failed to comply with the Election Code.          Equal Protection Clause does not forbid classifications.”).


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Instead, equal protection “simply keeps governmental
decisionmakers from treating differently persons who are              *39 If the courts were “to subject every voting regulation to
in all relevant respects alike.” Id. (citation omitted). What's      strict scrutiny and to require that the regulation be narrowly
more, “unless a classification warrants some form of                 tailored to advance a compelling state interest,” it “would
heightened review because it jeopardizes exercise of a               tie the hands of States seeking to assure that elections are
fundamental right or categorizes on the basis of an inherently       operated equitably and efficiently.” Id. The “machinery of
suspect characteristic, the Equal Protection Clause requires         government would not work if it were not allowed a little
only that the classification rationally further a legitimate state   play in its joints.” Bain Peanut Co. of Tex. v. Pinson,
interest.” Id. (citations omitted).                                  282 U.S. 499, 501, 51 S.Ct. 228, 75 L.Ed. 482 (1931).
                                                                     Thus, when faced with a constitutional challenge to a state
Of course, the right of every citizen to vote is a fundamental       election law, or to the actions of state officials responsible
right. See Ill. State Bd. of Elections v. Socialist Workers Party,   for regulating elections, a federal court must weigh these
440 U.S. 173, 184, 99 S.Ct. 983, 59 L.Ed.2d 230 (1979)               competing constitutional considerations and “make the ‘hard
(“[F]or reasons too self-evident to warrant amplification here,      judgment’ that our adversary system demands.” Crawford v.
we have often reiterated that voting is of the most fundamental      Marion Cnty. Election Bd., 553 U.S. 181, 190, 128 S.Ct. 1610,
significance under our constitutional structure.”) (citations        170 L.Ed.2d 574 (2008).
omitted). Indeed, it is a foundational right “that helps to
preserve all other rights.” Werme v. Merrill, 84 F.3d 479, 483       The Supreme Court has supplied lower courts guidance
(1st Cir. 1996); Wesberry v. Sanders, 376 U.S. 1, 17, 84 S.Ct.       as to how to make these hard judgments, by “forg[ing]”
526, 11 L.Ed.2d 481 (1964) (“Other rights, even the most             the “flexible standard” for assessing the constitutionality
basic, are illusory if the right to vote is undermined.”). And       of election regulations into “something resembling an
its scope is broad enough to encompass not only the right of         administrable rule.” Id. at 205, 128 S.Ct. 1610 (Scalia, J.
each voter to cast a ballot, but also the right to have those        concurring) (citing Burdick, 504 U.S. at 434, 112 S.Ct. 2059).
votes “counted without dilution as compared to the votes of
others.” Minn. Voters Alliance v. Ritchie, 720 F.3d 1029, 1031       Under this standard, first articulated in Anderson v.
(8th Cir. 2013) (cleaned up).                                        Celebrezze, 460 U.S. 780, 103 S.Ct. 1564, 75 L.Ed.2d 547
                                                                     (1983) and then refined in Burdick, the fact “[t]hat a law or
As a result, Plaintiffs are quite correct when they suggest          state action imposes some burden on the right to vote does
that a state election procedure that burdens the right to            not make it subject to strict scrutiny.” Donatelli v. Mitchell,
vote, including by diluting the value of votes compared to           2 F.3d 508, 513 (3d Cir. 1993); see also Libertarian Party
others, must “comport with equal protection and all other            of Ohio v. Blackwell, 462 F.3d 579, 585 (6th Cir. 2006)
constitutional requirements.” Cortés, 218 F. Supp. 3d at 407.        (“[V]oting regulations are not automatically subjected to
That much, at least, is not in dispute.                              heightened scrutiny.”). Instead, any “law respecting the right
                                                                     to vote—whether it governs voter qualifications, candidate
At the same time, however, the Constitution “confers on the          selection, or the voting process,” is subjected to “a deferential
states broad authority to regulate the conduct of elections,         ‘important regulatory interests’ standard for nonsevere,
including federal ones.” Griffin v. Roupas, 385 F.3d 1128,           nondiscriminatory restrictions, reserving strict scrutiny for
1130 (7th Cir. 2004) (citing U.S. Const. Art. I, § 4, cl. 1). This   laws that severely restrict the right to vote.” Crawford, 553
authority includes “broad powers to determine the conditions         U.S. at 204, 128 S.Ct. 1610 (Scalia, J. concurring).
under which the right of suffrage may be exercised.” Shelby
Cnty., Ala. v. Holder, 570 U.S. 529, 543, 133 S.Ct. 2612,            In practice, this means that courts must weigh the “character
186 L.Ed.2d 651 (2013) (cleaned up). Indeed, “[c]ommon               and magnitude of the burden the State's rule imposes” on
sense, as well as constitutional law, compels the conclusion”        the right to vote “against the interests the State contends
that states must be free to engage in “substantial regulation        justify that burden, and consider the extent to which the
of elections” if “some sort of order, rather than chaos, is to       State's concerns make that burden necessary.” Timmons v.
accompany the democratic processes.” Burdick v. Takushi,             Twin Cities Area New Party, 520 U.S. 351, 358, 117 S.Ct.
504 U.S. 428, 433, 112 S.Ct. 2059, 119 L.Ed.2d 245 (1992)            1364, 137 L.Ed.2d 589 (1997) (cleaned up). If the state
(cleaned up). And all “[e]lection laws will invariably impose        imposes a “severe” burden on the right to vote, strict scrutiny
some burden upon individual voters.” Id.                             applies—the rule may survive only if it is “narrowly tailored”



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and only if the state advances a “compelling interest.” Id.
But if the state imposes only “reasonable, nondiscriminatory
                                                                    1. Plaintiffs have not shown that Pennsylvania treats
restrictions,” its “important regulatory interests will usually
                                                                      equivalent votes in different counties differently.
be enough” to justify it. Id. Indeed, where state regulations
are “minimally burdensome and nondiscriminatory” a level          Plaintiffs’ equal-protection claim asserts differential
of scrutiny “closer to rational basis applies[.]” Ohio Council    treatment on a theory of vote dilution. As far as the Court can
8 Am. Fed'n of State v. Husted, 814 F.3d 329, 335 (6th Cir.       discern, this claim has two dimensions.
2016). And where the state imposes no burden on the “right
to vote” at all, true rational basis review applies. See Biener   First, the main thrust concerns differential treatment as
v. Calio, 361 F.3d 206, 215 (3d Cir. 2004) (“Biener also          between counties. Plaintiffs assert that some counties will
cannot establish an infringement on the fundamental right to      use drop boxes in certain ways (specifically, without in-
vote ... As the [election] filing fee does not infringe upon      person guards or in varying number and locations), while
a fundamental right, nor is Biener in a suspect class, we         others will not—resulting in differential treatment. See,
consider the claims under a rational basis test.”) (citation      e.g., [ECF 551, p. 44 (“Plaintiffs assert (and have proven)
omitted); Common Cause/New York v. Brehm, 432 F. Supp. 3d         that Defendants have adopted, and intend to implement
285, 310 (S.D.N.Y. 2020) (“Under this framework, election         in the General Election, an election regime that applies
laws that impose no burden on the right to vote are subject to    Pennsylvania's Election Code in a way that treats the citizens
rational-basis review.”).                                         of Pennsylvania unequally depending on ... the location
                                                                  where they happen to live: in some counties, voters will
 *40 This operates as a “sliding scale”—the “more severe          have around-the-clock access to ‘satellite election offices’
the burden imposed, the more exacting our scrutiny; the less      at which they can deposit their vote, but in other counties,
severe, the more relaxed our scrutiny.” Arizona Libertarian       voters will have no access at all to such drop boxes; in some
Party v. Hobbs, 925 F.3d 1085, 1090 (9th Cir. 2019); see          counties those drop boxes will be staffed and secure, but in
also Fish v. Schwab, 957 F.3d 1105, 1124 (10th Cir. 2020)         other counties drop boxes will be unmonitored and open to
(“We, and our sister circuits and commentators, have referred     tampering[.]”) ]; [Id. at p. 46 (“Defendants’ ongoing actions
to this as a ‘sliding scale’ test.”); Libertarian Party of New    and stated intentions ensure that votes will not be counted the
Hampshire v. Gardner, 638 F.3d 6, 14 (1st Cir. 2011) (“We         same as those voting in other counties, and in some instances,
review all of the First and Fourteenth Amendment claims           in the same Congressional district. For instance, the harm
under the sliding scale approach announced by the Supreme         flowing from those actions will fall disproportionately on
Court in Anderson ... and Burdick[.]”); Burdick, 504 U.S. at      the Republican candidates that bring suit here because many
434, 112 S.Ct. 2059 (“[T]he rigorousness of our inquiry into      Democrat-heavy counties have stated intentions to implement
the propriety of a state election law depends upon the extent     the Secretary's unconstitutional ... ballot collection guidance,
to which a challenged regulation burdens First and Fourteenth     and many Republican-heavy counties have stated intentions
Amendment rights.”).                                              to follow the Election Code as it is written.”) ].

Against that backdrop, the Court now turns to Plaintiffs’ claim    *41 Second, although less clear, Plaintiffs’ equal-protection
that the use of unmanned drop boxes by some Pennsylvania          claim may also concern broader differential treatment
counties, but not others, violates equal protection. As will      between law-abiders and scofflaws. In other words, Plaintiffs
be discussed, Plaintiffs’ equal-protection claim fails at the     appear to suggest that Pennsylvania discriminates against all
threshold, without even reaching Anderson-Burdick, because        law-abiding voters by adopting policies which tolerate an
Plaintiffs have not alleged or shown that Pennsylvania's          unacceptable risk of a lawfully cast votes being diluted by
system will result in the dilution of votes in certain counties   each unlawfully cast vote anywhere in Pennsylvania. See,
and not others. Furthermore, even if the Court applies            e.g., [ECF 509, p. 55 (“The use of unstaffed drop boxes ...
Anderson-Burdick, the attenuated “burden” Plaintiffs have         not only dilutes the weight of all qualified Pennsylvanian
identified—an increased risk of vote dilution created by          electors, it curtails a sense of security in the voting process.”)
the use of unmanned drop boxes—is more than justified             (emphasis in original) ]; [ECF 509 p. 68 (“There will be no
by Defendants’ important and precise interests in regulating      protection of one-person, one-vote in Pennsylvania, because
elections.                                                        her policies ... allowing inconsistently located/used drop




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boxes will result in illegal ballots being cast and counted with   rules or standards to determine which votes counted, the
legitimate votes[.]”) ].                                           Court concluded that the patchwork recount scheme failed to
                                                                   “satisfy the minimum requirement for nonarbitrary treatment
As discussed below, both of these species of equal protection      of voters necessary to secure the fundamental right [to vote].”
fail because there is, in fact, no differential treatment here—    Id.
a necessary predicate for an equal-protection claim.
                                                                    *42 While the Supreme Court expressly limited its holding
Initially, Plaintiffs “have to identify a burden before we         in Bush “to the present circumstances” of a standardless
can weigh it.” Crawford, 553 U.S. at 205, 128 S.Ct. 1610           “statewide recount under the authority of a single state judicial
(Scalia, J. concurring). In the equal-protection context, this     officer,” id. at 109, 121 S.Ct. 525, a few courts have found
means the plaintiff “must present evidence that s/he has been      its reasoning to be persuasive as a broader principle of equal
treated differently from persons who are similarly situated.”      protection. See Stewart v. Blackwell, 444 F.3d 843, 859 (6th
Renchenski v. Williams, 622 F.3d 315, 337 (3d Cir. 2010)           Cir. 2006) (“Somewhat more recently decided is Bush v.
(cleaned up). And not just any differential treatment will         Gore, ... which reiterated long established Equal Protection
do. As discussed above, differences in treatment raise equal-      principles.”); Ne. Ohio Coal. for Homeless v. Husted, 696 F.3d
protection concerns, and necessitate heightened scrutiny of        580, 598 (6th Cir. 2012) (“We agree with all of the parties
governmental interests, only if they burden a fundamental          and the district court that the consent decree likely violates
right (such as the right to vote) or involve a suspect             the equal protection principle recognized in Bush v. Gore.”);
classification based on a protected class. See Obama for Am.       Pierce v. Allegheny Cty. Bd. of Elections, 324 F. Supp. 2d 684,
v. Husted, 697 F.3d 423, 429 (6th Cir. 2012) (“If a plaintiff      705 (W.D. Pa. 2003) (Conti, J.) (“As noted above, the court
alleges only that a state treated him or her differently than      finds that the facts presented raise a serious equal protection
similarly situated voters, without a corresponding burden on       claim under a theory similar to that espoused by the United
the fundamental right to vote, a straightforward rational basis    States Supreme Court in Bush v. Gore, supra.”); Black v.
standard of review should be used.”).                              McGuffage, 209 F. Supp. 2d 889, 899 (N.D. Ill. 2002) (“The
                                                                   Court is certainly mindful of the limited holding of Bush.
Plaintiffs argue that equal protection is implicated because       However, we believe that situation presented by this case is
Pennsylvania has permitted counties to use drop boxes to           sufficiently related to the situation presented in Bush that the
varying extents, and with varying degrees of security. Some,       holding should be the same.”).
like Delaware County, intend to use dozens of drop boxes.
See generally [ECF 549-28]. Many others will not use drop          Indeed, Bush’s core proposition—that a state may not take
boxes at all. See generally [ECF 504-1]. And among the             the votes of two voters, similarly situated in all respects,
counties that do use drop boxes, some will staff them with         and, for no good reason, count the vote of one but not the
county officials, while others will monitor them only with         other—seems uncontroversial. It also seems reasonable (or at
video surveillance or not at all. See generally [ECF 549-28].      least defensible) that this proposition should be extended to
                                                                   situations where a state takes two equivalent votes and, for no
In this respect, Plaintiffs argue that they suffer an equal-       good reason, adopts procedures that greatly increase the risk
protection harm similar to that found by the Supreme Court         that one of them will not be counted—or perhaps gives more
in Bush v. Gore, 531 U.S. 98, 121 S.Ct. 525, 148 L.Ed.2d           weight to one over the other. See, e.g., Black, 209 F. Supp.
388 (2000). There, the Supreme Court held that the Florida         2d at 899 (“Plaintiffs in this case allege that the resulting
Supreme Court violated equal protection when it “ratified”         vote dilution, which was found to be unacceptable in Bush
election recount procedures that allowed different counties to     without any evidence of a disproportionate impact on any
use “varying standards to determine what was a legal vote.”        group delineated by traditional suspect criteria, is impacting
Id. at 107, 121 S.Ct. 525. This meant that entirely equivalent     African American and Hispanic groups disproportionately....
votes might be counted in one county but discounted                Any voting system that arbitrarily and unnecessarily values
in another. See, e.g., id. (“Broward County used a more            some votes over others cannot be constitutional.”); see also
forgiving standard than Palm Beach County, and uncovered           Reynolds, 377 U.S. at 555, 84 S.Ct. 1362 (“[T]he right of
almost three times as many new votes, a result markedly            suffrage can be denied by a debasement or dilution of the
disproportionate to the difference in population between           weight of a citizen's vote just as effectively as by wholly
the counties.”). Given the absence of uniform, statewide           prohibiting the free exercise of the franchise.”).



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That is the sort of equal-protection claim Plaintiffs purport       This is categorically different from the harm at issue in
to be asserting—a claim that voters in counties that use drop       Bush and cases like it. In Bush, Florida's arbitrary use of
boxes are subjected to a much higher risk of vote dilution than     different recount standards in different counties meant that the
those in other counties that do not. But that characterization      state was counting equivalent ballots differently in different
falls apart under scrutiny. Indeed, despite their assertions,       counties, meaning that voters in some counties were more
Plaintiffs have not actually alleged, let alone proven, that        likely to have their votes counted than those in others.
votes cast in some counties are diluted by a greater amount
relative to votes cast in others. Rather, they have, at best,       In Black v. McGuffage, an Illinois district-court case on
shown only that events causing dilution are more likely to          which Plaintiffs heavily rely, the plaintiffs alleged that the
occur in counties that use drop boxes. But, importantly, the        type of voting machines used in some Illinois counties were
effect of those events will, by Plaintiffs’ own admission, be       statistically much more likely to result in equivalent votes
felt by every voter across all of Pennsylvania. [ECF 509, p.        being discounted at a much higher frequency in some counties
55. (“The use of unstaffed drop boxes places the security of        than others, and that the worst machines were those being
unknown hundreds (if not thousands) of ballots in jeopardy          used in counties with high populations of minority groups.
of theft, destruction, and manipulation. This not only dilutes      209 F. Supp. 2d at 899. As a result, voters (and, specifically,
the weight of all qualified Pennsylvanian electors, it curtails     minority voters) were much more likely to have their votes
a sense of security in the voting process.”) (citations omitted)    discounted, based just on the county in which they lived.
(emphasis in original) ]. Such dilution impacts the entire          See id. (“As a result, voters in some counties are statistically
electorate equally; not just voters in the county where it          less likely to have their votes counted than voters in other
occurs.                                                             counties in the same state in the same election for the same
                                                                    office. Similarly situated persons are treated differently in
To illustrate this distinction, consider, for example, a            an arbitrary manner.... In addition, the Plaintiffs in this case
presidential election. The Court agrees with Plaintiffs that        allege that the resulting vote dilution ... is impacting African
the relevant electoral unit in such an election is “the entire      American and Hispanic groups disproportionately.”).
Commonwealth of Pennsylvania.” [ECF 551, p. 55 (“The
electoral unit in this election is the entire Commonwealth          Finally, Stewart v. Blackwell, another case cited by Plaintiffs,
of Pennsylvania.”) ]. Indeed, on election night, votes cast         was the same as Black—voters in counties that used punch-
in each of Pennsylvania's 67 counties will be canvassed,            card voting were “approximately four times as likely not to
counted, and ultimately added to a statewide vote total that        have their votes counted” as a voter in a different county
decides who wins Pennsylvania's 20 electoral votes. So, ask:        “using reliable electronic voting equipment.” 444 F.3d at 848.
what is the dilutive impact of a hypothetical illegal vote cast
in Philadelphia during that election? Does it cause, in any         What ties these cases together is that each of them involves
sense, an “unequal evaluation of ballots” cast in different         a state arbitrarily “valu[ing] one person's vote over that
counties, Bush, 531 U.S. at 106, 121 S.Ct. 525, such that           of another,” Bush, 531 U.S. at 104-05, 121 S.Ct. 525,
lawful ballots cast in Philadelphia will be less likely to count,   by permitting counties to either apply different standards
worth less if they do, or otherwise disfavored when compared        to decide what votes count (Bush) or use different voting
to votes cast in other counties? The answer is evident—it does      technologies that create a great risk of votes being discounted
not. Rather, the hypothetical illegal vote cast in Philadelphia     in one county that does not exist in others (Black and Stewart).
dilutes all lawful votes cast in the election anywhere in the       It is this sort of “differential treatment ... burden[ing] a
Commonwealth by the exact same amount.                              fundamental right” that forms the bedrock of equal protection.
                                                                    Sullivan v. Benningfield, 920 F.3d 401, 409 (6th Cir. 2019).
 *43 The same reasoning holds in elections that occur within
part of a state, rather than statewide. For example, consider       Plaintiffs, in contrast, have shown no constitutionally
a hypothetical legislative district covering two counties—one       significant differential treatment at all.
that uses drop boxes and one that does not. There may well be
a greater risk that illegal voting will occur in the county that    Instead, as discussed, if Plaintiffs are correct that the use of
uses drop boxes. But any dilutive impact of those votes will        drop boxes increases the risk of vote dilution, all votes in the
be felt equally by voters in both counties.                         relevant electoral unit—whether that is statewide, a subset



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of the state, or a single county—face the same degree of             eight counties at once, it creates ‘unconstitutional vote-
increased risk and dilution, regardless of which county is most      dilution’ in counties that do not participate in the pilot
at fault for elevating that risk.                                    plan. Nothing in the Constitution, the Supreme Court's
                                                                     controlling precedent, or our case law suggests that we can
What Plaintiffs have really identified, then, are not uneven         micromanage a state's election process to this degree.”); Fla.
risks of vote dilution—affecting voters in some counties             State Conference of N.A.A.C.P. v. Browning, 569 F. Supp.
more than equivalent voters in others—but merely different           2d 1237, 1258 (N.D. Fla. 2008) (“[A]s with countless public
voting procedures in different counties that may contribute          services delivered through Florida's political subdivisions—
different amounts of vote dilution distributed equally across        such as law enforcement and education—resource disparities
the electorate as a whole. The Court finds that this is not an       are to some degree inevitable. They are not, however,
equal-protection issue.                                              unconstitutional.”); Green Party of State of New York v.
                                                                     Weiner, 216 F. Supp. 2d 176, 192 (S.D.N.Y. 2002) (“Even
 *44 To be clear, the reason that there is no differential           in that situation, [Bush v. Gore] did not challenge, and
treatment is solely based on Plaintiffs’ theory of harm in           the Court did not question, the use of entirely different
this case. In the more “routine” vote-dilution cases, the state      technologies of voting in different parts of the state, even
imposes some restriction or direct impact on the plaintiff's         in the same election.”); Paher v. Cegavske, No. 20-243,
right to vote—that results in his or her vote being weighed          2020 WL 2748301, at *9 (D. Nev. May 27, 2020) (“[I]t
less (i.e., diluted) compared to those in other counties or          cannot be contested that Clark County, which contains most
election districts. See Gill, 138 S. Ct. at 1930, (explaining that   of Nevada's population—and likewise voters (69% of all
“the holdings in Baker and Reynolds were expressly premised          registered voters [ ] )—is differently situated than other
on the understanding that the injuries giving rise to those          counties. Acknowledging this as a matter of generally known
claims were individual and personal in nature, because the           (or judicially noticeable) fact and commonsense makes it
claims were brought by voters who alleged facts showing              more than rational for Clark County to provide additional
disadvantage to themselves as individuals”) (cleaned up). In         accommodations to assist eligible voters.”); Ron Barber for
this case, though, Plaintiffs complain that the state is not         Cong. v. Bennett, No. 14-2489, 2014 WL 6694451, at *5 (D.
imposing a restriction on someone else's right to vote, which,       Ariz. Nov. 27, 2014) (“[T]he [Bush v. Gore] Court did not
they say, raises the risk of fraud, which, if it occurs, could       invalidate different county systems regarding implementation
dilute the value of Plaintiffs’ vote. The consequence of this        of election procedures.”); Tex. Democratic Party v. Williams,
inverted theory of vote dilution is that all other votes are         No. 07-115, 2007 WL 9710211, at n.4 (W.D. Tex. Aug. 16,
diluted in the same way; all feel the same effect.                   2007) (“In Bush v. Gore, the Supreme Court specifically
                                                                     noted: ‘The question before the Court is not whether local
Finally, the Court's ruling in this regard is consistent with        entities, in the exercise of their expertise, may develop
the many courts that have recognized that counties may,              different systems for implementing elections.’ ”).
consistent with equal protection, employ entirely different
election procedures and voting systems within a single state.         *45 Equal protection does not demand the imposition of
See, e.g., Wexler v. Anderson, 452 F.3d 1226, 1231-33 (11th          “mechanical compartments of law all exactly alike.” Jackman
Cir. 2006) (“Plaintiffs do not contend that equal protection         v. Rosenbaum Co., 260 U.S. 22, 31, 43 S.Ct. 9, 67 L.Ed. 107
requires a state to employ a single kind of voting system            (1922). Rather, “the Constitution is sufficiently flexible to
throughout the state. Indeed, local variety in voting systems        permit its requirements to be considered in relation to the ...
can be justified by concerns about cost, the potential value         contexts in which they are invoked.” Merchants Nat'l Bank of
of innovation, and so on.”) (cleaned up); Hendon v. N.C.             Mobile v. Dredge Gen. G. L. Gillespie, 663 F.2d 1338, 1343
State Bd. of Elections, 710 F.2d 177, 181 (4th Cir. 1983)            (5th Cir. 1981). And in this context, “few (if any) electoral
(“A state may employ diverse methods of voting, and the              systems could survive constitutional scrutiny if the use of
methods by which a voter casts his vote may vary throughout          different voting mechanisms by counties offended the Equal
the state.”); Short v. Brown, 893 F.3d 671, 679 (9th Cir.            Protection Clause.” Trump v. Bullock, ––– F.3d ––––, ––––,
2018) (“[T]he appellants’ reading of the Supreme Court's             2020 WL 5810556, at *14 (D. Mont. Sept. 30, 2020).
voting cases would essentially bar a state from implementing
any pilot program to increase voter turnout. Under their             The distinction—between differences in county election
theory, unless California foists a new system on all fifty-          procedures and differences in the treatment of votes or voters



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between counties—is reflected in Bush itself. There, the           that elector's vote will, under Plaintiffs’ theory, be diluted by
Supreme Court took pains to clarify that the question before       a magnitude of ten—resulting in differential treatment.
it was “not whether local entities, in the exercise of their
expertise, may develop different systems for implementing           *46 The problem with this theory is that there does not
elections.” Bush, 531 U.S. at 109, 121 S.Ct. 525; see also         appear to be any law to support it. Indeed, if this were a
id. at 134, 121 S.Ct. 525 (Souter, J. dissenting) (“It is true     true equal-protection problem, then it would transform every
that the Equal Protection Clause does not forbid the use of        violation of state election law (and, actually, every violation
a variety of voting mechanisms within a jurisdiction, even         of every law) into a potential federal equal-protection claim
though different mechanisms will have different levels of          requiring scrutiny of the government's “interest” in failing
effectiveness in recording voters’ intentions; local variety can   to do more to stop illegal activity. This is not the law. To
be justified by concerns about cost, the potential value of        the contrary, it is well-established that even violations of
innovation, and so on.”); Bullock, ––– F.3d at ––––, 2020 WL       state election laws by state officials, let alone violations
5810556, at *14 (“[T]he Supreme Court was clear in Bush v.         by unidentified third parties, do not give rise to federal
Gore that the question was not whether local entities, in the      constitutional claims except in unusual circumstances. See
exercise of their expertise, may develop different systems for     Shipley v. Chicago Bd. of Election Commissioners, 947 F.3d
implementing elections.”) (cleaned up).                            1056, 1062 (7th Cir. 2020) (“A violation of state law does not
                                                                   state a claim under § 1983, and, more specifically, a deliberate
Thus, coming back to the theory of Plaintiffs’ case, Plaintiffs    violation of state election laws by state election officials
contend that Secretary Boockvar's drop-box guidance will           does not transgress against the Constitution.”) (cleaned up);
result in differences between counties and differing risks of      Martinez v. Colon, 54 F.3d 980, 989 (1st Cir. 1995) (“[T]he
fraud. But the result of that uneven implementation will not       Constitution is not an empty ledger awaiting the entry of an
be votes in certain counties being valued less than others.        aggrieved litigant's recitation of alleged state law violations—
And the result won't be that voters who vote in person will        no matter how egregious those violations may appear within
have their votes valued less, either. Instead, if Plaintiffs are   the local legal framework.”).
right, any unlawful votes will dilute all other lawful votes in
the same way. While certainly voter fraud and illegal voting       Thus, this type of equal-protection claim fails as a matter of
are bad, as a matter of equal protection, there is no unequal      law, as well.
treatment here, and thus no burden on Plaintiffs’ rights under
the Equal Protection Clause.
                                                                        2. If Pennsylvania's “uneven” use of drop boxes
In addition to their equal-protection claim based on county
                                                                    indirectly burdens the right to vote at all, that burden
differences, Plaintiffs also appear to allude to a more
                                                                      is slight, and justified by important state interests.
general type of equal-protection violation. They assert that
Pennsylvania comprises a single election unit. [ECF 551,           Even assuming that Plaintiffs could establish unequal
p. 55 (“The electoral unit in this election is the entire          treatment to state an equal-protection claim, their claim
Commonwealth of Pennsylvania.”) ]. They assert that they           nonetheless fails because the governmental interests here
intend to cast their ballots lawfully. See, e.g., [ECF 504-3,      outweigh any burden on the right to vote.
¶ 4 (“As a Pennsylvania qualified registered elector, I have
always voted in-person at primary and general elections, and       Initially, the Court finds that the appropriate level of
I intend to vote in-person at the upcoming November 3, 2020        scrutiny is rational basis. Defendants’ failure to implement a
General Election.”) ]. And they assert that unmanned drop          mandatory requirement to “man” drop boxes doesn't directly
boxes across the Commonwealth (regardless of the county)           infringe or burden Plaintiffs’ rights to vote at all. Indeed, as
will, on a statewide basis, dilute their votes. See, e.g., [id.    discussed above in the context of standing, what Plaintiffs
at ¶ 6 (“As a Pennsylvania qualified registered elector who        characterize as the burden or harm here is really just an
votes in-person, I do not want my in-person vote diluted           ancillary ‘increased risk’ of a theoretical harm, the degree of
or cancelled by votes that are cast in a manner contrary           which has not been established with any empirical precision.
to the requirements enacted by the Pennsylvania General            See Obama, 697 F.3d at 429 (“If a plaintiff alleges only that
Assembly.”) ]. For example, if one “qualified elector” casts       a state treated him or her differently than similarly situated
a lawful ballot, but a fraudulent voter casts ten ballots, then    voters, without a corresponding burden on the fundamental



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right to vote, a straightforward rational basis standard of          finds that the lack of any statewide requirement that all drop
review should be used.”); Brehm, 432 F. Supp. 3d at 310              boxes be manned or otherwise surveilled is reasonable, and
(“Under this framework, election laws that impose no burden          certainly rational.
on the right to vote are subject to rational-basis review.”).
                                                                      *47 But even assuming Plaintiffs are right that their right
On rational-basis review, the Secretary's guidance here              to vote here has been burdened (and thus a heightened
passes constitutional muster. Her guidance certainly provides        level of scrutiny must apply), that burden is slight and
some flexibility in how counties may use drop boxes, but             cannot overcome Defendants’ important state interests under
the guidance overall is rationally related to a legitimate           the Anderson-Burdick framework. Indeed, courts routinely
governmental interest—namely, the implementation of drop             find attenuated or ancillary burdens on the right to vote to
boxes in a secure manner, taking into account specific county        be “slight” or insignificant, even burdens considerably less
differences. That Plaintiffs feel the decisions and actions of       attenuated or ancillary than any burden arguably shown here.
the Pennsylvania General Assembly, Secretary Boockvar, and           See, e.g., Weber v. Shelley, 347 F.3d 1101, 1106 (9th Cir. 2003)
the county Defendants are insufficient to prevent fraud or           (“Under Burdick, the use of touchscreen voting systems is
illegal voting is of no significance. “[R]ational-basis review       not subject to strict scrutiny simply because this particular
in equal protection analysis is not a license for courts to judge    balloting system may make the possibility of some kinds of
the wisdom, fairness, or logic of legislative choices.” Heller v.    fraud more difficult to detect.”). 11
Doe by Doe, 509 U.S. 312, 319, 113 S.Ct. 2637, 125 L.Ed.2d
257 (1993).                                                          11
                                                                             See, also, e.g., Dudum v. Arntz, 640 F.3d 1098,
                                                                             1117 (9th Cir. 2011) (“If the aspects of the City's
As detailed above, Secretary Boockvar's guidance provides
                                                                             restricted IRV scheme Dudum challenges impose
lawful, comprehensive, and reasonable standards with respect
                                                                             any burdens on voters’ constitutional rights to
to (1) selecting the location of drop boxes, (2) drop-box
                                                                             vote, they are minimal at best.”); Common Cause/
design criteria, (3) signage, (4) drop-box security measures,
                                                                             Georgia v. Billups, 554 F.3d 1340, 1354–55 (11th
and (5) drop-box ballot collection and chain of custody
                                                                             Cir. 2009) (“The district court determined that the
procedures. Of particular note, with respect to ballot security,
                                                                             burden imposed on Georgia voters who lack photo
the Secretary's guidance calls for the use of reasonably robust
                                                                             identification was not undue or significant, and
measures like video surveillance, durable and tamperproof
                                                                             we agree.... The NAACP and voters are unable
design features, regular ballot collection every 24 hours,
                                                                             to direct this Court to any admissible and reliable
chain-of-custody procedures to maintain ballot traceability,
                                                                             evidence that quantifies the extent and scope of
and signage advising voters that third-party delivery is
                                                                             the burden imposed by the Georgia statute.”);
prohibited, among other things.
                                                                             Soules v. Kauaians for Nukolii Campaign Comm.,
                                                                             849 F.2d 1176, 1183 (9th Cir. 1988) (“Appellants
To be sure, the Secretary's guidance doesn't insist on the use
                                                                             claim that Hawaii's absentee voting law fails to
of security personnel—though some counties have decided to
                                                                             prohibit ‘the solicitation, examination and delivery
post security guards outside of drop boxes on their own. But
                                                                             of absentee ballots by persons other than the voters’
the Court can't say that either the Secretary's failure to provide
                                                                             and that such activities occurred during the special
that requirement, or the decision of some counties to proceed
                                                                             election ... We agree with the district court that the
with drop boxes “unmanned,” is irrational. For example, the
                                                                             Hawaii absentee ballot statute and the regulations
evidence presented demonstrates that placing a security guard
                                                                             adopted under it adequately protect the secrecy
outside of a drop box at all times is costly, particularly for
                                                                             and integrity of the ballot. Although Hawaii has
cash-strapped counties—at least $13 per hour or about $104
                                                                             not adopted a regulation to prevent the delivery
(8 hours) to $312 (24 hours) per day, according to Defendants’
                                                                             of ballots by persons other than the voter, the
expert, Professor Robert McNair. [ECF 549-11, p. 11] In the
                                                                             Hawaii regulations go into great detail in their
context of a broader election system that detects and deters
                                                                             elaboration of procedures to prevent tampering
fraud at many other stages of the voting process, and given
                                                                             with the ballots.”); McLain v. Meier, 637 F.2d 1159,
that that there are also no equivalent security measures present
                                                                             1167 (8th Cir. 1980) (“[A]lthough ballot format has
at U.S. postal mailboxes (which constitute an arguably more
                                                                             an effect on the fundamental right to vote, the effect
tempting vehicle for the would-be ballot harvester), the Court
                                                                             is somewhat attenuated.”); Nemes v. Bensinger,


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        ––– F. Supp. 3d ––––, ––––, 2020 WL 3402345,                 To the extent Anderson-Burdick applies in such
        at *13 (W.D. Ky. June 18, 2020) (“The burden                 circumstances, the appropriate course would, in this
        imposed by the contraction to one polling place              Court's view, be to weigh any burden stemming from
        is modest, and the identified groups are afforded            the government's alleged failures against the government's
        various other means under the voting plans to                interest in enacting the broader election scheme it has
        easily and effectively avoid disenfranchisement.             erected, of which the challenged piece is usually only one
        As already discussed, Defendants have offered                part. Focusing solely on the allegedly inadequate procedure
        evidence of the substantial government interest in           being challenged, such as the state's authorization of “drop
        implementing voting plans that provide for a free            boxes” here, would ignore the fact that Election Code
        and fair election while attempting to minimize the           provisions and regulations operate as part of a single,
        spread of COVID-19.”); Paralyzed Veterans of Am.             complex organism balancing many competing interests, all of
        v. McPherson, No. 06-4670, 2008 WL 4183981, at               which are “important” for purposes of the Anderson-Burdick
        *22 (N.D. Cal. Sept. 9, 2008) (“Plaintiff Bohlke's           analysis. See, e.g., Crawford, 553 U.S. at 184, 128 S.Ct.
        listed burdens rely on speculative risk or the               1610 (“deterring and detecting voter fraud”); Tedards v.
        ancillary effects of third party assistance, but not on      Ducey, 951 F.3d 1041, 1067 (9th Cir. 2020) (“voter turnout”);
        evidence of any concrete harm. Such speculations             Lunde v. Schultz, 221 F. Supp. 3d 1095, 1106 (S.D. Iowa
        or effects are insufficient under Supreme Court and          2014) (“expanding ballot access to nonparty candidates”);
        Ninth Circuit precedent to demonstrate a severe              Greenville Cnty. Republican Party Exec. Comm. v. South
        burden on the fundamental right to vote.”).                  Carolina, 824 F. Supp. 2d 655, 671 (D.S.C. 2011)
To begin with, application of the Anderson-Burdick                   (“promoting voter participation in the electoral process”);
framework here presents something of a “square peg,                  Mays v. LaRose, 951 F.3d 775, 787 (6th Cir. 2020) (“orderly
round hole” dilemma. After all, that test assumes there is           administration of elections”); Dudum, 640 F.3d at 1115
some constitutional injury to “weigh” against the state's            (“orderly administration of ... elections”); Paher v. Cegavske
“important” regulatory interests in the first place. And without     , 457 F.Supp.3d 919, ––––, 2020 WL 2089813, at *7
differential treatment of votes or voters, there isn't any equal-    (2020) (“protect[ing] the health and safety of ... voters” and
protection injury for the Court to balance.                          “safeguard[ing] the voting franchise”); Nemes, ––– F. Supp.
                                                                     3d at ––––, 2020 WL 3402345, at *13 (“implementing voting
The Anderson-Burdick test is also ill-fitted to Plaintiffs’          plans that provide for a free and fair election while attempting
claims for another reason. Typically, Anderson-Burdick is            to minimize the spread of COVID-19”).
invoked where the government takes some direct action to
burden or restrict a plaintiff's right to vote. Here, in contrast,   Thus, on the “burden” side of the equation is Plaintiffs’ harm
Plaintiffs complain that Pennsylvania has indirectly burdened        of vote dilution predicated on a risk of fraud. As discussed
the right to vote through inaction—i.e., by not imposing             above in the context of lack of standing, that burden is slight,
enough regulation to secure the voting process it has adopted,       factually, because it is based on largely speculative evidence
which, Plaintiffs say, will allow third parties to vote in an        of voter fraud generally, anecdotal evidence of the mis-use of
unlawful way, which, if it happens, will dilute (and thus            certain drop boxes during the primary election, and worries
burden) the right to vote.                                           that the counties will not implement a “best practice” of
                                                                     having poll workers or guards man the drop boxes. See [ECF
 *48 This unusual causal daisy-chain makes it difficult to           461, ¶¶ 63-82; ECF 504-2, ¶ 12; 504-3, ¶ 6; 504-4, ¶7;; ECF
apply Anderson-Burdick’s balancing approach. After all, it           504-6, ¶¶ 6-8; ECF 504-7, ¶¶ 5-9; ECF 504-9, 92:4-10; ECF
is one thing to assess the government's interest in taking a         504-10, 60:3-61:10; 504-19, pp. 3, 16-18, 20 & Ex. D; ECF
specific action that imposed burdens on the right to vote.           504-25; ECF 504-49; ECF 509, p. 67; ECF 551, p. 34].
It is much less natural for a court to evaluate whether the
government had a good reason for not doing something                 This somewhat scant evidence demonstrates, at most, an
differently, or for failing to do more to prevent (or reduce the     increased risk of some election irregularities—which, as
risk of) misconduct by third parties that could burden the right     many courts have held, does not impose a meaningful
to vote.                                                             burden under Anderson-Burdick. “Elections are, regrettably,
                                                                     not always free from error,” Hutchinson v. Miller, 797 F.2d
                                                                     1279, 1286–87 (4th Cir. 1986), let alone the “risk” of error.



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In just about every election, votes are counted, or discounted,       drop boxes, which is noted above. That guidance includes
when the state election code says they should not be. But the         (1) advising counties that the Election Code permits the
Constitution “d[oes] not authorize federal courts to be state         use of drop boxes, and (2) setting forth best practices that
election monitors.” Gamza v. Aguirre, 619 F.2d 449, 454 (5th          the counties should “consider” with respect to their use.
Cir. 1980). It is “not an empty ledger awaiting the entry of an       Among other things, the Secretary advised that counties
aggrieved litigant's recitation of alleged state law violations.”     should maintain a traceable chain of custody for mail-in
Fournier v. Reardon, 160 F.3d 754, 757 (1st Cir. 1998). Nor           and absentee ballots retrieved from drop boxes; utilize drop
is it “an election fraud statute.” Minnesota Voters, 720 F.3d         boxes with various security features (e.g., anti-tampering
at 1031.                                                              features, locks, video surveillance, and removal when the site
                                                                      is closed or cannot be monitored); and designate sworn county
 *49 “Garden variety” election irregularities, let alone the          personnel to remove ballots from drop boxes. And evidence
“risk” of such irregularities, are simply not a matter of             suggests that the Secretary's deputies have emphasized these
federal constitutional concern “even if they control the              best practices when queried by county officials. [ECF 549-32
outcome of the vote or election.” Bennett v. Yoshina, 140             (“Per our conversation, the list of items are things the county
F.3d 1218, 1226 (9th Cir. 1998). And as discussed above,              must keep in mind if you are going to provide a box for voters
most often, even “a deliberate violation of state election laws       to return their ballots in person.”) ].
by state election officials does not transgress against the
Constitution.” Shipley, 947 F.3d at 1062. see, e.g., Lecky v.         This guidance is lawful, reasonable, and non-discriminatory,
Virginia State Bd. of Elections, 285 F. Supp. 3d 908, 919 (E.D.       and so does not create any constitutional issue in its own
Va. 2018) (“[E]ven assuming the Fredericksburg officials’             right. With this guidance, the Secretary has diminished the
failure to provide provisional ballots amounted to a violation        risks tolerated by the legislature in adopting mail-in voting
of state law, it would not rise to the level of an equal protection   and authorizing drop-boxes, by encouraging the counties to
violation.”).                                                         adopt rather comprehensive security and chain-of-custody
                                                                      procedures if they do elect to use drop boxes. Conversely,
Compared, then, to Plaintiffs’ slight burden, the                     the legislature's decision to leave the counties with ultimate
Commonwealth has put forward reasonable, precise, and                 discretion when it comes to how, and to what extent,
sufficiently weighty interests that are undisputed and that can       to use drop boxes (as opposed to adopting a scheme in
be distilled into three general categories: (1) the benefits of       which the Secretary could enforce compliance with her
drop boxes, (2) the Commonwealth's interests in furthering its        guidance) is also reasonable, and justified by sufficiently
overall election-security plan concerning drop boxes, and (3)         weighty governmental interests, given the many variations
the interests inherent in the Commonwealth's general mail-in          in population, geography, local political culture, crime rates,
ballot scheme.                                                        and resources. [ECF 549-9 (“There is no logical reason why
                                                                      ballot receptacles such as drop boxes must be uniform across
The first category concerns the benefits of drop boxes                different counties; particularly because the verification of the
generally. Secretary Boockvar has pointed out the                     voter is determined by election officials upon receipt of the
Commonwealth's interests generally in using drop boxes—               ballot. Counties vary in size and need. Across the country,
including, (1) the increase of voter turnout, (2) the protection      best practices dictate that counties determine what type of
of voters’ health in the midst of the ongoing pandemic, (3) the       box and size works for them. The needs of a large county
increase of voter satisfaction, in light of ongoing U.S. Postal       are very different from the needs of a smaller county.”); ECF
Service issues, and (4) the reduction of costs for counties.          549-11, p. 9 (“Such variation between counties even within a
[ECF No. 547, at pp. 22-25; ECF No. 549-2, ¶¶ 36-39, 42-44].          state makes sense, since the needs of different counties vary
Plaintiffs do not dispute any of these interests.                     and their use of drop boxes reflects those considerations (e.g.,
                                                                      the geographic size of a county, the population of the county,
The second category of interests concerns the                         and the ease with which voters in the county can access other
Commonwealth's interests in implementing drop boxes with              locations to return mail-in ballots).”].
appropriate and effective safety measures and protocols in
place. That is, Secretary Boockvar has, in her capacity as             *50 The third category of interests is, more generally, the
the chief state official charged with overseeing elections,           interests of the Commonwealth in administering its overall
issued uniform guidance to all counties regarding the use of



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mail-in ballot regime, including the various security and          counterfeiting of ballots 25 P.S § 3516; and much more of the
accountability measures inherent in that legislative plan.         conduct Plaintiffs fear, see 25 P.S. § 3501, et seq.

Pennsylvania did not authorize drop boxes in a vacuum. Last        In this larger context, the Court cannot say that the
year, the Pennsylvania legislature “weigh[ed] the pros and         balance Pennsylvania struck across the Election Code was
cons,” Weber, 347 F.3d at 1107, and adopted a broader system       unreasonable, illegitimate, or otherwise not “sufficiently
of “no excuse” mail-in voting as part of the Commonwealth's        weighty to justify,” Crawford, 553 U.S. at 191, 128 S.Ct.
Election Code. As the Pennsylvania Supreme Court has now           1610, whatever ancillary risks may be associated with the
confirmed, that system left room for counties to authorize         use of drop boxes, or with allowing counties to exercise
drop boxes and other satellite locations for returning ballots     discretion in that regard. Pennsylvania may balance the many
to the county boards of elections. See Boockvar, ––– A.3d          important and often contradictory interests at play in the
at ––––, 2020 WL 5554644, at *9 (“[W]e need not belabor            democratic process however it wishes, and it must be free to
our ultimate conclusion that the Election Code should be           do so “without worrying that a rogue district judge might later
interpreted to allow county boards of election to accept hand-     accuse it of drawing lines unwisely.” Abbott, 961 F.3d at 407.
delivered mail-in ballots at locations other than their office
addresses including drop-boxes.”).                                  *51 Thus, balancing the slight burden of Plaintiffs’ claim of
                                                                   dilution against the categories of interests above, the Court
Inherent in any mail-in or absentee voting system is some          finds that the Commonwealth and Defendants’ interests in
degree of increased risk of votes being cast in violation of       administering a comprehensive county-based mail-in ballot
other provisions of the Election Code, regardless of whether       plan, while both promoting voting and minimizing fraud,
those ballots are returned to drop boxes, mailboxes, or some       are sufficiently “weighty,” reasonable, and justified. Notably,
other location. For example, there is simply no practical          in weighing the burdens and interests at issue, the Court is
way to police third party delivery of ballots to any mailbox       mindful of its limited role, and careful to not intrude on what is
anywhere in the Commonwealth, where Plaintiffs do not              “quintessentially a legislative judgment.” Griffin, 385 F.3d at
dispute that such ballots can be lawfully returned. It is also     1131. “[I]t is the job of democratically-elected representatives
likely that more (and perhaps many more) voters than usual         to weigh the pros and cons of various balloting systems.”
will be disenfranchised by technicalities this year, for failing   Weber, 347 F.3d at 1106. “So long as their choice is reasonable
to comply with the procedural requirements associated with         and neutral, it is free from judicial second-guessing.” Id.; see
mail-in ballots, such as the requirement that such ballots be      also Abbott, 961 at 407, (“That the line might have been
placed in “inner secrecy envelopes.”                               drawn differently ... is a matter for legislative, rather than
                                                                   judicial, consideration.”) (cleaned up); Trinsey v. Com. of Pa.,
But in enacting the “no excuse” mail-in voting system that         941 F.2d 224, 235 (3d Cir. 1991) (“We take no position on the
it did, the Pennsylvania legislature chose to tolerate the risks   balancing of the respective interests in this situation. That is
inherent in that approach. And the key point is that the           a function for which the legislature is uniquely fitted.”).
legislature made that judgment in the context of erecting a
broader election scheme that authorizes other forms of voting      Thus, even under the Anderson-Burdick framework, the Court
and has many other safeguards in place to catch or deter           finds that Plaintiffs’ constitutional challenge fails as a matter
fraud and other illegal voting practices. These safeguards         of law.
include voter registration; a mail-in ballot application and
identity verification process, 25 P.S. §§ 3146.2, 3150.12; a
system for tracking receipt of mail-in ballots, 25 P.S. §§           B. Pennsylvania's use of drop boxes does not violate
3146.3(a), 3150.13(a); and, perhaps most important of all, a         federal due process.
pre-canvassing and canvassing process during which mail-           In addition to their equal-protection challenge to the use
in ballots are validated before being counted. In addition,        of drop boxes, Plaintiffs also appear to argue that the use
Pennsylvania law also seeks to deter and punish fraud by           of unmanned drop boxes violates substantive due process
imposing criminal penalties for unlawful voting, 25 P.S §          protected by the 14th Amendment. This argument is just a
3533; voting twice in one election, 25 P.S § 3535; forging         variation on their equal-protection argument—i.e., the uneven
or destroying ballots, 25 P.S § 3517; unlawful possession or       use of drop boxes will work a “patent and fundamental
                                                                   unfairness” in violation of substantive due process principles.
                                                                   See Griffin v. Burns, 570 F.2d 1065, 1077 (1st Cir. 1978)


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(substantive due process rights are violated “[i]f the election
process itself reaches the point of patent and fundamental           Plaintiffs initially assert that the Election Code requires a
unfairness[.]”). The analysis for this claim is the same as that     signature comparison for mail-in and absentee applications
for equal protection, and thus it fails for the same reasons.        and ballots. Thus, according to Plaintiffs, Secretary
                                                                     Boockvar's guidance, which says the opposite, is creating
But beyond that, this claim demands even stricter proof. Such        unconstitutional vote dilution, in violation of due-process
a claim exists in only the most extraordinary circumstances.         principles—i.e., certain unlawful, unverified ballots will
See Nolles v. State Comm. for Reorganization of Sch.                 now be counted, thereby diluting the lawful ones cast by
Districts, 524 F.3d 892, 898 (8th Cir. 2008) (“A canvass             other voters (such as in-person voters, whose signatures are
of substantive due process cases related to voting rights            verified). Plaintiffs also appear to argue more generally that
reveals that voters can challenge a state election procedure         absent signature comparison, there is a heightened risk of
in federal court only in limited circumstances, such as              voter fraud, and therefore a heightened risk of vote dilution
when the complained of conduct discriminates against a               of lawful votes.
discrete group of voters, when election officials refuse to
hold an election though required by state law, resulting in a        In addition to due process, Plaintiffs argue that the
complete disenfranchisement, or when the willful and illegal         guidance violates equal-protection principles—first, by
conduct of election officials results in fraudulently obtained or    counties engaging in a patchwork of procedures (where some
fundamentally unfair voting results.”) (cleaned up); Yoshina,        counties intend to do a signature comparison for mail-in
140 F.3d at 1226 (“We have drawn a distinction between               ballots, while others do not); and second, by implementing
‘garden variety’ election irregularities and a pervasive error       different standards between mail-in ballots and in-person
that undermines the integrity of the vote. In general, garden        ones.
variety election irregularities do not violate the Due Process
Clause, even if they control the outcome of the vote or              In contrast, Defendants and Intervenors take the position
election.”) (citation omitted); Bennett v. Mollis, 590 F. Supp.      that state law does not require signature comparison, and for
2d 273, 278 (D.R.I. 2008) (“Before an election error becomes         good reason. According to them, requiring such comparisons
a key that unlocks the restraints on the federal court's authority   is fraught with trouble, as signatures change over time and
to act, the Plaintiffs must demonstrate either an intentional        elections officials are not signature-analysis experts. This
election fraud or an unintentional error resulting in broad-         leaves open the possibility for arbitrary and discriminatory
gauge unfairness.”).                                                 application that could result in the disenfranchisement of
                                                                     valid voters.
Indeed, “only the most egregious official conduct can be said
to be arbitrary in the constitutional sense”—the “executive          For the reasons that follow, the Court will dismiss the
action must be so ill-conceived or malicious that it ‘shocks         signature-comparison claims and enter judgment in favor
the conscience.’ ” Miller v. City of Phila., 174 F.3d 368, 375       of Defendants. A plain reading of the Election Code
(3d Cir. 1999) (cleaned up).                                         demonstrates that it does not impose a signature-comparison
                                                                     requirement for mail-in ballots and applications, and thus
Based on the slight burden imposed here, and the                     Plaintiffs’ vote-dilution claim sounding in due process fails
Commonwealth's interests in their overall county specific            at the outset. Further, the heightened risk of fraud resulting
voting regime, which includes a host of other fraud-                 from a lack of signature comparison, alone, does not rise
prevention measures, the Court finds that the drop-box claim         to the level of a federal constitutional violation. Finally, the
falls short of the standard of substantive due process.              equal-protection claims fail because there are sound reasons
                                                                     for the different treatment of in-person ballots versus mail-
                                                                     in ballots; and any potential burdens on the right to vote are
III. Defendants and Intervenors are entitled to summary              outweighed by the state's interests in their various election
judgment on Plaintiffs’ signature-comparison claims.                 security measures.
 *52 Plaintiffs’ next claim concerns whether the Secretary's
recent guidance on signature comparison violates the federal
Constitution. Plaintiffs frame their claims pertaining to              A. The Election Code does not require signature
signature comparison in two ways—one based on due process              comparison for mail-in and absentee ballots or ballot
and the other based on equal protection.                               applications.


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Plaintiffs’ federal-constitutional claims in Count I of their             disruptive of important state policies[.]” ” [ECF
Second Amended Complaint are partially based on the                       409, p. 3 (quoting Chez Sez, 945 F.2d at 631) ].
Secretary's guidance violating state law. That is, Plaintiffs’            But if, on the other hand, the answer to the state
first theory is that by the Secretary violating state law,                law dispute is “clear and unmistakable,” abstention
unlawful votes are counted and thus lawfully cast votes are               is not warranted. [Id. at p. 15 (citing Chez Sez,
diluted. According to Plaintiffs, this violates the 1st and 14th          945 F.2d at 632) ]. Here, the Court concludes
Amendments, as well as the Elections Clause (the latter of                (as discussed below) that the Election Code is
which requires the legislature, not an executive, to issue                clear that signature comparison is not required and
election laws). 12                                                        further, that Plaintiffs’ competing interpretation is
                                                                          not plausible. As such, the Court cannot abstain
12                                                                        under Pullman.
       The parties do not specifically brief the elements of
                                                                          The Pullman analysis does not change simply
       an Elections-Clause claim. This is typically a claim
                                                                          because Secretary Boockvar has filed a “King's
       brought by a state legislature, and the Court has
                                                                          Bench” petition with the Pennsylvania Supreme
       doubts that this is a viable theory for Plaintiffs to
                                                                          Court, requesting that court to clarify whether the
       assert. See Lance v. Coffman, 549 U.S. 437, 442,
                                                                          Election Code mandates signature comparison of
       127 S.Ct. 1194, 167 L.Ed.2d 29 (2007). Regardless,
                                                                          mail-in and absentee ballots and applications. [ECF
       if state law does not require signature comparison,
                                                                          556, p. 11; ECF 557]. The fact that such a petition
       then there is no difference between the Secretary's
                                                                          was filed does not change this Court's conclusion
       guidance and the Election Code, and the Elections-
                                                                          that the Election Code is clear. The Pullman factors
       Clause claim necessarily fails.
                                                                          remain the same. And they are not met here.
 *53 Thus, a necessary predicate for these constitutional
                                                                   14
claims is whether the Election Code mandates signature                    The Secretary's September 11, 2020, guidance,
comparison for mail-in and absentee ballots. If it doesn't,               stated that the “Pennsylvania Election Code does
as the Secretary's guidance advises, then there can be no                 not authorize the county board of elections to set
vote dilution as between lawful and unlawful votes, nor a                 aside returned absentee or mail-in ballots based
usurpation of the legislature's authority in violation of the             solely on signature analysis by the county board of
Elections Clause.                                                         elections.” [ECF 504-24, p. 3, § 3]. Similarly, the
                                                                          Secretary's September 28, 2020, guidance stated
After carefully considering the parties’ arguments and                    that “Election Code does not permit county election
the relevant law, the Court finds that the plain language                 officials to reject applications or voted ballots
of the Election Code imposes no requirement for                           based solely on signature analysis. ... No challenges
signature comparison for mail-in and absentee ballots and                 may be made to mail-in and absentee ballots at any
                                                                          time based on signature analysis.” [ECF 504-25, p.
applications. 13 In other words, the Secretary's guidance is
                                                                          9, § 5.2].
consistent with the Election Code, and creates no vote-
dilution problems. 14                                              Plaintiffs, in advancing their claim, rely on section 3146.8(g)
                                                                   (3)-(7) of the Election Code to assert that the Code requires
13                                                                 counties to “verify” the signatures on mail-in and absentee
       Several Defendants and Intervenors have asked               ballots (i.e., examine the signatures to determine whether
       this Court to abstain from deciding this issue on           they are authentic). Plaintiffs specifically point to section
       the basis of Pullman. As this Court previously              3146.8(g)(3) as requiring this signature verification. [ECF
       discussed, a court can abstain under Pullman if             509, pp. 17-18].
       three factors are met: “(1) [the dispute] requires
       interpretation of “unsettled questions of state law,”;      Section 3146.8(g)(3) states:
       (2) permitting resolution of the unsettled state-
       law questions by state courts would “obviate the              When the county board meets to pre-canvass or canvass
       need for, or substantially narrow the scope of                absentee ballots and mail-in ballots ... the board shall
       adjudication of the constitutional claims”; and (3)           examine the declaration on the envelope of each ballot ...
       an “erroneous construction of state law would be              and shall compare the information thereon with that



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  contained in the “Registered Absentee and Mail-in Voters             Under the express terms of the statute, then, the information
  File,” the absentee voters’ list and/or the “Military Veterans       to be “verified” is the “proof of identification.” Id. The
  and Emergency Civilians Absentee Voters File,” whichever             Election Code defines “proof of identification” as the mail-
  is applicable. If the county board has verified the proof of         in/absentee voter's driver's license number, last four digits of
  identification as required under this act and is satisfied that      their Social Security number, or a specifically approved form
  the declaration is sufficient and the information contained          of identification. 25 P.S. § 2602(z.5)(3)(i)-(iv). 15 The only
  in the “Registered Absentee and Mail-in Voters File,” the            other “verification” the election official must conduct is to
  absentee voters’ list and/or the “Military Veterans and              determine whether “the information contained in the [Voter's
  Emergency Civilians Absentee Voters File” verifies his               file] ... verifies his right to vote.”
  right to vote, the county board shall provide a list of the
  names of electors whose absentee ballots or mail-in ballots          15     The Election Code's definition of “proof of
  are to be pre-canvassed or canvassed.
                                                                              identification” in full provides:
*54 25 P.S. § 3146.8(g)(3).                                                      The words “proof of identification” shall mean ...
                                                                                 For a qualified absentee elector ... or a qualified
According to Plaintiffs, Section 3146.8(g)(3)’s requirement                      mail-in elector ...:
to verify the proof of identification, and compare the                           i. in the case of an elector who has been issued
information on the declaration, is tantamount to signature                       a current and valid driver's license, the elector's
comparison. The Court disagrees, for at least three reasons.                     driver's license number;
                                                                                 ii. in the case of an elector who has not been
First, nowhere does the plain language of the statute require                    issued a current and valid driver's license, the
signature comparison as part of the verification analysis of the                 last four digits of the elector's Social Security
ballots.                                                                         number;
                                                                                 iii. in the case of an elector who has a religious
When interpreting a statute enacted by the Pennsylvania                          objection to being photographed, a copy of a
General Assembly, courts apply Pennsylvania's Statutory                          document that satisfies paragraph (1) [i.e., “a
Construction Act, 1 Pa. C.S. §§ 1501-1991. And as the Act                        valid-without-photo driver's license or a valid-
instructs, the “object of all interpretation and construction                    without-photo identification card issued by the
of statutes is to ascertain and effectuate the intention of the                  Department of Transportation”]; or
General Assembly.” 1 Pa C.S. § 1921(a). If the words of                          iv. in the case of an elector who has not
the statute are clear and unambiguous, the letter of the law                     been issued a current and valid driver's
applies. Id. at § 1921(b). Otherwise, courts may consider                        license or Social Security number, a copy
a variety of factors to determine the legislature's intent,                      of a document that satisfies paragraph (2)
including “other statutes upon the same or similar subjects”                     [i.e., “a document that shows the name of
and “[t]he consequences of a particular interpretation.” Id. at                  the individual to whom the document was
§ 1921(c)(5)-(6).                                                                issued and the name substantially conforms
                                                                                 to the name of the individual as it appears
Section 3146.8(g)(3) does not expressly require any signature                    in the district register; shows a photograph
verification or signature comparison. 25 P.S. § 3146.8(g)                        of the individual to whom the document was
(3). It instead requires election officials to (1) “examine the                  issued; includes an expiration date and is not
declaration on the envelope of each ballot,” (2) “compare                        expired, except (A) ... or (B) ...; and was
the information thereon with that contained in the ... ‘Voters                   issued by” the federal, state, or municipal
file’ [or] the absentee voters’ list,” and (3) if “the county board              government, or an “accredited Pennsylvania
has [a] verified the proof of identification as required under                   public or private institution of higher learning
this act and [b] is satisfied that the declaration is sufficient and             [or] “a Pennsylvania are facility.”].
the information contained in the [Voter's file] ... verifies his              25 P.S. § 2602(z.5)(3).
right to vote,” the election official shall include the ballot to       *55 Nowhere does this provision require the election
be counted. Id.                                                        official to compare and verify the authenticity of the elector's
                                                                       signature. In fact, the word “signature” is absent from the



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provision. It is true that the elector must fill out and sign           to be genuine, the elector who has signed the certificate shall,
the declaration included on the ballot. 25 P.S. §§ 3146.6(a),           if otherwise qualified, be permitted to vote: Provided, That
3150.16(a). However, while section 3146.8(g)(3) instructs the           if the signature on the voter's certificate, as compared with
election official to “examine the declaration ... and compare           the signature as recorded in the district register, shall not be
the information thereon with that contained in the [Voter's             deemed authentic by any of the election officers, such elector
file],” the provision clarifies that this is so the election official   shall not be denied the right to vote for that reason, but shall
can be “satisfied that the declaration is sufficient.” 25 P.S.          be considered challenged as to identity and required to [cure
§ 3146.8(g)(3). In other words, the election official must be           the deficiency].” 25 P.S. § 3050(a.3)(2) (emphasis added).
“satisfied” that the declaration is “fill[ed] out, date[d] and
sign[ed],” as required by sections 3150.16(a) and 3146.6(a)             Elsewhere, the General Assembly also explicitly accounts
of the Election Code. Notably absent is any instruction to              for signature comparison of in-person voters: “[I]f it is
verify the signature and set aside the ballot if the election           determined that the individual was registered and entitled
official believes the signature to be non-genuine. There is an          to vote at the election district where the ballot was cast,
obvious difference between checking to see if a signature was           the county board of elections shall compare the signature
provided at all, and checking to see if the provided signature is       on the provisional ballot envelope with the signature on
sufficiently authentic. Only the former is referred to in section       the elector's registration form and, if the signatures are
3146.8(g)(3).                                                           determined to be genuine, shall count the ballot if the
                                                                        county board of elections confirms that the individual did
Second, beyond the plain language of the statute, other                 not cast any other ballot, including an absentee ballot, in the
canons of construction compel the Court's interpretation.               election. ... [But a] provisional ballot shall not be counted
When interpreting statutes passed by the General Assembly,              if ... the signature[s] required ... are either not genuine
Pennsylvania law instructs courts to look at other aspects of           or are not executed by the same individual ...” 25 P.S. §
the statute for context. See 1 Pa. C.S. § 1921(c)(5) (“When             3050(a.4)(5)(i)-(ii) (emphasis added); see also 25 P.S. § 2936
the words of the statute are not explicit, the intention of the         (“[When reviewing nomination papers], the Secretary of the
General Assembly may be ascertained by considering ... other            Commonwealth or the county board of elections, although
statutes upon the same or similar subjects.”); O'Rourke v.              not hereby required so to do, may question the genuineness
Commonwealth, 566 Pa. 161, 778 A.2d 1194, 1201 (2001)                   of any signature or signatures appearing thereon, and if
(“The cardinal rule of all statutory construction is to ascertain       he or it shall thereupon find that any such signature or
and effectuate the intent of the Legislature. To accomplish that        signatures are not genuine, such signature or signatures shall
goal, we should not interpret statutory words in isolation, but         be disregarded[.]” (emphasis added)).
must read them with reference to the context in which they
appear.” (citation omitted)).                                            *56 Clearly then, the General Assembly, in enacting the
                                                                        Election Code, knew that it could impose a signature-
Context here is important because the General Assembly                  comparison requirement that requires an analysis to
mandated signature comparison for in-person voting                      determine whether a signature is “genuine.” And when
elsewhere in the Election Code—thus evidencing its intention            that was its intent, the General Assembly explicitly and
not to require such comparison for mail-in ballots. See Fonner          unequivocally imposed that requirement. It is thus telling,
v. Shandon, Inc., 555 Pa. 370, 724 A.2d 903, 907 (1999)                 from a statutory construction standpoint, that no such explicit
(“[W]here a section of a statute contains a given provision,            requirement is imposed for returned mail-in or absentee
the omission of such a provision from a similar section is              ballots. Indeed, the General Assembly is aware—and in fact,
significant to show a different legislative intent.”) (citation         requires—that a voter must sign their application for an
omitted).                                                               absentee or mail-in ballot, and must sign the declaration
                                                                        on their returned ballot. 25 P.S. §§ 3146.2(d) (absentee-
In addressing in-person voting, the General Assembly                    ballot application), 3150.12(c) (mail-in-ballot application),
explicitly instructs that the election official shall, after            3146.6(a) (absentee-voter declaration), 3150.16(a) (mail-in
receiving the in-person elector's voter certificate, immediately        voter declaration). Despite this, the General Assembly did
“compare the elector's signature on his voter's certificate             not mention a signature-comparison requirement for returned
with his signature in the district register. If, upon such              absentee and mail-in ballots.
comparison, the signature upon the voter's certificate appears



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The Court concludes from this context that this is because the       the reasonable interpretation tendered by Petitioner and the
General Assembly did not intend for such a requirement. See,         Secretary. The law, therefore, militates in favor of this Court
e.g., Mishoe v. Erie Ins. Co., 573 Pa. 267, 824 A.2d 1153,           construing the Election Code in a manner consistent with the
1155 (2003) (“In arriving at our conclusion that the foregoing       view of Petitioner and the Secretary, as this construction of the
language does not provide for the right to a jury trial, we relied   Code favors the fundamental right to vote and enfranchises,
on three criteria. First, we put substantial emphasis on the         rather than disenfranchises, the electorate.”).
fact that the PHRA was silent regarding the right to a jury trial.
As we explained, ‘the General Assembly is well aware of its           *57 Here, imposing a signature-comparison requirement
ability to grant a jury trial in its legislative pronouncements,’    as to mail-in and absentee ballots runs the risk of
and therefore, ‘we can presume that the General Assembly's           restricting voters’ rights. This is so because election
express granting of trial by jury in some enactments means           officials, unstudied and untested in signature verification,
that it did not intend to permit for a jury trial under the PHRA.’   would have to subjectively analyze and compare signatures,
” (cleaned up) (emphasis added)); Holland v. Marcy, 584              which as discussed in greater detail below, is potentially
Pa. 195, 883 A.2d 449, 456, n.15 (2005) (“We additionally            problematic. 16 [ECF 549-2, p. 19, ¶ 68]; [ECF 549-9, p.
note that the legislature, in fact, did specify clearly when         20, ¶ 64]. And perhaps more importantly, even assuming
it intended the choice of one individual to bind others. In          an adequate, universal standard is implemented, mail-in and
every other category addressed by Section 1705(a) other              absentee voters whose signatures were “rejected” would,
than (a)(5) which addressed uninsured owners, the General            unlike in-person voters, be unable to cure the purported
Assembly specifically referenced the fact that the decision          error. See 25 P.S. § 3146.8(a) (stating that in-person and
of the named insured ... binds other household members....           absentee ballots “shall [be safely kept] in sealed or locked
Similar reference to the ability of the uninsured owner's            containers until they are to be canvassed by the county board
deemed choice to affect the rights of household members is           of elections,” which § 3146.8(g)(1.1)-(2) states is no earlier
conspicuously missing from Section 1705(a)(5).”).                    than election day); Boockvar, ––– A.3d at ––––, 2020 WL
                                                                     5554644, at *20 (“[A]lthough the Election Code provides
Accordingly, the Court finds that the General Assembly's             the procedures for casting and counting a vote by mail, it
decision not to expressly refer to signature comparisons for         does not provide for the ‘notice and opportunity to cure’
mail-in ballots, when it did so elsewhere, is significant.           procedure sought by Petitioner. To the extent that a voter is at
                                                                     risk for having his or her ballot rejected due to minor errors
Third, this Court is mindful that Pennsylvania's election            made in contravention of those requirements, we agree that
statutes are to be construed in a manner that does not risk          the decision to provide a ‘notice and opportunity to cure’
disenfranchising voters. See, e.g., 1 Pa. C.S. § 1922(3) (“In        procedure to alleviate that risk is one best suited for the
ascertaining the intention of the General Assembly in the            Legislature.”). As discussed in more detail below, unlike in-
enactment of a statute the following presumptions, among             person voters, whose signatures are verified in their presence,
others, may be used: ... That the General Assembly does not          mail-in and absentee voters’ signatures would be verified at a
intend to violate the Constitution of the United States or of        later date outside the presence of the voter. See generally 25
this Commonwealth.”); id. at § 1921(c)(6) (in interpreting           P.S. § 3146.8(a), (g) (requiring mail-in and absentee ballots
a statute, the court may consider “[t]he consequences of a           to be kept secured in a sealed container until Election Day).
particular interpretation”).                                         Unbeknownst to the voter, then, and without an opportunity
                                                                     to remedy the purported error, these mail-in and absentee
As the Pennsylvania Supreme Court emphasized last month,             voters may not have their votes counted. Based on this risk
“[I]t is well-settled that, although election laws must be           of disenfranchisement, which the Court must consider in
strictly construed to prevent fraud, they ordinarily will be         interpreting the statute, the Court cannot conclude that this
construed liberally in favor of the right to vote. Indeed,           was the General Assembly's intention.
our goal must be to enfranchise and not to disenfranchise
the electorate.” Boockvar, ––– A.3d at ––––, 2020 WL                 16      While election officials must engage in signature
5554644, at *9 (cleaned up); see also id. (“[A]lthough both
                                                                             comparison for in-person voters, that requirement
Respondent and the Caucus offer a reasonable interpretation
                                                                             is explicitly required by the Election Code, unlike
of Section 3150.16(a) as it operates within the Election Code,
                                                                             for mail-in ballots. 25 P.S. § 3050(a.3)(2). And as
their interpretation restricts voters’ rights, as opposed to
                                                                             discussed below, in-person voters, unlike mail-in


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        voters, are immediately notified if their signatures                (i.e., completed). The second case Plaintiffs cite,
        are deficient.                                                      In re Canvass of Absentee Ballots of Gen. Election
The Court is not persuaded by Plaintiffs’ arguments to the                  [ECF 552, pp. 58-59], arose from individual,
contrary.                                                                   post-election challenges to 46 individual absentee
                                                                            ballots. 39 Pa. D. & C.2d 429, 430 (Pa. Ct.
Plaintiffs argue that section 3146.8(g)(5)-(7) provides a                   Comm. Pl. 1965). Thus, a universal and mandatory
voter, whose ballot-signature was rejected, notice and an                   signature-comparison requirement was not at issue
opportunity to cure the signature deficiency. [ECF 509, pp.                 there, unlike what Plaintiffs contest here. This
13, 18, 50]. That section, however, refers to when a person                 Court finds neither case persuasive.
raises a specific challenge to a specific ballot or application on    *58 At bottom, Plaintiffs request this Court to impose
the grounds that the elector is not a “qualified elector.” 25 P.S.   a requirement—signature comparison—that the General
§ 3146.8(g)(4) (stating that mail-in and absentee ballots shall      Assembly chose not to impose. Section 3146.8(g)(3) does not
be counted unless they were challenged under §§ 3146.2b              mention or require signature comparison. The Court will not
or 3150.12b, which allow challenges on the grounds that              write it into the statute.
the elector applying for a mail-in or absentee ballot wasn't
qualified). Thus, the “challenges” referenced in § 3146.8(g)         For the same reasons that the Election Code does not
(5)-(7) refer to a voter's qualifications to vote, not a signature   impose a signature-comparison requirement for mail-in and
verification.                                                        absentee ballots, the Election Code does not impose a
                                                                     signature-comparison requirement for mail-in and absentee
Plaintiffs similarly argue that section 3146.8(h) provides           ballot applications. While the General Assembly imposed
mail-in voters notice and opportunity to cure signature              a requirement that the application be signed, there is no
deficiencies. [ECF 552, p. 60]. But that section relates to          mention of a requirement that the signature be verified,
“those absentee ballots or mail-in ballots for which proof           much less that the application be rejected based solely
of identification has not been received or could not be              on such verification. 25 P.S. §§ 3146.2(d) (absentee-ballot
verified.” 25 P.S. § 3146.8(h). As discussed above, “proof           application), 3150.12(c) (mail-in-ballot application). Again,
of identification” is a defined term, and includes the voter's       finding no explicit instructions for signature comparison here
driver's license number, last four digits of their Social Security   (unlike elsewhere in the Code), the Court concludes that
number, or a specifically approved form of identification.           the General Assembly chose not to include a signature-
25 P.S. § 2602(z.5)(3)(i)-(iv). Not included is the voter's          comparison requirement for ballot applications.
signature. 17
                                                                     The Court again finds Plaintiffs’ arguments to the contrary
17                                                                   unavailing. Plaintiffs argue that “there is no other proof
        Plaintiffs also argue that signature comparison
                                                                     of identification required to be submitted with the ballot
        for mail-in and absentee ballots is supported by
                                                                     applications,” and thus, a signature comparison must be
        historical case law. [ECF 552, pp. 58-59]. Plaintiffs
                                                                     required. [ECF 509, p. 16].
        cite to two cases from the 1960s that the Court
        of Common Pleas decided. [Id.]. The first, Appeal
                                                                     But the Election Code expressly requires the applicant to
        of Fogleman, concluded that under the then-
                                                                     include several pieces of identifying information, including
        applicable election law, an absentee voter had to
                                                                     their name, mailing address, and date of birth. 25 P.S. §§
        sign a declaration to show that he was a proper
                                                                     3146.2(b), 3150.12(b). And after receiving the applicant's
        resident who had not already voted in that election.
                                                                     application, the election official must “verify[ ] the proof
        36 Pa. D. & C.2d 426, 427 (Pa. Ct. Comm. Pl.
                                                                     of identification [a defined term as discussed above] and
        1964). Regarding the voter's signature, the court
                                                                     compar[e] the information provided on the application with
        simply stated, “[i]f the elector fails or refuses to
                                                                     the information contained on the applicant's permanent
        attach his or her signature, then such elector has
                                                                     registration card.” 18 Id. at §§ 3146.2b(c), 3150.12b(a).
        not completed the declaration as required by law
                                                                     Thus, contrary to Plaintiffs’ argument, the General Assembly
        of all voters.” Id. Thus, no signature comparison or
                                                                     provided for certain methods of identification as to ballot
        verification was implicated there; rather, the court
                                                                     applications. Signature verification isn't one of them.
        simply stated that the declaration must be signed



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18                                                                   Indeed, as discussed above, Plaintiffs’ evidence of potential
        This identifying information on a ballot application
                                                                     voter fraud here is insufficient to establish “patent and
        includes much of the same information expressly
                                                                     fundamental unfairness.” In their summary-judgment brief,
        listed for what a voter must provide in initially
                                                                     Plaintiffs argue that “the Secretary's September 2020
        registering to vote. 25 Pa. C.S.A. § 1327(a) (stating
                                                                     guidance memos promote voter fraud.” [ECF 509, p.
        that the “official voter registration application”
                                                                     48]. Plaintiffs then offer a hypothetical where a parent
        shall request the applicant's: full name, address of
                                                                     signs a ballot application on their child's behalf because
        residence (and mailing address if different), and
                                                                     the child is out-of-state. [ECF 509, p. 48]. Plaintiffs
        date of birth).
                                                                     assert that without signature comparisons, such “fraud”
For these reasons, the Court concludes that the Election             could proceed unchecked. [Id.]. Plaintiffs continue, arguing
Code does not impose a signature-comparison requirement              that the “fraud” would “snowball,” so that “spouses,
for absentee and mail-in ballots and applications. As such,          neighbors, acquaintances, strangers, and others” were signing
the Secretary's September 11, 2020, and September 28, 2020,          applications and ballots on others’ behalf. [Id. at pp. 48-49].
guidance is consistent with the Election Code. Plaintiffs’           To prevent such fraud, Plaintiffs’ expert, Mr. Riddlemoser,
claims of vote dilution based on this guidance will therefore        asserts that signature comparison is needed. [ECF 504-19, p.
be dismissed.                                                        10 (“Not only does enforcing the Election Code's requirement
                                                                     of a completed and signed declaration ensure uniformity,
                                                                     which increases voter confidence, it also functions to reduce
   B. The lack of a signature comparison does not violate
                                                                     fraud possibilities by allowing signature verification.”) ].
   substantive due process.
In addition to alleging that the Secretary's guidance violates
                                                                     Mr. Riddlemoser first highlights that in Philadelphia in the
the Election Code, Plaintiffs appear to also argue that their
                                                                     primary, ballots were counted “that lacked a completed
right to vote is unconstitutionally burdened and diluted due to
                                                                     declaration.” [Id. at p. 11]. Mr. Riddlemoser further opines
a risk of fraud. That is, regardless of what the Election Code
                                                                     that the September 11, 2020, guidance and September 28,
requires, Plaintiffs assert that absent signature comparison,
                                                                     2020, guidance, in instructing that signature comparison is
mail-in and absentee ballots will be prone to fraud, thereby
                                                                     not required for mail-in and absentee ballots and applications,
diluting other lawful ballots. [ECF 509, pp. 45-50; 504-19,
                                                                     “encourage[s], rather than prevent[s], voter fraud.” [Id. at pp.
pp. 10-15]. Plaintiffs argue that this significantly burdens their
                                                                     12-13]. Mr. Riddlemoser also notes that signature comparison
fundamental right to vote, resulting in a due-process violation,
                                                                     is “the most common method” to verify ballots and that
and thus strict scrutiny applies. The Court disagrees.
                                                                     the Secretary's guidance “leave the absentee/mail-in ballots
                                                                     subject to the potential for unfettered fraud.” [Id. at p.
 *59 As discussed above in the context of Plaintiffs’
                                                                     14]. He concludes that the guidance “invites the dilution of
drop-box claim, Plaintiffs’ claim here simply does not rise
                                                                     legitimately cast votes.” [Id.].
to the high level for a substantive due process claim.
To violate substantive due process in the voting-rights
                                                                     Based on this evidentiary record, construed in Plaintiffs’
context, the infringements are much more severe. Only
                                                                     favor, the Court cannot conclude that there exists “patent and
in extraordinary circumstances will there be “patent and
                                                                     fundamental unfairness.” Rather, Plaintiffs present only the
fundamental unfairness” that causes a constitutional harm.
                                                                     possibility and potential for voter fraud. In their briefing,
See Bonas v. Town of North Smithfield, 265 F.3d 69, 74 (1st
                                                                     Plaintiffs relied on hypotheticals, rather than actual events.
Cir. 2001); Shannon v. Jacobowitz, 394 F.3d 90, 94 (2d Cir.
                                                                     [ECF 509, p. 48]. Mr. Riddlemoser admits that failing to
2005).
                                                                     verify signatures only creates “the potential” for fraud and
                                                                     “invites” vote dilution. [ECF 504-19, pp. 14, 15]. Even
Here, Plaintiffs’ signature-comparison claim does not meet
                                                                     assuming an absence of signature comparison does indeed
this high standard. This isn't a situation of malapportionment,
                                                                     invite the potential for fraud, the nondiscriminatory, uniform
disenfranchisement, or intentional discrimination. And the
                                                                     practice and guidance does not give rise to “patent and
risk of voter fraud generally without signature comparison
                                                                     fundamental unfairness” simply because of a “potential” for
—as a matter of fact and law—does not rise to “patent and
                                                                     fraud. Plaintiffs have not presented evidence to establish a
fundamental unfairness.”
                                                                     sufficient burden on their constitutional right to vote.




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 *60 Indeed, even if the Court assumed some “forged”
applications or ballots were approved or counted, this is
                                                                         1. County differences over signature comparison
insufficient to establish substantial, widespread fraud that
                                                                           do not violate federal equal-protection rights.
undermines the electoral process. Rather, limited instances of
“forged” ballots—which according to Plaintiffs’ definition,         Plaintiffs’ first federal equal-protection claim is based on
includes an individual signing for their spouse or child—           some county boards of elections intending to verify the
amount to what the law refers to as “garden variety” disputes       signatures on mail-in and absentee ballots and applications,
of limited harm. As has long been understood, federal courts        while others do not intend to do so. To that end, Plaintiffs
should not intervene in such “garden variety” disputes.             have presented evidence that some, but not all, counties do
Hutchinson, 797 F.2d at 1283 (“[C]ourts have uniformly
                                                                    intend to verify signatures. E.g., [ECF 504-1]. 19 According
declined to endorse action under § 1983 with respect to
                                                                    to Plaintiffs, this arbitrary and differential treatment of
garden variety election irregularities.”) (cleaned up); Yoshina,
                                                                    mail-in and absentee ballots among counties—purportedly
140 F.3d at 1226 (“In general, garden variety election
                                                                    caused by the Secretary's September 11, 2020, and September
irregularities do not violate the Due Process Clause, even if
                                                                    28, 2020, guidance—violates the Equal-Protection Clause
they control the outcome of the vote or election.” (collecting
                                                                    because voters will be treated differently simply because of
cases)); Curry v. Baker, 802 F.2d 1302, 1314-15 (11th Cir.
                                                                    the county in which they reside. The Court, however, finds no
1986) (“[I]f the election process itself reaches the point of
                                                                    equal-protection violation in this context.
patent and fundamental unfairness, a violation of the due
process clause may be indicated and relief under § 1983
                                                                    19
therefore in order. Such a situation must go well beyond                   The counties that intend to compare and verify
the ordinary dispute over the counting and marking of                      signatures in the upcoming election include
ballots.” (cleaned up)).                                                   at least the following counties: Cambria, Elk,
                                                                           Franklin, Juniata, Mifflin, Sullivan, Susquehanna,
To be clear, the Court does not take Plaintiffs’ allegations               and Wyoming. [ECF 504-1].
and evidence lightly. Election fraud is serious and disruptive.     The Secretary's guidance about which Plaintiffs complain
And Plaintiffs could be right that the safer course would           is uniform and nondiscriminatory. It was issued to all
be to mandate signature comparison for all ballots. But             counties and applies equally to all counties, and by extension,
what Plaintiffs essentially complain of here is whether the         voters. Because the uniform, nondiscriminatory guidance
procedures employed by the Commonwealth are sufficient              is rational, it is sound under the Equal-Protection Clause.
to prevent that fraud. That is a decision left to the General       See Gamza, 619 F.2d at 453 (5th Cir. 1980) (“We must,
Assembly, not to the meddling of a federal judge. Crawford,         therefore, recognize a distinction between state laws and
553 U.S. at 208, 128 S.Ct. 1610 (Scalia, J. concurring) (“It        patterns of state action that systematically deny equality in
is for state legislatures to weigh the costs and benefits of        voting, and episodic events that, despite non-discriminatory
possible changes to their election codes, and their judgment        laws, may result in the dilution of an individual's vote.
must prevail unless it imposes a severe and unjustified overall     Unlike systematically discriminatory laws, isolated events
burden upon the right to vote, or is intended to disadvantage a     that adversely affect individuals are not presumed to be a
particular class.”). Griffin, 385 F.3d at 1131-32 (“[S]triking of   violation of the equal protection clause.”) (citation omitted).
the balance between discouraging fraud and other abuses and         Indeed, the guidance merely instructs counties to abide by the
encouraging turnout is quintessentially a legislative judgment      Election Code—an instruction to follow the law is certainly
with which we judges should not interfere unless strongly           rational and related to an obviously rational government
convinced that the legislative judgment is grossly awry.”).         interest.

                                                                     *61 In fact, if there is any unequal application now, it is
  C. Plaintiffs’ federal equal-protection claims based on
                                                                    caused by those counties that are not following the guidance
  signature comparison fail.
                                                                    and are going above and beyond the Election Code to impose
Plaintiffs present two federal equal-protection claims. The
                                                                    a signature-comparison requirement. That claim, though, is
Court will address each in turn.
                                                                    not before the Court, as Plaintiffs here do not assert that
                                                                    imposing a signature-comparison requirement violates the
                                                                    Constitution (they allege the opposite).



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                                                                 differences between the two types of voting procedures, the
In any event, to the extent there was uncertainty before,        law's distinction is proper.”); Rokita, 458 F. Supp. 2d at 831
this decision informs the counties of the current state of       (“[I]t is axiomatic that a state which allows for both in-
the law as it relates to signature comparison. If any county     person and absentee voting must therefore apply different
still imposes a signature-comparison requirement in order        requirements to these two groups of voters.”); Billups, 439
to disallow ballots, it does so without support from the         F. Supp. 2d at 1356-57 (“[A]bsentee voting and in-person
Secretary's guidance or the Election Code. Further, counties     voting are inherently different processes, and both processes
that impose this signature-comparison requirement to reject      use different standards, practices, and procedures.”).
ballots may be creating a different potential constitutional
claim for voters whose ballots are rejected. Boockvar, –––       Plaintiffs argue that while absentee and mail-in voting “is
A.3d at ––––, 2020 WL 5554644, at *34, n.16 (Wecht, J.           a fundamentally different process from in-person voting,”
concurring) (noting that courts around the country have found    Defendants have “no justification in this instance to create
due process issues with signature-comparison requirements;       such an arbitrary and disparate rule between absentee/mail-in
and collecting cases).                                           voters and in-person voters.” [ECF 509, p. 51]. Not so.

For these reasons, Plaintiffs’ equal-protection claim falls       *62 Because of the “inherent” differences between in-
short.                                                           person voting and mail-in and absentee voting, Pennsylvania's
                                                                 requirement for signature comparison for in-person ballots,
                                                                 but not mail-in and absentee ballots, is not arbitrary. By
                                                                 way of example, Secretary Boockvar articulated several valid
        2. Different treatment between in-person
                                                                 reasons why Pennsylvania implements different verification
         ballots and mail-in ballots also does not
                                                                 procedures for mail-in and absentee voters versus in-person
         violate federal equal-protection rights.
                                                                 voters. [ECF 504-12; ECF 549-2].
Plaintiffs also assert a second federal equal-protection claim
on the grounds that the Election Code, by not requiring          In her deposition, Secretary Boockvar explained that for
signature comparison for mail-in and absentee ballots, treats    in-person voters, the only possible verification is signature
such ballots differently than in-person ballots (which require   comparison and verification. [ECF 504-12, 55:19-56:19].
signature comparisons). Plaintiffs argue that this is an         This is because, unlike mail-in and absentee voters who must
unconstitutionally arbitrary and unequal treatment. The Court    apply for a ballot, in-person voters may simply show up at
disagrees.                                                       the polls on Election Day and vote. In contrast, for mail-
                                                                 in and absentee voters, there are several verification steps
It is well-settled that states may employ in-person voting,      implemented before the voter's mail-in/absentee ballot is
absentee voting, and mail-in voting and each method need not     counted, such as checking their application and their drivers’
be implemented in exactly the same way. See Hendon, 710          license number or social security number. [Id. at 56:8-19].
F.2d at 181 (“A state may employ diverse methods of voting,      Thus, counties don't need to resort to a signature comparison
and the methods by which a voter casts his vote may vary         to identify and verify the mail-in or absentee voter.
throughout the state.”)
                                                                 This is important, as Defendants and Intervenors present
“Absentee voting is a fundamentally different process from       valid concerns about the uniformity and equality of signature
in-person voting, and is governed by procedures entirely         comparisons, in part, due to the technical nature of signature
distinct from in-person voting procedures.” ACLU of New          analysis, the subjective underpinnings of signature analysis,
Mexico v. Santillanes, 546 F.3d 1313, 1320 (10th Cir. 2008)      and the variety of reasons that signatures can naturally change
(citations omitted). It is an “obvious fact that absentee        over time. [ECF 549-2, pp. 19-20, ¶ 68; ECF 549-9, p. 20,
voting is an inherently different procedure from in-person       ¶¶ 63-64]. Such factors can reasonably justify not requiring
voting.” Indiana Democratic Party v. Rokita, 458 F. Supp.        a signature comparison when the elector is not physically
2d 775, 830-31 (S.D. Ind. 2006). Because in-person voting        present.
is “inherently different” from mail-in and absentee voting,
the procedures for each need not be the same. See, e.g.,         For example, Secretary Boockvar notes the concern with non-
Santillanes, 546 F.3d at 1320-21 (“[B]ecause there are clear     handwriting-expert election officials comparing signatures,



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without uniform standards. [ECF 549-2, pp. 19-20, ¶ 68].             casting and counting a vote by mail, it does not provide for
She also notes that people's signatures can change over time,        the “notice and opportunity to cure” procedure sought by
due to natural and unavoidable occurrences, like injuries,           Petitioner.”).
arthritis, or the simple passage of time. [Id.]. Such reasons
are valid and reasonable. See Boockvar, ––– A.3d at ––––,            Therefore, if mail-in and absentee ballots were subject to
2020 WL 5554644, at *34 (Wecht, J. concurring) (“Signature           signature comparison, an election official—who is unstudied
comparison is a process fraught with the risk of error and           in the technical aspects of signature comparison—could deem
inconsistent application, especially when conducted by lay           a voter's signature problematic and not count the ballot, which
people.”).                                                           would effectively disenfranchise that voter. Unlike the in-
                                                                     person voter, the mail-in or absentee voter may not know that
Secretary Boockvar further asserts that signature comparison         his or her signature was deemed inauthentic, and thus may be
is justified for in-person voting, but not mail-in or absentee       unable to promptly cure the deficiency even if he or she were
voting, because the in-person voter is notified of his or            aware.
her signature deficiency, and afforded an opportunity to
cure. [ECF 549-2, pp. 19-20, ¶¶ 66-68 (explaining that in-           Accordingly, the Court concludes that the inherent differences
person voters can be immediately notified of the signature           and opportunities afforded to in-person voters compared to
deficiency, but mail-in/absentee voters cannot) ]. Secretary         mail-in and absentee voters provides sufficient reason to treat
Boockvar's justifications are consistent with the Election           such voters differently regarding signature comparison. The
Code's framework.                                                    Court concludes that the lack of signature comparison for
                                                                     mail-in and absentee ballots is neither arbitrary, nor burdens
When a voter votes in person, he or she signs the voter's            Plaintiffs’ equal-protection rights.
certificate, and the election official immediately, in the voter's
presence, verifies the signature. 25 P.S. § 3050(a.3)(1)-(2). If     For these reasons, the Court will dismiss Plaintiffs’ federal
the election official finds the signature to be problematic, the     equal-protection claims related to signature comparison.
in-person voter is told as such. Id. at § 3050(a.3)(2). Notably,
however, the in-person voter may still cast a ballot. Id. (“[I]f
the signature on the voter's certificate ... shall not be deemed
                                                                             3. The Election Code provisions related to
authentic by any of the election officers, such elector shall not
                                                                          signature comparison satisfy Anderson-Burdick.
be denied the right to vote for that reason[.]”). The in-person
voter whose signature is questioned must, after casting the          Finally, even assuming the Election Code's absence of
ballot, “produce at least one qualified elector of the election      a signature-comparison requirement imposes some burden
district as a witness, who shall make affidavit of his identity or   on Plaintiffs’ constitutional rights, Plaintiffs’ constitutional
continued residence in the election district.” Id. at § 3050(d).     claims still fail.
Thus, the in-person voter whose signature is not verified is
immediately notified, is still allowed to cast a ballot, and is      As discussed above with respect to Defendants’ drop-box
given the opportunity to remedy the signature-deficiency.            implementation, Anderson-Burdick does not apply neatly to
                                                                     this claim either. This is because Plaintiffs aren't challenging
 *63 In contrast, a voter who casts a mail-in or absentee            a specific regulation affecting their right to vote, but are
ballot cannot be afforded this opportunity. Absentee and mail-       instead challenging the lack of a restriction on someone else's
in ballots are kept in “sealed or locked containers” until they      right to vote. This makes both the burden difficult to assess
are “canvassed by the county board of elections.” 25 P.S. §          and also the state's interests in not doing something more
3146.8(a). The pre-canvassing and canvassing cannot begin            abstract. As such, the Court finds that the proper application
until Election Day. Id. at § 3146.8(g)(1.1)-(2). As such, the        of the Anderson-Burdick framework here includes weighing
absentee and mail-in ballots cannot be verified until Election       the burden involving Plaintiffs’ risk of vote dilution against
Day, regardless of when the voter mails the ballot. Further,         the state's interests and overall plan in preventing against
even if there were sufficient time, a voter cannot cure these        voter fraud, including with respect to forged mail-in ballots.
types of deficiencies on their mail-in or absentee ballot.
Boockvar, ––– A.3d at ––––, 2020 WL 5554644, at *20                  Weighing these considerations compels a conclusion that
(“[A]lthough the Election Code provides the procedures for           there is no constitutional violation here. With respect to any



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burden on Plaintiffs’ right to vote, that burden is slight, at best.   the constitutionally-guaranteed right to a transparent and
A failure to engage in a signature comparison may, crediting           undiluted vote,” [id. at p. 68], by “fostering an environment
Plaintiffs’ evidence, increase the risk of voter fraud. But even       that encourages ballot fraud or tampering,” [ECF 461, ¶
then, this remains a largely speculative concern. This burden          256]. As such, Plaintiffs believe that the county residency
too is lessened by the numerous other regulations imposed              requirement “is not rationally connected or reasonably related
by the Election Code, including the detailed verification              to any interest presented by the Commonwealth.” [ECF 509,
procedure as to the information on mail-in ballots (discussed          p. 63].
above), and the deterrence furthered by criminal sanctions for
those engaging in such voter fraud.                                    Defendants and Intervenors have a markedly different view.

Against these burdens, the Commonwealth has precise and                As an initial matter, the Democratic Intervenors argue that
weighty interests in verifying ballot applications and ballots         Plaintiffs “are precluded from relitigating their claim that the
in an appropriate manner to ensure that they are accurate.             Commonwealth lacks a constitutionally recognized basis for
As discussed above, the Commonwealth determined that the               imposing a county-residence restriction for poll watchers”
risk of disenfranchising mail-in and absentee voters, did not          based on the doctrine articulated in England v. Louisiana
justify signature comparison for those voters. [ECF 549-2,             State Bd. of Med. Examiners, 375 U.S. 411, 84 S.Ct. 461,
pp. 19-20, ¶¶ 66-69]. Unlike for in-person voters, there               11 L.Ed.2d 440 (1964). [ECF 529, p. 16]. That doctrine
are other means of identifying and verifying mail-in and               requires that after a federal court has abstained under
absentee voters, such as having to specifically apply for a            Pullman, the plaintiff must expressly reserve the right to
mail-in or absentee ballot and provide various categories              litigate any federal claims in federal court while litigating
of identifying information. [ECF 504-12, 55:19-56:19]; 25              state-law issues in state court. England, 375 U.S. at 419,
P.S. §§ 3146.2(b), 3150.12(b). And ultimately, due to the              421-22, 84 S.Ct. 461. Defendants and Intervenors contend
slight burden imposed on Plaintiffs, Pennsylvania's regulatory         that Plaintiffs (specifically, the Trump Campaign, the RNC,
interests in a uniform election pursuant to established                and the Republican Party) failed to do so in the proceedings
procedures is sufficient to withstand scrutiny. Timmons, 520           before the Pennsylvania Supreme Court.
U.S. at 358, 117 S.Ct. 1364.
                                                                       And if the England doctrine doesn't bar this claim, Defendants
 *64 The General Assembly opted not to require                         and Intervenors argue that “Plaintiffs’ as-applied challenge
signature comparisons for mail-in and absentee ballots                 simply fails to state a constitutional claim.” See, e.g.,
and applications. And as previously discussed, absent                  [ECF 547, p. 65]. They believe that the county-residency
extraordinary reasons to, the Court is not to second-guess the         requirement does not infringe on a fundamental right or
legislature.                                                           regulate a suspect classification (such as race, sex, or
                                                                       national origin). [Id.]. As a result, the Commonwealth need
                                                                       only provide a rational basis for the requirement, which
IV. Defendants and Intervenors are entitled to summary                 Defendants and Intervenors believe the Commonwealth has
judgment on Plaintiffs’ as-applied, federal constitutional             done. [Id.].
challenge to the county-residency requirement for poll
watchers.                                                              After carefully reviewing the record and considering the
Plaintiffs next take exception with the provision of the               parties’ arguments and evidence, the Court finds that the
Election Code that restricts a registered voter from serving as        England doctrine does not bar Plaintiffs’ ability to bring this
a poll watcher outside the county of his or her residence. [ECF        claim. Even so, after fully crediting Plaintiffs’ evidence, the
461, ¶ 217].                                                           Court agrees with Defendants and Intervenors that Plaintiffs’
                                                                       as-applied challenge fails on the merits.
Plaintiffs argue that “[a]s applied to the 2020 General
Election, during the midst of the COVID-19 pandemic,
Pennsylvania's residency requirement for watchers violates               A. The England doctrine does not bar Plaintiffs’
equal protection.” [ECF 509, p. 58]. That's because, according           federal challenge to the county-residency requirement.
to Plaintiffs, the “current pandemic severely challenges the            *65 In England, the Supreme Court established that after a
ability of parties to staff watchers[.]” [Id. at p. 60]. And           federal court abstains under Pullman, “if a party freely and
not having enough poll watchers in place “puts into danger             without reservation submits his federal claims for decision by


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the state courts, litigates them there, and has them decided
there, then ... he has elected to forgo his right to return to         B. The county-residency requirement, as applied to
the District Court.” 375 U.S. at 419, 84 S.Ct. 461. To reserve         the facts presented and the upcoming general election,
those rights, a plaintiff forced into state court by way of            does not violate the U.S. Constitution.
abstention must inform the state court that he is exposing the      Originally, Plaintiffs raised a facial challenge to the county-
federal claims there only to provide the proper context for         residency requirement under 25 P.S. § 2687. That is,
considering the state-law questions. Id. at 421, 84 S.Ct. 461.      Plaintiffs first took the position that there was no conceivable
And that “he intends, should the state court[ ] hold against        constitutional application of the requirement that an elector be
him on the question of state law, to return to the District Court   a resident of the county in which he or she seeks to serve. But,
for disposition of his federal contentions.” Id. Essentially, in    as Plaintiffs’ concede, that facial challenge is no longer viable
England, the Supreme Court created a special doctrine of res        in light of the Pennsylvania Supreme Court's recent decision.
judicata for Pullman abstention cases.                              [ECF 448, p. 10]. As a result, Plaintiffs now focus solely
                                                                    on raising an as-applied challenge to the county-residency
The Democratic Intervenors argue that because none of the           requirement.
three Plaintiffs who participated in the Pennsylvania Supreme
Court case as either intervenors or amici “reserved the right       “[T]he distinction between facial and as-applied challenges is
to relitigate [Plaintiffs’ poll-watcher claim] in federal court,”   not so well defined that it has some automatic effect or that
they are now “precluded” from doing so. [ECF 529, p. 17].           it must always control the pleadings and disposition in every
The Court is not convinced that this doctrine bars Plaintiffs’      case involving a constitutional challenge.” Citizens United v.
claim for at least two reasons.                                     Fed. Election Comm'n, 558 U.S. 310, 331, 130 S.Ct. 876, 175
                                                                    L.Ed.2d 753 (2010).
First, in its original abstention decision, the Court noted that
“[n]one of Plaintiffs’ poll-watching claims directly ask the        At a fundamental level, a “facial attack tests a law's
Court to construe an ambiguous state statute.” [ECF 409, p.         constitutionality based on its text alone and does not consider
24]. Instead, these claims resided in a Pullman gray area,          the facts or circumstances of a particular case. United States
because they were only indirectly affected by other unsettled       v. Marcavage, 609 F.3d 264, 273 (3d Cir. 2010). By contrast,
state-law issues. In light of that, the Court finds that the        an “as-applied attack” on a statute “does not contend that a
England doctrine was not “triggered,” such that Plaintiffs          law is unconstitutional as written but that its application to a
needed to reserve their right to return to federal court to         particular person under particular circumstances deprived that
litigate the specific as-applied claim at issue here.               person of a constitutional right.” Id. The distinction between
                                                                    facial and an as-applied attack, then, “goes to the breadth of
Second, even if it were triggered, not all of the Plaintiffs here   the remedy employed by the Court, not what must be pleaded
were parties in the Pennsylvania Supreme Court case, and            in a complaint.” Citizens United, 558 U.S. at 331, 130 S.Ct.
only one (the Republican Party) was even given intervenor           876; see also Bruni v. City of Pittsburgh, 824 F.3d 353, 362
status. But even the Republican Party, acting as an intervenor,     (3d Cir. 2016) (“The distinction between facial and as-applied
did not have an opportunity to develop the record or present        constitutional challenges, then, is of critical importance in
evidence relevant to its as-applied challenge. Thus, this claim     determining the remedy to be provided).
wasn't “fully litigated” by any of the Plaintiffs, which is
a necessary condition for the claim to be barred under the           *66 Because the distinction is focused on the available
England doctrine. Cf. Bradley v. Pittsburgh Bd. of Educ., 913       remedies, not the substantive pleading requirements, “[t]he
F.2d 1064, 1073 (3d Cir. 1990) (explaining that a litigant “may     substantive rule of law is the same for both challenges.”
not relitigate an issue s/he fully and unreservedly litigated in    Edwards v. D.C., 755 F.3d 996, 1001 (D.C. Cir. 2014); see
state court”).                                                      also Pursuing Am.’s Greatness v. Fed. Election Comm'n, 831
                                                                    F.3d 500, 509, n.5 (D.C. Cir. 2016) (“Indeed, the substantive
Thus, Plaintiffs are not precluded by the England doctrine          rule of law is the same for both as-applied and facial First
from bringing their remaining as applied poll-watcher claim.        Amendment challenges.”) (cleaned up); Legal Aid Servs. of
The Court will now address the claim on the merits.                 Or. v. Legal Servs. Corp., 608 F.3d 1084, 1096 (9th Cir.
                                                                    2010) (“The underlying constitutional standard, however, is
                                                                    no different [in an as-applied challenge] th[a]n in a facial
                                                                    challenge.”).


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                                                                    burdened the right to vote, that burden is slight—and under
“In other words, how one must demonstrate the statute's             the Anderson-Burdick test, the Commonwealth's interests in
invalidity remains the same for both type of challenges,            a county-specific voting system, viewed in the context of its
namely, by showing that a specific rule of law, usually a           overall polling-place security measures, outweigh any slight
constitutional rule of law, invalidates the statute, whether in     burden imposed by the county-residency restriction.
a personal application or to all.” Brooklyn Legal Servs. Corp.
v. Legal Servs. Corp., 462 F.3d 219, 228 (2d Cir. 2006),
abrogated on other grounds by Bond v. United States, 564
                                                                      1. The county-residency requirement neither burdens
U.S. 211, 131 S.Ct. 2355, 180 L.Ed.2d 269 (2011).
                                                                         a fundamental right, including the right to vote,
                                                                       nor discriminates based on a suspect classification.
In determining whether a state election law violates the
U.S. Constitution, the Court must “first examine whether             *67 At the outset, “there is no individual constitutional right
the challenged law burdens rights protected by the First and        to serve as a poll watcher[.]” Boockvar, ––– A.3d at ––––,
Fourteenth Amendments.” Patriot Party of Allegheny Cnty.            2020 WL 5554644, at *30 (citing Cortés, 218 F. Supp. 3d
v. Allegheny Cnty. Dep't of Elections, 95 F.3d 253, 258 (3d         at 408); see also Dailey v. Hands, No. 14-423, 2015 WL
Cir. 1996). “Where the right to vote is not burdened by a           1293188, at *5 (S.D. Ala. Mar. 23, 2015) (“[P]oll watching is
state's regulation on the election process, ... the state need      not a fundamental right protected by the First Amendment.”);
only provide a rational basis for the statute.” Cortés, 218 F.      Turner v. Cooper, 583 F. Supp. 1160, 1162 (N.D. Ill. 1983)
Supp. 3d at 408. The same is true under an equal protection         (“Plaintiffs have cited no authority ..., nor have we found any,
analysis. “If a plaintiff alleges only that a state treated him     that supports the proposition that [the plaintiff] had a first
or her differently than similarly situated voters, without a        amendment right to act as a poll watcher.”).
corresponding burden on the fundamental right to vote, a
straightforward rational basis standard of review should be         “State law, not the Federal Constitution, grants individuals the
used.” Obama, 697 F.3d at 428 (6th Cir. 2012); see also             ability to serve as poll watchers and parties and candidates
Biener, 361 F.3d at 214-15 (applying rational basis where           the authority to select those individuals.” Cortés, 218 F. Supp.
there was no showing of an “infringement on the fundamental         3d at 414; see also Boockvar, ––– A.3d at ––––, 2020 WL
right to vote.”); Donatelli, 2 F.3d at 515 (“A legislative          5554644, at *30 (the right to serve as a poll watcher “is
classification that does not affect a suspect category or           conferred by statute”); Tiryak v. Jordan, 472 F. Supp. 822,
infringe on a fundamental constitutional right must be upheld       824 (E.D. Pa. 1979) (“The number of poll-watchers allowed,
against equal protection challenge if there is any reasonably       the manner of their appointment, their location within the
conceivable state of facts that could provide a rational basis      polling place, the activities permitted and the amount of
for the classification.” (cleaned up)).                             compensation allowed are all dictated by [25 P.S. § 2687].”).
                                                                    Given the nature of the right, “[i]t is at least arguable that
But where the law imposes at least some burden on protected         the [Commonwealth of Pennsylvania] could eliminate the
rights, the court “must gauge the character and magnitude of        position of poll watcher” without offending the constitution.
the burden on the plaintiff and weigh it against the importance     Cotz v. Mastroeni, 476 F. Supp. 2d 332, 364 (S.D.N.Y.
of the interests that the state proffers to justify the burden.”    2007). In fact, one neighboring state—West Virginia—has
Patriot Party, 95 F.3d at 258 (citations omitted).                  eliminated poll watchers. W. Va. Code Ann. § 3-1-37; W. Va.
                                                                    Code Ann. § 3-1-41.
Consistent with the Pennsylvania Supreme Court's recent
decision, but now based on a complete record, this Court            Nor does the county-residency requirement hinder the
finds that the county-residency requirement for poll watching       “exercise of the franchise.” Cortés, 218 F. Supp. 3d at 408. It
does not, as applied to the particular circumstances of this        doesn't in any way limit voters’ “range of choices in the voting
election, burden any of Plaintiffs’ fundamental constitutional      booth”—voters can still “cast ballots for whomever they
rights, and so a deferential standard of review should apply.       wish[.]” Id. And, as Plaintiffs admit, the county-residency
See Boockvar, ––– A.3d at ––––, 2020 WL 5554644, at *30.            requirement doesn't make the actual act of casting a vote
Under a rational-basis review and considering all the relevant      any harder. See [ECF 524-24, 67:1-6]. Indeed, at least one of
evidence before the Court, the county-residency requirement         the plaintiffs here, Representative Joyce, testified that he was
is rational, and thus constitutional. But even if the requirement



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unaware of anyone unable to cast his ballot because of the
county-residency requirement for poll watchers [Id.].               There are both factual and legal problems fatal to Plaintiffs’
                                                                    vote-dilution theory in this context. Factually, Plaintiffs’
Finally, Plaintiffs’ claim that Pennsylvania's “poll watching       evidence, accepted as true, fails to establish that they cannot
system” denies them “equal access” to the ability to observe        find enough poll watchers because of the county-residency
polling places in the upcoming election does not, on its own,       requirement. But even if they made that factual showing,
require the Court to apply anything other than rational-basis       the inability to find poll watchers still does not burden any
scrutiny. [ECF 551, p. 75]. To the extent Plaintiffs are denied     recognized constitutional right in a way that would necessitate
equal access (which discussed below, as a matter of evidence,       anything more than deferential review.
is very much in doubt), it isn't based on their membership in
any suspect classification.
                                                                             2. Plaintiffs’ evidence does not establish
For a state law to be subject to strict scrutiny, it must not
                                                                              any factual predicate for their theory.
only make a distinction among groups, but the distinction
must be based on inherently suspect classes such as race,           Even accepting as true Plaintiffs’ version of events, Plaintiffs
gender, alienage, or national origin. See City of Cleburne          have not established that the county-residency requirement is
v. Cleburne Living Ctr., 473 U.S. 432, 439-40, 105 S.Ct.            responsible for an inability to find enough poll watchers for
3249, 87 L.Ed.2d 313 (1985). Political parties are not such a       at least two reasons.
suspect class. Greenville Republican Party, 824 F. Supp. 2d
at 669 (“[T]his court is unfamiliar with, and Plaintiffs have       First, Plaintiffs’ evidence stops short of demonstrating any
not cited, any authority categorizing political parties as an       actual shortfall of desired poll watchers.
inherently suspect class.”) Likewise, “[c]ounty of residence is
not a suspect classification warranting heightened scrutiny[.]”     For example, in his declaration, James J. Fitzpatrick, the
Short, 893 F.3d at 679.                                             Pennsylvania Director for Election Day Operations for the
                                                                    Trump Campaign, stated only that the “Trump Campaign is
Plaintiffs don't dispute this. [ECF 509, p. 65 (“To be clear,       concerned that due to the residency restriction, it will not
the right at issue here is the right of candidates and political    have enough poll watchers in certain counties.” [ECF 504-2,
parties to participate in an election where the process is          ¶ 25 (emphasis added) ]. Notably, however, Mr. Fitzpatrick,
transparent and open to observation and the right of the voters     even when specifically asked during his deposition, never
to participate in such election.” (emphasis in original)) ].        identified a single county where the Trump Campaign has
Rather, Plaintiffs’ theory as to how the county-residency           actually tried and failed to recruit a poll watcher because
requirement burdens the right to vote is based on the same          of the county-residency requirement. See, e.g., [ECF 528-14,
threat of vote dilution by fraud that they have advanced with       261:21-25] (“Q: Which counties does the Trump campaign or
their other claims. In other words, Plaintiffs’ claim that the      the RNC contend that they will not be able to obtain what you
county-residency requirement for poll watchers limits the           refer to as full coverage of poll watchers for the November
ability to find poll watchers, which, in turn, limits the ability   2020 election? A: I'm not sure. I couldn't tell you a list.”).
for poll watchers to detect fraud and ballot tampering. [ECF
461, ¶¶ 256-57]. The resulting fraudulent or destroyed ballots      Nor do any of Plaintiffs’ other witness declarations establish
cause the dilution of lawfully cast ballots. [ECF 509, pp.          an actual, inability to recruit poll watchers in any specific
64-68].                                                             county. Representative Reschenthaler stated only that he was
                                                                    “concerned” that he “will not be able to recruit enough
 *68 Thus, based on this theory, to establish the burden            volunteers from Greene County to watch the necessary polls
flowing from the county-residency restriction, Plaintiffs must      in Greene County.” [ECF 504-6, ¶ 12].
show (1) the county-residency requirement prevents them
from recruiting enough registered Republican poll watchers          Representative Kelly stated that he was “likely to have
in every county, (2) the absence of these Republican poll           difficulty getting enough poll watchers from within Erie
watchers creates a material risk of increased fraud and ballot      County to watch all polls within that county on election
tampering, and (3) this risk of fraud and ballot tampering will     day.” [ECF 504-5, ¶ 16]. “Likely difficulty” isn't the same
dilute the value of honestly cast votes.                            as an “actual inability.” That aside, the declaration doesn't



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provide any basis for Representative Kelly's assessment of
this “likely difficulty.” Nowhere does he detail the efforts he   20     Plus, these figures do not even tell the whole
took (e.g., the outreach he tried, prospective candidates he             story because they do not take into account the
unsuccessfully recruited, and the like), nor did he explain why          hundreds of thousands of voters who are registered
those efforts aren't likely to succeed in the future.                    to other parties who could also conceivably serve
                                                                         as poll watchers for the Trump Campaign and the
The same goes for Representative Thompson's declaration.                 candidate Plaintiffs. [504-34]. While that may not
Representative Thompson stated that during some                          be the ideal scenario for Plaintiffs, they concede
unspecified prior elections, unidentified parties and                    there's nothing in the Election Code that limits
campaigns did not “always find enough volunteers to serve as             them to recruiting only registered voters from the
poll watchers in each precinct.” [ECF 504-4, ¶ 20]. But this             Republican Party. [ECF 528-14, 267:23-268:1 (Q:
undetailed statement doesn't help Plaintiffs’ cause, because it          And you don't have to be a registered Republican to
doesn't identify the elections during which this was a problem,          serve as a poll watcher for the Trump campaign, do
the parties and campaigns affected by a lack of poll watchers,           you? A: No.) ]. To that point, the Trump Campaign
or the precincts for which no poll watcher could be found.               utilized at least two Democrats among the poll
                                                                         watchers it registered in the primary. [ECF 528-15,
 *69 Representative Joyce's declaration doesn't even express             P001648].
a “concern” about “likely difficulty” in recruiting poll
watchers. He simply stated his belief that “[p]oll watchers       Plaintiffs have not presented any evidence that would
play a very important role in terms of protecting the integrity   explain how, despite these numbers, they will have a hard
of the election process[.]” [ECF 504-7, ¶ 11]. While he may be    time finding enough poll watchers. In fact, Plaintiffs’ own
right, it has no bearing on whether Plaintiffs can find enough    expert, Professor Lockerbie, admits that “the Democratic and
people to play that “very important role.”                        Republican parties might be able to meet the relevant criteria
                                                                  and recruit a sufficient population of qualified poll watchers
Indeed, Plaintiffs’ prediction that they will “likely” have       who meet the residency requirements[.]” [ECF 504-20, ¶ 16].
difficulty finding poll watchers is belied by the uncontested
Pennsylvania voter registration statistics for 2019 that they     Professor Lockerbie's report makes clear, and Plaintiffs
included as an exhibit to their summary-judgment brief. [ECF      appear to agree, that the county-residency requirement only
504-34]. Those statistics suggest that there is no shortage of    potentially burdens other, “minor” political parties’ ability
registered Republican voters who are qualified to serve as        to recruit enough poll watchers. [ECF 509, p. 61 (citing
poll watchers. [Id.]. Even in the three specific counties in      ECF 504-20, ¶¶ 16-17) ]. Regardless, any burden on these
which Plaintiffs warn that “Democratic registered voters out-     third parties is not properly before the Court. They are not
number ... their Republican counterparts” (i.e., Philadelphia,    parties to this litigation, and so the Court doesn't know their
Delaware, and Centre), there are still significant numbers        precise identities, whether they have, in fact, experienced any
of registered Republicans. See [ECF 504-34 (Philadelphia –        difficulty in recruiting poll watchers, or, more fundamentally,
118,003; Delaware – 156,867; and Centre – 42,903) ]. And          whether they even want to recruit poll watchers at all. 21
only a very small percentage of the registered Republicans
would be needed to fill all the necessary poll watcher            21     To the extent that Plaintiffs are attempting to
positions in those allegedly problematic counties. See, e.g.,            bring their claim on behalf of these third parties
Cortés, 218 F. Supp. 3d at 410 (noting that, in 2016,                    (which is unclear), they would lack standing to
the Republican Party “could staff the entirety of the poll               do so. Ordinarily, “a litigant must assert his or
watcher allotment in Philadelphia county with just 4.1% of               her own legal rights and interests and cannot rest
the registered Republicans in the county.”). While Plaintiffs            a claim of relief on the legal rights or interests
argue that these statistics don't show the number of registered          of third parties.” Powers v. Ohio, 499 U.S. 400,
Republicans willing to serve as a poll watcher, the Court is             410, 111 S.Ct. 1364, 113 L.Ed.2d 411 (1991).
hard pressed to see, nor do Plaintiffs show, how among the               The only time a litigant can bring an action on
tens—or hundreds—of thousands of registered Republicans                  behalf of a third party is when “three important
in these counties, Plaintiffs are unable to find enough poll             criteria are satisfied.” Id. “The litigant must have
workers. 20                                                              suffered an ‘injury in fact,’ thus giving him or her



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       a ‘sufficiently concrete interest’ in the outcome of      it. Plaintiffs have not put forward a statement from a single
       the issue in dispute; the litigant must have a close      registered voter who says they are unwilling to serve as a poll
       relation to the third party; and there must exist some    watcher due to concerns about contracting COVID-19.
       hindrance to the third party's ability to protect his
       or her own interest.” Id. at 410-11, 111 S.Ct. 1364       Despite this shortcoming, the Court also acknowledges that
       (cleaned up). Plaintiffs cannot satisfy the second or     COVID-19 generally has made it more difficult to do anything
       third criteria.                                           in person, and it is entirely plausible that the current pandemic
       Plaintiffs claim that they “have a close relationship     will limit Plaintiffs from recruiting poll watchers to man
       with these minor parties such that it will act as         polling places on election day. But that is likely true for
       an effective advocate for the minor parties.” [ECF        just about every type of election rule and regulation. For
       551, p. 30]. It is hard to see how Plaintiffs can         example, the effects of the ongoing pandemic coupled with
       be said to have a close relationship with rival           the requirement that the poll watcher be a registered voter
       political parties who are their direct adversaries in     (a requirement that unquestionably narrows the pool of
       the upcoming election.                                    potential candidates) would also make it harder to recruit
       Plaintiffs also argue that these “minor parties           poll watchers. There is no basis to find that the current
       are hindered from protecting their own interests,         public-health conditions, standing alone, render the county-
       particularly in this action when there are no             residency requirement irrational or unconstitutional.
       minor party intervenors.” [Id.]. But that doesn't
       hold water either. Just because these other parties       To bolster their concerns over COVID-19, Plaintiffs point
       have not asked to intervene, it does not mean             to Democratic Nat'l Committee v. Bostelmann, No. 20-249,
       they were incapable of intervening or seeking             ––– F.Supp.3d ––––, 2020 WL 5627186 (W.D. Wis. Sept. 21,
       relief elsewhere. Indeed, these parties and their         2020), where the court there enjoined Wisconsin's statute that
       candidates have demonstrated time and again that          requires that each election official (i.e., poll worker) be an
       they can raise their own challenges to election           elector of the county in which the municipality is located. That
       laws when they so desire, including by filing suit        case is distinguishable in at least two important ways.
       in federal district court. See, e.g., Stein v. Cortés,
       223 F. Supp. 3d 423 (E.D. Pa. 2016) (Green Party          First, Bostelmann concerned poll workers, not poll watchers.
       Presidential candidate Jill Stein seeking recount);       Id. at ––––, 2020 WL 5627186, at *7. The difference
       Libertarian Party of Conn. v. Merrill, No. 20-467,        between the two is significant. Poll workers are a more
       2020 WL 3526922 (D. Conn. June 27, 2020)                  fundamental and essential aspect of the voting process.
       (seeking to enjoin Connecticut's ballot access rules      Without poll workers, counties cannot even open polling
       that required minor party candidates to petition          sites, which creates the possibility that voters will be
       their way onto the ballot); Green Party of Ark. v.        completely disenfranchised. In fact, in Bostelmann, the
       Martin, 649 F.3d 675 (8th Cir. 2011) (challenging         plaintiffs presented evidence that Milwaukee was only able
       Arkansas’ ballot access laws).                            to open 5 of its normal 180 polling places. Id. A failure to
                                                                 provide voters a place to vote is a much more direct and
 *70 Additionally, Plaintiffs failed to present evidence that
                                                                 established constitutional harm than the one Plaintiffs allege
connects the county-residency requirement to their inability
                                                                 here.
to find enough poll watchers. To succeed on their theory
Plaintiffs cannot just point to difficulty recruiting poll
watchers, they need to also show that “Section 2687(b) is        Second, the plaintiffs in Bostelmann actually presented
                                                                 evidence that they were unable to find the poll workers they
responsible for their purported staffing woes.” Cortés, 218 F.
                                                                 needed due to the confluence of the COVID-19 pandemic and
Supp. 3d at 410. Plaintiffs fail to show this, too.
                                                                 the challenged restriction. Id. As discussed above, Plaintiffs
Plaintiffs argue that the ongoing COVID-19 pandemic greatly      here have presented no such evidence.
reduces the number of people who would be willing to serve
as a poll watcher, which further exacerbates the alleged         To succeed on summary judgment, Plaintiffs need to move
problem caused by the county-residency requirement. [ECF         beyond the speculative concerns they offer and into the realm
509, p. 60]. The primary problem with this argument, though,     of proven facts. But they haven't done so on two critical fronts
is that Plaintiffs have not presented any evidence to support    —they haven't shown an actual inability to find the necessary



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poll watchers, or that such an inability is caused by the county-      candidates at risk); Cook Cnty. Rep. Party v. Pritzker, No.
residency requirement. Because Plaintiffs have not pointed             20-4676, 2020 WL 5573059, at *4 (N.D. Ill. Sept. 17, 2020)
to any specific “polling place that Section 2687(b) prevents           (denying a motion to enjoin a law expanding the deadline to
[them] from staffing with poll watchers,” Plaintiffs’ theory of        cure votes because plaintiffs did not show how voter fraud
burden is doomed at launch. Cortés, 218 F. Supp. 3d at 409.            would dilute the plaintiffs’ votes).

                                                                       Without a recognized burden on the right to vote, Plaintiffs’
                                                                       “argument that the defendants did not present an adequate
 3. Even if Plaintiffs could establish a factual predicate
                                                                       justification is immaterial.” Green Party of Tennessee v.
     for their theory, it would fail as a matter of law.
                                                                       Hargett, No. 16-6299, 2017 WL 4011854, at *4 (6th Cir.
 *71 As the Pennsylvania Supreme Court concluded last                  May 11, 2017). That's because the Court need not apply the
month, Plaintiffs’ “speculative claim that it is ‘difficult’ for       Anderson-Burdick framework, and its intermediate standards,
both parties to fill poll watcher positions in every precinct,         in this situation. See Donatelli, 2 F.3d at 514 & n.10.
even if true, is insufficient to transform the Commonwealth's          Instead, just as the Pennsylvania Supreme Court held, the
uniform and reasonable regulation requiring that poll                  Commonwealth here need only show “that a rational basis
watchers be residents of the counties they serve into a non-           exists [for the county-residency requirement] to be upheld.
rational policy choice.” Boockvar, ––– A.3d at ––––, 2020              Boockvar, ––– A.3d at ––––, 2020 WL 5554644, at *30
                                                                       (citing Cortes, 218 F. Supp. 3d at 408); see also Voting
WL 5554644, at *30 (emphasis added). 22 The fundamental
                                                                       for Am., Inc. v. Andrade, 488 F. App'x 890, 899 (5th Cir.
constitutional principles undergirding this finding are sound.
                                                                       2012) (applying rational basis review as opposed to the
                                                                       Anderson-Burdick balancing test because state election law
22      The Sierra Club Intervenors argue this should                  did not implicate or burden specific constitutional rights);
        end the analysis. [ECF 542, p. 14 (“Even                       McLaughlin v. North Carolina Bd. of Elections, 65 F.3d 1215,
        ‘as applied,’ Plaintiffs’ claim has already been               1227 (4th Cir. 1995) (concluding that a ballot access law “fails
        rejected”) ]. While the Court finds the Pennsylvania           the Anderson balancing test only if it also does in fact burden
        Supreme Court's apparent ruling on Plaintiffs’ as-             protected rights”).
        applied challenge instructive, it is not outcome
        determinative. That is because the Pennsylvania                 *72 “Under rational-basis review, the challenged
        Supreme Court did not have the benefit of the full             classification must be upheld ‘if there is any reasonably
        evidentiary record that the Court has here.                    conceivable state of facts that could provide a rational basis
Plaintiffs’ only alleged burden on the right to vote is                for the classification.’ ” Donatelli, 2 F.3d at 513 (quoting
that Defendants’ lawful imposition of a county-residency               FCC v. Beach Commc'ns, Inc., 508 U.S. 307, 313, 113 S.Ct.
requirement on poll watching will result in an increased risk          2096, 124 L.Ed.2d 211 (1993)). “This standard of review is
of voter irregularities (i.e., ballot fraud or tampering) that will,   a paradigm of judicial restraint.” FCC, 508 U.S. at 314, 113
in turn, potentially cause voter dilution. While vote dilution         S.Ct. 2096. It “is not a license for courts to judge the wisdom,
is a recognized burden on the right to vote in certain contexts,       fairness, or logic of legislative choices.” Id. at 313, 113 S.Ct.
such as when laws are crafted that structurally devalue one            2096. Nor is it the Court's “place to determine whether the
community's or group of people's votes over another's, there           [General Assembly's decisions] were the best decisions or
is no authority to support a finding of burden based solely            even whether they were good ones.” Donatelli, 2 F.3d at 518.
on a speculative, future possibility that election irregularities
might occur. See, e.g., Minnesota Voters, 720 F.3d at 1033             Applying this deferential standard of review, the
(affirming dismissal of claims “premised on potential harm in          Pennsylvania Supreme Court found that given Pennsylvania's
the form of vote dilution caused by insufficient pre-election          “county-based scheme for conducting elections, it is
verification of EDRs’ voting eligibility and the absence of            reasonable that the Legislature would require poll watchers,
post-election ballot rescission procedures”); Common Cause             who serve within the various counties of the state, to be
Rhode Island v. Gorbea, 970 F.3d 11, 15 (1st Cir. 2020)                residents of the counties in which they serve.” Boockvar, –––
(rejecting the claim that a ballot witness signature requirement       A.3d at ––––, 2020 WL 5554644, at *30 (citing Cortés, 218
should not be enjoined during a pandemic because it would              F. Supp. 3d at 409). The Court agrees.
allegedly increase the risk of voter fraud and put Republican



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There are multiple reasons for this. As Secretary Boockvar          involving polling places that are designed to prevent against
advises, “[b]y restricting poll watchers’ service to the counties   fraud and vote dilution.
in which they actually reside, the law ensures that poll
watchers should have some degree of familiarity with the            As the court in Cortés recognized, “while poll watchers may
voters they are observing in a given election district.” [ECF       help guard the integrity of the vote, they are not the Election
549-2, p. 22, ¶ 78]. In a similar vein, Intervenors’ expert,        Code's only, or even best, means of doing so.” 218 F. Supp.
Dr. Barreto, in his report, states that, voters are more likely     3d at 404.
to be comfortable with poll watchers that “they know and
they recognize from their area.” [ECF 524-1, ¶40 (“Research          *73 Each county has the authority to investigate fraud and
in political science suggests that voters are much more             report irregularities to the district attorney. 25 P.S. § 2642(i).
comfortable and trusting of the process when they know or are       Elections in each district are conducted by a multimember
familiar with poll workers who are from their community.”) ].       election board, which is comprised of an election judge, a
When poll watchers come from the community, “there is               majority inspector, and a minor inspector. 25 P.S. § 2671.
increased trust in government, faith in elections, and voter        Each voting district may also use two overseers of election,
turnout[.]” [Id.].                                                  who are appointed from different political parties by the
                                                                    Pennsylvania Courts of Common Pleas, and “carry greater
At his deposition, Representative Kelly agreed with this            authority than poll watchers.” Cortés, 218 F. Supp. 3d at 403
idea: “Yeah, I think – again, depending how the districts           (citing 25 P.S. § 2685). “Election overseers have the right
are established, I think people are probably even more              to be present with the officers of an election ‘within the
comfortable with people that they – that they know and they         enclosed space during the entire time the ... election is held.”
recognize from their area.” [ECF 524-23, 111:21-25].                Id. “Poll watchers have no such right,” they must “remain
                                                                    ‘outside the enclosed space’ where ballots are counted or
Whether requiring poll watchers to be residents of the county       voting machines canvassed.” Id. (citing 25 P.S. § 2687(b)).
in which they will serve is the best or wisest rule is not          Election overseers can also challenge any person offering to
the issue before the Court. The issue is whether that rule is       vote, while poll watchers have no such authority. 25 P.S. §
reasonable and rationally advances Pennsylvania's legitimate        2687. For these reasons, concerns “over potential voter fraud
interests. This Court, like multiple courts before it, finds that   —whether perpetrated by putative electors or poll workers
it does.                                                            themselves—appear more effectively addressed by election
                                                                    overseers than poll watchers[.]” Id. at 406.

                                                                    Plaintiffs complain that poll watchers may not be present
          4. Plaintiffs’ poll-watcher claim fails
                                                                    during the pre-canvass and canvass meetings for absentee
         under the Anderson-Burdick framework.
                                                                    and mail-in ballots. But the Election Code provides that
Even if rational-basis review did not apply and Plaintiffs          “authorized representatives” of each party and each candidate
had established a burden on their right to vote, their claim        can attend such canvassing. 25 P.S. § 3146.8(g)(1.1), (2).
nonetheless fails under the Anderson-Burdick framework.             That means if, for example, 15 Republican candidates appear
                                                                    on ballots within a particular county (between both the state
Viewing Plaintiffs’ evidence in the best possible light, at most,   and federal elections), there could be up to 16 “authorized
the county-residency requirement for poll watching places           representatives” related to the Republican Party (one for
only an indirect, ancillary burden on the right to vote through     each candidate and one for the party as a whole) present
an elevated risk of vote dilution.                                  during canvassing. Adding poll watchers to that mix would
                                                                    just be forcing unnecessary cooks into an already crowded
Against this slight burden, the Commonwealth has sound              kitchen. 23 See [ECF 549-2, p. 23, ¶ 83 (“If every certified
interests in imposing a county-residency requirement,               poll watcher within a county was permitted to attend the pre-
including, as noted above, local familiarity with rules,            canvass meeting, the elections staff could be overwhelmed
regulations, procedures, and the voters. Beyond this, in            by the vast numbers of poll watchers, and the pre-canvassing
assessing the Commonwealth's interest in imposing the               process could become chaotic and compromised.”) ].
county-based restriction, that interest must be viewed in the
overall context of the Commonwealth's security measures



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23                                                                   Plaintiffs also appear to challenge any attempts to limit
        After the briefing on the cross-motions for
                                                                     poll watching to “monitoring only in-person voting at the
        summary judgment had closed, on October 6, 2020,
                                                                     polling place on Election Day.” [ECF 461, ¶ 254]. That
        Secretary Boockvar issued additional guidance,
                                                                     is, in their proposed order accompanying their Motion for
        which Plaintiffs then raised with the Court the
                                                                     Summary Judgement, Plaintiffs seek a declaration that they
        following day. [ECF 571]. This new guidance
                                                                     are “permitted to have watchers present at all locations where
        confirms that poll watchers cannot be present
                                                                     voters are registering to vote, applying for absentee or mail-
        during the pre-canvassing and canvassing of
                                                                     in ballots, voting absentee or mail-in ballots, and/or returning
        mail-in ballots. It also makes clear that while
                                                                     or collecting absentee or mail-in ballots, including without
        the authorized representative can be present, the
                                                                     limitation any satellite or early voting sites established by any
        representative cannot make any challenges to the
                                                                     county board of elections.” [ECF 503-1, ¶ 3].
        ballots. The Court finds that this new guidance has
        minimal relevance to the current disputes at issue
                                                                     Plaintiffs also argue that Secretary Boockvar's October 6,
        here. The scope of duties of a representative is not
                                                                     2020, guidance expressly, and unlawfully, prohibits poll
        before the Court. Of sole relevance here is whether
        this new guidance changes how this Court weighs              watchers from being present at county election offices,
                                                                     satellite offices, and designated ballot-return sites. [ECF 571].
        the burdens and benefits of the county-residency
        restriction for poll watchers. The Court finds that
                                                                     This challenge, however, is directly related to the unsettled
        the representative's inability to challenge mail-
                                                                     state-law question of whether drop boxes and other satellite
        in ballots does appear to provide less protection
                                                                     locations are “polling places” as envisioned under the
        to Plaintiffs; but in the grand election scheme,
                                                                     Election Code. If they are, then Plaintiffs may be right in that
        particularly in light of the role of the election
                                                                     poll watchers must be allowed to be present. However, the
        overseers, the Court does not find the new guidance
        to materially upset the Commonwealth's interests             Court previously abstained under Pullman in addressing this
        in its overall election-monitoring plan.                     “location” claim due to the unsettled nature of the state-law
                                                                     issues; and it will continue to do so. [ECF 459, p. 5 (“The
 *74 Further, Secretary Boockvar testified that Pennsylvania         Court will continue to abstain under Pullman as to Plaintiffs’
has adopted new voting systems that will provide an                  claim pertaining to the notice of drop box locations and, more
additional layer of security. [ECF 524-27, 237:21-238:11].           generally, whether the ‘polling place’ requirements under the
That is, there will now be a paper trail in the form of verifiable   Election Code apply to drop-box locations. As discussed in
paper ballots that will allow voters to confirm their choice,        the Court's prior opinion, this claim involves unsettled issues
and the state recently piloted a new program that will help          of state law.”) ].
ensure that votes can be properly verified. [Id.].
                                                                     Moreover, Plaintiffs have filed a lawsuit in the Court of
On balance, then, it is clear that to the extent any burden          Common Pleas of Philadelphia to secure access to drop box
on the right to vote exists, it is minimal. On the other hand,       locations for poll watchers. The state court held that satellite
the Commonwealth's interest in a county-specific voting              ballot-collection locations, such as drop-box locations, are
system, including with county-resident poll watchers, is             not “polling places,” and therefore poll watchers are not
rational and weighty, particularly when viewed in the context        authorized to be present in those places. [ECF 573-1, at
of the measures that the Commonwealth has implemented                p. 12]. The Trump Campaign immediately filed a notice
to prevent against election fraud at the polls. As such,             of appeal of that decision. Regardless of what happens on
under the flexible Anderson-Burdick standard, Plaintiffs have        appeal, Plaintiffs appear to be on track to obtain resolution
failed to establish that the county-residency requirement is         of that claim in state court. [ECF 549-22]. Although this isn't
unconstitutional.                                                    dispositive, it does give the Court comfort that Plaintiffs will
                                                                     be able to seek timely resolution of these issues, which appear
                                                                     to be largely matters of state law. See Barr v. Galvin, 626
 5. The Court will continue to abstain from deciding                 F.3d 99, 108 n.3 (1st Cir. 2010) (“Though the existence of a
where the Election Code permits poll watching to occur.              pending state court action is sometimes considered as a factor
                                                                     in favor of abstention, the lack of such pending proceedings
                                                                     does not necessarily prevent abstention by a federal court.”).



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                                                                     the federal-constitutional claims here. The Pennsylvania
                                                                     Supreme Court, however, has held that Pennsylvania's “Free
V. The Court will decline to exercise supplemental                   and Equal Elections” Clause is not necessarily coextensive
jurisdiction over Plaintiffs’ state-constitutional claims.           with the 14th Amendment. See League of Women Voters v.
 *75 In addition to the federal-constitutional claims                Commonwealth, 645 Pa. 1, 178 A.3d 737, 812-813 (2018)
addressed above, Plaintiffs assert violations of the                 (referring to the Pennsylvania Free and Equal Elections
Pennsylvania Constitution in Counts III, V, VII, and IX of           Clause as employing a “separate and distinct standard” than
the Second Amended Complaint. Because the Court will be              that under the 14th Amendment to the U.S. Constitution).
dismissing all federal-constitutional claims in this case, it will   Given the lack of briefing on this issue and out of deference
decline to exercise supplemental jurisdiction over these state-      to the state courts to interpret their own state constitution, the
law claims.                                                          Court declines to exercise supplemental jurisdiction.

Under 28 U.S.C. § 1367(c)(3), a court “may decline to                Second, several Defendants have asserted a defense of
exercise supplemental jurisdiction over state law claims             sovereign immunity in this case. That defense does not apply
if it has dismissed all claims over which it has original            to Plaintiffs’ federal-constitutional claims under the Ex parte
jurisdiction[.]” Stone v. Martin, 720 F. App'x 132, 136              Young doctrine. See Acosta v. Democratic City Comm., 288
(3d Cir. 2017) (cleaned up). “It ‘must decline’ to exercise          F. Supp. 3d 597, 627 (E.D. Pa. 2018) (“Here, the doctrine
supplemental jurisdiction in such circumstances ‘unless              of Ex parte Young applies to Plaintiffs’ constitutional claims
considerations of judicial economy, convenience, and fairness        for prospective injunctive and declaratory relief, and therefore
to the parties provide an affirmative justification for              the First and Fourteenth Amendment claims are not barred
[exercising supplemental jurisdiction].’ ” Id. (quoting Hedges       by the Eleventh Amendment. Secretary Cortés, as an officer
v. Musco, 204 F.3d 109, 123 (3d Cir. 2000) (emphasis in              of the Pennsylvania Department of State, may be sued in his
original)).                                                          individual and official capacities ‘for prospective injunctive
                                                                     and declaratory relief to end continuing or ongoing violations
Courts have specifically applied this principle in cases raising     of federal law.’ ”). But sovereign immunity may apply to the
federal and state constitutional challenges to provisions            state-law claims, at least those against Secretary Boockvar.
of the state's election code. See, e.g., Silberberg v. Bd.           The possibility of sovereign immunity potentially applying
of Elections of New York, 272 F. Supp. 3d 454, 480–                  here counsels in favor of declining supplemental jurisdiction
81 (S.D.N.Y. 2017) (“Having dismissed plaintiffs’ First              to decide the state-law claims.
and Fourteenth Amendment claims, the Court declines to
exercise supplemental jurisdiction over plaintiffs’ state law        *76 As such, all state-constitutional claims will be dismissed
claims.”); Bishop v. Bartlett, No. 06-462, 2007 WL 9718438,          without prejudice.
at *10 (E.D.N.C. Aug. 18, 2007) (declining “to exercise
supplemental jurisdiction over the state constitutional claim”
following dismissal of all federal claims and recognizing                                   CONCLUSION
“the limited role of the federal judiciary in matters of state
elections” and that North Carolina's administrative, judicial,       For the foregoing reasons, the Court will enter judgment
and political processes provide a better forum for plaintiffs to     in favor of Defendants and against Plaintiffs on all federal-
seek vindication of their state constitutional claim), aff'd, 575    constitutional claims, decline to exercise supplemental
F.3d 419 (4th Cir. 2009).                                            jurisdiction over the remaining state-law claims, and dismiss
                                                                     all claims in this case. Because there is no just reason for
Beyond these usual reasons to decline to exercise                    delay, the Court will also direct entry of final judgment under
supplemental jurisdiction over the state-constitutional claims,      Federal Rule of Civil Procedure 54(b). An appropriate order
there are two additional reasons to do so here.                      follows.

First, the parties do not meaningfully address the state-
constitutional claims in their cross-motions for summary             All Citations
judgment, effectively treating them as coextensive with
                                                                     --- F.Supp.3d ----, 2020 WL 5997680



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                  EXHIBIT 4
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                                                              Carmen Golden sought to be re-elected to the St. Croix Board
                                                              of Elections in 2004. She enrolled as a Democrat, ran as a
                  2005 WL 6106401
                                                              candidate in the Democratic primary, and received the second
    Only the Westlaw citation is currently available.
                                                              highest number of votes. Because only four Democrats may
        FOR PUBLICATION-PRECEDENTIAL
              District Court of the Virgin                    sit on the St. Croix Board of Elections, 1 and three members
             Islands, Division of St. Croix.                  were sitting as Democrats, only one seat was certified for
                                                              the Democratic primary. 2 Therefore, Golden was not listed
       Carmen GOLDEN and Arnold M. Golden                     on the ballot as a Democrat in the general election held on
        individually and on behalf of the voters              November 2, 2004, in which four new members of the St.
          of the District of St. Croix, Plaintiff,            Croix Board of Elections were to be elected. See 18 V.I.C. §
                             v.                               357(a) (1998).
     GOVERNMENT OF THE VIRGIN ISLANDS,
      Virgin Islands Joint Board of Elections, St.            1      Title 18 V.I.C. § 41(b) (Supp.2004) provides in
      Croix Board of Elections, Evelyn James, as                     relevant part:
     Chairman of the St. Croix Board of Elections,                        Each board shall consist of seven (7) members
    John Abramson, Jr., as Supervisor of Elections,                       No more than four (4) members of the same
     Raymond Williams, Hope Gibson, and Mary                              political party including individuals who are
         Louise Moorehead Evans, Defendants.                              not affiliated with any political party shall be
                                                                          members of each Board.
     Nos. 1:05-CV-00005RLFGWC, CIV.2005/0005.
                                                              2
                          |                                          Title 18 V.I.C. § 343 (1998) requires that the
                    March 1, 2005.                                   Supervisor of Elections, prior to each primary,
                                                                     ascertain the public offices to be filled at the
Attorneys and Law Firms                                              ensuing general election for which candidates are
                                                                     to be nominated at the primary.
Pamela L. Colon, Esq., Christiansted, VI, for Plaintiffs.
                                                              Although Golden was not listed on the general election ballot,
Michael McLaurin, Department of Justice, Christiansted, VI,   Golden received write-in votes. When the votes were tallied,
for Government of the Virgin Islands, Virgin Islands Joint    Golden was the write-in candidate with the most votes, and
Board of Elections, St. Croix Board of Elections, Evelyn      the candidate with the fourth highest number of votes overall.
James, and John Abramson, Jr.                                 Accordingly, the Chairman of the St. Croix Board of Elections
                                                              notified Golden that she had been elected as a member of the
Hope Gibson, Gallow Bay Station, VI, Pro se.                  Board of Elections. See 18 V.I.C. § 4(b)(4) (1998). However,
                                                              shortly thereafter, the Chairman of the St. Croix Board of
Mary Louise Moorehead Evans, Frederiksted, VI, Pro se.
                                                              Elections informed Golden that, based on an opinion of
Krim M. Ballentine, St. Thomas, VI, Amicus Curiae.            the Attorney General which is not of record in this case,
                                                              the St. Croix Board of Elections had voted to decertify her
                                                              as the winning write-in candidate. The Court infers from
                                                              Golden's Complaint, that the reason for her decertification
               MEMORANDUM OPINION
                                                              was that the Democratic seats were full, and that since she
FINCH, J.                                                     was enrolled and elected as a Democrat, she could not take a
                                                              non-Democratic seat.
 *1 THIS MATTER comes before the Court on the Motion
for Preliminary Injunction filed by Plaintiffs Carmen and     Carmen and Arnold Golden bring this action as voters who
Arnold Golden. A hearing was held on such motion on           cast votes for Carmen Golden. They claim that since, from
February 23, 2005.                                            their point of view, Carmen Golden is entitled to a seat
                                                              on the St. Croix Board of Elections as the winning write-
                                                              in candidate, their votes have not been honored, effectively
I. Background
                                                              disenfranchising them.



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                                                                    that the facts as alleged do not state a claim for violation of
They assert that Golden is entitled to be a member of               any provision of the Voting Rights Act. Thus, the Government
the St. Croix Board of Elections for three reasons: (1)             Defendants argue, Plaintiffs have not met the jurisdictional
Two Democratic seats should have been certified for the             pleading requirement of Rule 8(a)(1) of the Federal Rules of
Democratic primary because one of the continuing members            Civil Procedure.
of the St. Croix Board of Elections had run and was elected
as an Independent candidate in the 2002 general election            The Government Defendants, however, overlook Plaintiffs'
and, therefore, should not have been seated as a Democrat;          allegations in paragraph 33 of the Complaint:
(2) Since an Independent can occupy a seat reserved for
a Democrat with impunity, then a Democrat may take an
Independent seat; and (3) Because Carmen and Arnold                              33. Defendants have violated (1) the
Golden cast their votes for a write-in candidate without                         First Amendment rights of Plaintiffs
specifying the candidate's party affiliation, then that write-                   by illegally discriminating in favor
in candidate, Carmen Golden, being the write-in candidate                        of Independent Williams over write-in
with the most votes, must be seated on the St. Croix Board of                    Golden; (2) the equal protection rights
Elections, regardless of her party affiliation.                                  of Plaintiffs by illegally discriminating
                                                                                 in favor of Independent Williams
                                                                                 over write-in Golden with no rational
II. Subject Matter Jurisdiction
                                                                                 reason or purpose; (3) the substantive
Defendants, Government of the Virgin Islands, Evelyn James,
                                                                                 due process right of Plaintiffs to a free
John Abramson, Jr. and Raymond Williams [hereinafter “the
                                                                                 and fair election, and (4) the rights of
Government Defendants], pursuant to Rule 12(b)(1) of the
                                                                                 Plaintiffs under the Voting Rights Act.
Federal Rules of Civil Procedure, contend that this Court
lacks subject matter jurisdiction

                                                                    In the first three clauses of paragraph 33, Plaintiffs claim
 *2 “Federal courts are courts of limited jurisdiction.”
                                                                    that the Government Defendants have violated their First and
Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S.
                                                                    Fourteenth Amendment constitutional rights. Read liberally,
375, 377 (1994). The burden of establishing subject matter
                                                                    “so as to do substantial justice” pursuant to Rule 8(f) of the
jurisdiction rests upon the party asserting jurisdiction. Id.
                                                                    Federal Rules of Civil Procedure, Plaintiffs are attempting to
When plaintiffs assert a non-frivolous federal claim, federal
jurisdiction is proper. Martin v. United Way of Erie County,        assert claims under 42 U.S.C. § 1983. 3 , 4 See Randall v.
829 F.2d 445, 447 (3d Cir.1987). On the other hand, if the right    United States, 95 F.3d 339, 346 (4th Cir.1996) (interpreting
claimed is “so insubstantial, implausible, foreclosed by prior      Rule 8(a)(1) in light of Rule 8(f)); see also Gardner v. First
decisions of [the Supreme Court], or otherwise completely           American Title Ins. Co., 294 F.3d 991, 994 (8th Cir.2002)
devoid of merit as not to involve a federal controversy,”           (recognizing that Rule 8(a)(1) is satisfied if the complaint
dismissal for lack of jurisdiction is appropriate. Kulick v.        “says enough about jurisdiction to create some reasonable
Pocono Downs, Racing Ass'n, Inc., 816 F.2d 895, 899 (3d             likelihood that the court is not about to hear a case that it is
Cir.1987) (quotation omitted).                                      not supposed to have the power to hear” (quotation omitted)).
                                                                    “Although a plaintiff must allege essential jurisdictional facts
The Government Defendant have made a facial attack to this          in a complaint, federal jurisdiction may be sustained on the
Court's jurisdiction, in that they contest the sufficiency of the   basis of a statute not relied on or alleged in the pleadings.”
pleadings. When a facial challenge is made pursuant to Rule         Randall, 95 F.3d at 346 (quoting Celli v. Shoell, 40 F.3d 324,
12(b)(1), the Court accepts the complaint's allegations as true.    328 (10th Cir.1994)).
Turicentro, S.A. v. American Airlines Inc., 303 F.3d 293, 300
n. 4 (3d Cir.2002).                                                 3      Indeed, on the date of the hearing on the
                                                                           preliminary injunction motion, Plaintiffs moved for
In the jurisdictional clause of the Complaint, Plaintiffs allege           leave to amend their Complaint to specify that the
that this Court has subject matter jurisdiction pursuant to 42             case is also brought pursuant to 42 U.S.C. § 1983.
U.S.C. § 1971 et seq., known as the Voting Rights Act of
                                                                    4
1965. Complaint, ¶ 1. The Government Defendants point out                  Title 42 U.S.C. § 1983 provides:


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             Every person who, under color of any statute,            Plaintiffs both voted for Carmen Golden. Carmen Golden
             ordinance, regulation, custom, or usage, of              received the highest number of write-in votes for a seat on the
             any State or Territory ..., subjects, or causes to       St. Croix Board of Elections. The St. Croix Board of Elections
             be subjected, any citizen of the United States           has now decertified Carmen Golden as the winning candidate,
             or other person within the jurisdiction thereof          and presumably will be certifying another candidate who
             to the deprivation of any rights, privileges, or         received fewer votes than she did. If Plaintiffs are correct and
             immunities secured by the Constitution and               Carmen Golden should have a place on the St. Croix Board of
             laws, shall be liable to the party injured in an         Elections, then by decertifying Golden, the St. Croix Board
             action at law, suit in equity, or other proper           of Elections has effectively disenfranchised Plaintiffs in that
             proceeding for redress....                               their votes have not counted.
 *3 If Plaintiffs have presented a substantial claim under
                                                                      Thus, the Court finds that Plaintiffs have stated a claim
section 1983, then the Court has subject matter jurisdiction
                                                                      under section 1983 for infringement of their right to
pursuant to 28 U.S.C. § 1343(a)(4) which states that “[t]he
                                                                      have their vote count in violation of the Fourteenth
district courts shall have original jurisdiction of any civil
action authorized by law to be commenced by any person: ...           Amendment's Equal Protection Clause. 6 See Pierce v.
(4)[t]o recover damages or to secure equitable or other relief        Allegheny County Board of Elections, 324 F.Supp.2d
under any Act of Congress providing for the protection                684, 694-95 (W.D.Pa.2003). Moreover, because Plaintiffs
of civil rights, including the right to vote.” See Rossello-          claim deprivation of a fundamental right protected by the
Gonzalez, 2004 WL 3143501, *9 (1st Cir., Dec. 15, 2005);              Constitution, even if the Court ultimately were to determine
Bonas v. Town of North Smithfield, 265 F.3d 69, 73 (1st               that Plaintiffs have failed to state a claim upon which relief
Cir.2001). “[F]ederal courts have jurisdiction over claims            may be granted under section 1983, the Court is not deprived
arising out of a state or local electoral dispute if, and to the      of subject matter jurisdiction. See Kulick, 816 F.2d at 898.
extent that, the complaint limns a set of facts that bespeaks
the violation of a constitutionally guaranteed right.” Bonas,         6      Because Plaintiffs have presented a substantial
265 F.3d at 73-74.                                                           claim for violation of their equal protection
                                                                             rights, the Court does not address Plaintiffs'
The right to vote is a “fundamental political right” Yick Wo v.              First Amendment or due process allegations in
Hopkins, 118 U.S. 356, 370 (1886), constitutionally protected                determining that it has subject matter jurisdiction.
in territorial, as well as federal elections, see Reynolds v. Sims,
377 U.S. 533, 554 (1964). Qualified electors have the right to        III. Standing
vote in territorial elections under the Equal Protection Clause        *4 Defendant Hope Gibson asserts that Plaintiffs lack
of the Fourteenth Amendment. 5 See Harper v. Virginia State           standing to pursue this matter in this Court. Standing is a core
Board of Elections, 383 U.S. 663, 665 (1966). The right to            component of the case-or-controversy requirement of Article
vote extends to all phases of the voting process, including           III of the United States Constitution. Luian v. Defenders of
having that vote actually count. See United States v. Mosley,         Wildlife, 504 U.S. 555.560 (1992). To have standing in federal
238 U.S. 383, 386 (1915). If a candidate were to be sworn             court, a plaintiff must allege an injury in fact caused by
in as an elected representative who received fewer votes than         the defendant that can be redressed by a favorable decision
another candidate, then each of the votes cast for the other          of the court. Id. at 560-61. Beyond Article IE standing, a
candidate would be ignored. Marks v. Stinson, 19 F.3d 873,            plaintiff must assert his own legal rights and interests, the
887 (3d Cir.1994). This would violate the constitutionally            plaintiff may not depend on generalized grievances, and “the
protected right to vote of those voters who had voted for the         plaintiffs complaint must fall within the zone of interests
candidate who received the most votes, but was not seated. Id.        to be protected or regulated by the statute or constitutional
                                                                      guarantee in questions.” Society Hill Towers Owners' Ass'n v.
5                                                                     Rendell, 210 F.3d 168, 178 (3d Cir.2000).
        The Equal Protection Clause of the Fourteenth
        Amendment has been extended to the United States
        Virgin Islands by section 3 of the Revised Organic            Here, Plaintiffs, who voted for Carmen Golden for a seat on
        Act of 1954, 48 U.S.C. § 1561, entitled “Bill of              the St. Croix Board of Elections, have alleged that Carmen
        Rights.”                                                      Golden, notwithstanding having received the most votes, has
                                                                      been decertified as the winning candidate. They allege that


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the St. Croix Board of Elections' decertification of Carmen          *5 The Court examines the merits of Plaintiffs' three
Golden has injured them in that the votes that they, personally,    principal arguments:
cast have not been honored. Plaintiffs request that this Court
take steps to preserve Carmen Golden's position on the St.
Croix Board of Elections by finding that the St. Croix Board           1. Raymond Williams' Seat
of Elections violated their constitutional rights as voters. Such   Plaintiffs maintain that the Court can provide them with relief
relief would provide Plaintiffs with a remedy.                      on the merits by finding that Raymond Williams, who ran
                                                                    as an Independent in the 2002 general election, has been
Thus, Plaintiffs have met the requirements for standing under       unlawfully given a seat on the St. Croix Board of Elections
Article HI, as well as the prudential considerations that           reserved for a member of the Democratic Party. Even if
standing implicates.                                                the Court were to find that find that Williams must occupy
                                                                    an Independent seat, Plaintiffs would not be afforded any
                                                                    relief. The St. Croix Board of Elections would be statutorily
IV. Abstention                                                      constrained from certifying Carmen Golden as an occupant
None of the parties have suggested that the Court abstain           of the Democratic seat released by Williams. Title 18 V.I.C.
in exercising its jurisdiction in this matter. Indeed, Plaintiffs   § 342 (1998) requires that all candidates of political parties
argue that this Court lacks the authority to abstain.               running for public offices be nominated and elected at primary
                                                                    elections. Section 342 provides in relevant part:
The Court has considered each of the various abstention
doctrines and finds none to be applicable in this matter.
In light of the Court's “virtually unflagging” obligation to                    Except as provided in sections 307 and
adjudicate claims within its jurisdiction, the Court concludes                  359 and as otherwise provided by law,
that it would be inappropriate to abstain in this case. See                     all candidates of political parties, as
Marks, 19 F.3d at 881 (quotation omitted).                                      defined in section 301 of this title, for
                                                                                public offices shall be nominated, ... at
                                                                                primary elections held in accordance
V. Preliminary Injunction Analysis
                                                                                with the provisions of this title and in
“[T]o obtain a preliminary injunction, plaintiffs must show
                                                                                no other manner.
both (1) that they are likely to experience irreparable harm
without an injunction and (2) that they are reasonably likely to
succeed on the merits.” Adams v. Freedom Forge Corp., 204
                                                                    (emphasis added). Carmen Golden was nominated, but lost
F.3d 475, 484 (3d Cir.2000). The Court must also consider
                                                                    the election at the Democratic primary. Since she lost the
whether granting preliminary relief will result in even greater
                                                                    Democratic primary, she was not placed on the ballot for
harm to the nonmoving party and whether granting the
                                                                    the general election, 18 V.I.C. § 357 (1998), and she was
preliminary relief will be in the public interest. Council of
                                                                    precluded from being seated as a Democrat, see 18 V.I.C. §
Alternative Political Parties v. Hooks, 121 F.3d 876, 879 (3d
                                                                    342.
Cir.1997).

                                                                    Plaintiffs also theorize that if the Court finds that Williams
   A. Irreparable Harm                                              had been improperly seated as a Democrat, two seats would
Violation of Plaintiffs' constitutional right will cause them       have been open at the Democratic primary, and since Carmen
irreparable injury. Council of Alternative Political Parties        Golden received the second most votes at the Democratic
v. Hooks, 121 F.3d 876, 883 (3d Cir.1997). If Plaintiffs'           primary, she would likely have had a spot on the ballot, and
exercise of their voting rights is burdened by the improper         would likely have won the second-most votes in the general
decertification of the winning candidate for whom Plaintiffs'       election.
cast their vote, Plaintiffs will be irreparably harmed. Thus, the
first factor is satisfied.                                          Not only does this chain of logic involve considerable
                                                                    speculation, what Plaintiffs seek is federal overturning of
                                                                    the territorial primary election because only one Democratic
  B. Likelihood of Success                                          seat was certified instead of two. Yet, just as Plaintiffs have



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raised a challenge now, Plaintiffs could have challenged the        §§ 302, 344(a) (1998). Golden could have changed her party
availability of only one Democratic seat before the primary         enrollment up until 30 days before the general election, which
election. Although the Court has the power to invalidate            was held on November 2, 2004. See 18 V.I.C. § 91 (1998).
constitutionally infirm elections, Hadnott v. Amos, 394 U.S.        Golden does not allege that she did so. Any change to her
358, 367 (1969), equitable considerations must be taken             party enrollment after the general election would not alter the
into account. See Soules v. Kauaians Nukolii Campaign               fact that she was registered as a Democrat at the time that she
Committee, 849 F.2d 1176, 1180 (9th Cir.1988). Laches bars          received the greatest number of write-in votes at the general
post-election relief when the party seeking such relief has         election. Again, because she did not win at the Democratic
lacked diligence, and when the party asserting the laches           primary, she could not be seated as a Democrat. See 18 V.I.C.
defense will be prejudiced. Costello v. United States, 365 U.S.     § 342.
265, 282 (1961). The Court must consider “the extremely
disruptive effect of election invalidation and the havoc it
wreaks upon local political continuity.” Soules, 849 F.2d at           3. Validity of Statute Concerning Election of Party
1180.                                                                  Members
                                                                    Finally, the Court cannot fully resolve this matter without
Plaintiff Carmen Golden, as a member of the St. Croix Board         reaching the constitutional question raised by Amicus Curiae
of Elections, and Plaintiff Arnold Golden, her husband, were        Krim Ballentine, and apparently adopted by Plaintiffs. See
well aware that only one seat had been certified for the            Opp. to Mot. to Dismiss filed by Def. Gibson, at 13, 14;
Democratic primary, when they believed that two seats should        Opp. to Mot. to Dismiss filed by Gov. Defs. at 12. Ballentine
have been certified. They lacked diligence by waiting to see        asks the Court to find that to require candidates who are
whether their candidate of choice won the one certified seat,       affiliated with a party to be elected by their party before
before bringing a legal action arguing that a second seat           they can be certified for an elected position, even if they
should have been certified. The doctrine of laches bars such        received the highest number of votes as a write-in candidate,
post-election “sandbagging on the part of wily plaintiffs.”         is unconstitutional. According to Ballentine, this denies the
Id. “[T]he failure to require pre-election adjudication would       electorate equal protection in that a voter may write-in a
permit, if not encourage, parties who could raise a claim to        candidate of choice without knowing the candidate's political
lay by and gamble upon receiving a favorable decision of            affiliation. The voter may intend to cast a vote for the
the electorate and then, upon losing, seek to undo the ballot       candidate regardless of the candidate's party. Instead, if the
results in a court action.” Id. (quotations omitted). Because       write-in candidate belongs to a political party, the vote will be
Plaintiffs, without adequate explanation, did not raise their       effectively ignored, disenfranchising the voter.
challenge in an appropriate forum before the election, they are
barred by the doctrine of laches from the equitable relief of       In deciding whether 18 V.I.C. § 342, the law requiring that
overturning the results of the election. See id.                    candidates affiliated with a party be elected by the party at
                                                                    a primary election, violates the Equal Protection Clause, the
                                                                    Court must determine the appropriate standard of review. See
   2. Seating Carmen Golden as an “Independent.”                    Donatelli v. Mitchell, 2 F.3d 508, 513 (3d Cir.1993). Because
 *6 Second, Plaintiffs suggest that if an Independent               the law does not affect any suspect classes or infringe any
candidate can be seated as a Democrat, then a Democrat can          fundamental constitutional rights, the Court applies rational-
be seated as an Independent. “Two wrongs do not make a              basis review. Id. That a law imposes a burden on the right
right.” Plaintiffs constitutional rights would not be vindicated    to vote does not make it subject to strict scrutiny. Id. “Under
by further violation of the election statutes intended to protect   rational-basis review, the challenged classification must be
their fundamental right to vote.                                    upheld if there is any reasonably conceivable state of facts
                                                                    that could provide a rational basis for the classification.” Id.
Plaintiffs state that after the general election, Carmen Golden     (quotation omitted). “[R]ational-basis review under the Equal
changed her status from a Democrat to an Independent, and           Protection Clause is not a license for courts to judge the
argue that now that Carmen Golden is no longer a Democrat,          wisdom, fairness, or logic of legislative choices.” Id. at 514
she should be seated as an Independent. Although Carmen             (quotation omitted).
Golden's Voter Registration card indicates “No Party,” to
be a nominated candidate for election at the Democratic              *7 The Supreme Court recognized in Storer v. Brown, that
primary, she must have enrolled as a Democrat. 18 V.I.C.            “there must be a substantial regulation of elections if they


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are to be fair and honest and if some sort of order, rather
than chaos, is to accompany the democratic processes.” 415    Id. at 734-35 (footnotes and statutory citations omitted).
U.S. 724, 730 (1974). The Storer decision addressed a claim
from a candidate that had been recently affiliated with the   Other points the Supreme Court enunciated as favoring
Democratic Party, but desired to be placed on the ballot as   limiting a candidate affiliated with a party from running
an Independent candidate, which was not permitted under       immediately as an Independent are:
California law without a year's lapse. The Court wrote:

                                                                           It protects the direct primary
            After long experience, California                              process by refusing to recognize
            came to the direct party primary                               independent candidates who do not
            as a desirable way of nominating                               make early plans to leave a party
            candidates for public office A                                 and take the alternative course to the
            candidate in one party primary may                             ballot. It works against independent
            not now run in that of another; if he                          candidacies prompted by short-range
            loses in the primary, he may not run as                        political goals, pique, or personal
            an independent; and he must not have                           quarrel. It is also a substantial barrier
            been associated with another political                         to a party fielding an “independent”
            party for a year prior to the primary.                         candidate to capture and bleed off
            The direct party primary in California                         votes in the general election that might
            is not merely an exercise or warm-up                           well go to another party.
            for the general election but an integral
            part of the entire election process, the
            initial stage in a two-stage process by           Id. at 735. The Supreme Court found California's interest in a
            which the people choose their public              period of disaffiliation with a party before being elected as an
            officers. If functions to winnow out              Independent to be “not only permissible, but compelling.” Id.
            and finally reject all but the chosen
            candidates. The State's general policy            The Virgin Islands statute requiring candidates with a party
            is to have contending forces within the           affiliation to be elected only through the primary process,
            party employ the primary campaign                 18 V.I.C. § 342, is rational and compelling for many of
            and primary election to finally settle            the reasons expressed in Storer. Allowing a Democratic or
            their differences. The general election           Republican candidate to lose in the primary, maintain his
            ballot is reserved for major struggles;           or her party affiliation and compete against the Democratic
            it is not a forum for continuing                  or Republican primary winner as a write-in candidate will
            intraparty feuds. The provision against           result in intraparty feuding. Allowing the party candidates to
            defeated primary candidates running               challenge each other a second time at the general election
            as independents effectuates this aim,             would defeat the whole purpose of holding a primary election.
            the visible result being to prevent the           The electorate would not winnow out and finally reject all
            losers from continuing the struggle and           but the chosen candidate at the primary election. Some of
            to limit the names on the ballot to               the same contenders of the same party affiliation would
            those who have won the primaries and              be available to them as write-in candidates at the general
            those independents who have properly              election.
            qualified. The people, it is hoped, are
            presented with understandable choices              *8 Section 342 tends to preserve the two-stage election
            and the winner in the general election            process and to reduce intraparty feuding. It would be
            with sufficient support to govern                 undermined if write-in candidates could be certified
            effectively.                                      regardless of their party affiliation. Because section 342 has
                                                              a rational basis, as well as serves a compelling interest,
                                                              Ballentine's equal protection constitutional challenge fails.



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                                                                        relief would result in greater harm to Defendants or would be
                                                                        in the public interest.
VI. Conclusion
After reviewing all of Plaintiffs' arguments in support of the          For the foregoing reasons, Plaintiffs' Motion for a Preliminary
certification of Carmen Golden as a member of the St. Croix             Injunction is DENIED.
Board of Elections, the Court finds no likelihood of success on
the merits. Plaintiffs have failed to establish an adequate basis
                                                                        All Citations
for entering a preliminary injunction. Because the Court finds
that preliminary injunctive relief is not warranted, it need            Not Reported in F.Supp.2d, 2005 WL 6106401
not consider the remaining two factors-whether granting such

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                  EXHIBIT 5
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Gourgue v. U.S., Not Reported in F.Supp.2d (2013)


                                                                 Gourgue was released on February 23, 2011, and he was told
                                                                 his detention was the result of an administrative error.
                  2013 WL 1797099
    Only the Westlaw citation is currently available.
                                                                 Gourgue asserts eight causes of action related to the alleged
             United States District Court,
                                                                 wrongful detention: (1) a Bivens claim for false arrest,
                   S.D. California.
                                                                 imprisonment, and slavery against Does 1–100; (2) violation
        Alan GOURGUE, an individual, Plaintiff,                  of the California Unruh Act against all defendants; (3) false
                           v.                                    imprisonment against all defendants; (4) battery against all
            UNITED STATES of America, as a                       defendants; (5) intentional infliction of emotional distress
                                                                 against all defendants; (6) negligent infliction of emotional
           sovereign governmental entity, and
                                                                 distress against all defendants; (7) negligence against all
            Does 1–100, inclusive, Defendant.
                                                                 defendants and (8) negligent supervision and training against
                   No. 12CV–1490–LAB.                            the Government. He seeks general, special, and punitive
                             |                                   damages, and attorney's fees.
                      April 29, 2013.
                                                                 The Government's motion to dismiss Gourgue's eighth cause
Attorneys and Law Firms                                          of action for negligent supervision and training, and its motion
                                                                 to strike Gourgue's request for attorney's fees and punitive
William C. Halsey, Law Offices of William C. Halsey,             damages for his FTCA claims, are based on the argument that
Oceanside, CA, for Plaintiff.                                    neither is permissible under the FTCA.
Ernest Cordero, Jr., U.S. Attorney's Office, Southern District
of California, San Diego, CA, for Defendant.                        II. The negligent supervision and training claim
                                                                 Generally, courts do not have jurisdiction over claims against
                                                                 the government by virtue of its sovereign immunity. U.S.
ORDER (1) GRANTING MOTION TO DISMISS EIGHTH                      v. Testan, 424 U.S. 392, 399, 96 S.Ct. 948, 47 L.Ed.2d
  CAUSE OF ACTION, AND (2) GRANTING MOTION                       114 (1976). Under the FTCA, the government waives its
 TO DISMISS REQUESTS FOR PUNITIVE DAMAGES                        sovereign immunity to the extent a private person would be
   AND ATTORNEY'S FEES FOR THIRD, FOURTH,                        liable in tort under local law. U.S. v. Olson, 546 U.S. 43,
 FIFTH, SIXTH, AND SEVENTH CAUSES OF ACTION                      126 S.Ct. 510, 163 L.Ed.2d 306 (2005). However, the FTCA
                                                                 includes exceptions to this waiver of sovereign immunity.
LARRY ALAN BURNS, District Judge.
                                                                 Terbush v. U.S., 516 F.3d 1125, 1129 (9th Cir.2008). When an
 *1 Plaintiff Alan Gourgue alleges that he was wrongfully        exception to the FTCA applies, the court lacks jurisdiction,
arrested and detained for deserting a Marine Corp reserve        and the claim must be dismissed. See Nurse v. U.S., 226
unit. Now pending before the Court is the Government's           F.3d 996, 1000 (9th Cir.2000). The discretionary function
motion to dismiss Gourgue's claim against the United States      exception is one of these exceptions, and it prevents the
for negligent supervision and training, along with its motion    government's waiver of sovereign immunity from extending
to strike his request for punitive damages and attorney's fees   to discretionary acts that are grounded in considerations of
for claims brought under the Federal Tort Claims Act.            “social, economic, and political policy.” Varig Airlines, 467
                                                                 U.S. 797, 814, 104 S.Ct. 2755, 81 L.Ed.2d 660 (1984); 28
                                                                 U.S.C. 1680(a). To survive a motion to dismiss for lack of
   I. Background                                                 subject matter jurisdiction, the plaintiff must make out a claim
Gourgue alleges that he was honorably discharged from the        that is “facially outside the discretionary function exception.”
U.S. Marine Corps on September, 23, 2006 but had reserve         Doe v. Holy See, 557 F.3d 1066, 1084 (9th Cir.2009).
obligations through September 10, 2010. He was arrested on
January 22, 2011 in New Orleans for deserting the Corps,          *2 To determine whether the discretionary function
and four days later he was transported to Camp Pendleton         exception applies, courts apply the two-part test articulated
in California. There, he was advised he was being detained       in Berkovitz by Berkovitz v. U.S., 486 U.S. 531, 108 S.Ct.
for deserting a reserve unit in December 2008. However,          1954, 100 L.Ed.2d 531 (1988). U.S. v. Gaubert, 499 U.S.
                                                                 315, 1249–50, 111 S.Ct. 1267, 113 L.Ed.2d 335 (1991).


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First, the decision must be discretionary, that is, a decision    is susceptible to a policy analysis. The Government would
that involves “an element of judgment or choice.” Myers           consider the need to have welltrained officers pursing
v. U.S., 652 F.3d 1021, 1028 (9th Cir.2011). A decision           deserters, and the public's interest in ensuring individual
will involve judgment or choice when it is not guided             officers' constitutional rights are protected. It would balance
by specific requirements in a statute, regulation, or policy.     the effectiveness of potential methods of training and
See Kelly v. U.S., 241 F.3d 755, 761 (9th Cir.2001). For          supervising against the economic use of resources.
example, in Kelly v. U.S., the Forest Service's decision to
not require its pilots to have Crew Resource Management            *3 Therefore, this court lacks subject matter jurisdiction
(CRM) training was discretionary because while the Forest         over Gourgue's claim for negligent supervision and training
Service's Accident Plan required human factor training, it        against the Government because it falls within the
did not require CRM training specifically. Id. at 760–1.          discretionary function exception of the FTCA.
Second, the decision must be of the kind the exception was
intended to protect—one that is based on considerations
of “ ‘social, economic or political policy.’ “ U.S. v. Varig         III. Attorney's fees and punitive damages
Airlines, 467 U.S. 797, 814, 104 S.Ct. 2755, 81 L.Ed.2d           The Government argues that punitive damages and attorney's
660 (1984); see Myers v. U.S., 652 F.3d 1021, 1028 (9th           fees are not authorized by the FTCA. Gourgue argues in
Cir.2011). For example, in Gager v. U.S., the Postal Service's    response that the Government's motion to strike under 12(f)
decision to not provide universal training and supervision in     fails because it is the incorrect vehicle in which to challenge
mail bomb detection was the kind of discretionary decision        remedies that are unavailable as a matter of law, and that the
the exception was designed to protect because the Postal          Government should have moved to dismiss these forms of
Service's decision necessarily implicated the balancing of        relief under 12(b).
safety, efficiency, and economic considerations. 149 F.3d 918,
921–2 (9th Cir.1998). Additionally, the focus of the analysis     The Government is correct that the FTCA does not allow the
is whether the decisions is “susceptible” to a policy analysis,   award of punitive damages and attorneys' fees. The FTCA
not whether the individual decision maker actually considered     specifically prohibits the award of punitive damages. 28
such policies. Terbush v. U.S., 516 F.3d 1125, 1131 (9th          U.S.C. 2674 (“The United States ... shall not be liable ...
Cir.2008).                                                        for punitive damages.) Additionally, the Ninth Circuit has
                                                                  held that the U.S. government has not waived its sovereign
In this case, Gourgue has not made out a claim that is            immunity in respect to attorney's fees. Anderson v. U.S., 127
facially outside the discretionary function exception. First,     F.3d 1190 (9th Cir.1997) (“The FTCA does not contain an
he has failed to identify any specific requirement in a           express waiver of sovereign immunity for attorneys' fees and
statute, regulation, or policy that prevents the Government       expenses.”). Because Gourgue does not argue that such relief
from exercising discretion in training and supervising            is authorized under the FTCA, the only contention is that
its employees. Gourgue's argument that the Government's           the Government's motion is ineffective as a matter of civil
training and supervision of employees is non-discretionary        procedure.
because it violates the Constitution is unconvincing. The
Constitution does not set forth specific requirements the         The Court acknowledges that Whittlestone prohibits the use
Government must take in training or supervising its               of Rule 12(f) to strike damages that are unavailable as a matter
employees. This argument is even weaker than that made            of law. See Whittlestone Inc. v. Handi-craft Co., 618 F.3d
by the plaintiffs in Kelly because the plaintiffs in that case    970, 974 (9th Cir.2010). However, the law remains unclear
at least relied on relevant guidelines that were simply too       in California, in light of the fact that requests for punitive
broad to eliminate the defendants' exercise of judgment,          damages are “merely a remedy,” and not an independent cause
while Gourgue has failed to present any relevant guidelines       of action. See Garcia v. M–F Athletic Co., No. CV 11–2430
governing the Government's supervision and training of            WBS GGH, 2012 WL 531008, *4 n. 4 (E.D.Cal.2012). Even
employees.                                                        after the Whittlestone holding, district courts in California
                                                                  have approved the use of 12(f) to strike damages that are
Second, the Government's decision of how to train and             unavailable as a matter of law. See I.R. ex rel. Nava v. City of
supervise its employees is the kind of decision that the          Fresno, No. AWI GSA, 2012 WL 3879974 (E.D.Cal.2012);
discretionary function was designed to protect because it         Susilo v. Wells Fargo Bank, N.A., No. CV 11–1814 CAS, 796
                                                                  F.Supp.2d 1177, 1196 (C.D.Cal.2011).


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                                                                    For the reasons set forth above, the Government's motion
                                                                    to dismiss Gourgue's eighth cause of action for negligent
Notwithstanding this ambiguity, the Government contends
                                                                    supervision and training is GRANTED. The Government's
it also filed the motion under Rule 12(b)(6). Even if the
                                                                    motion to dismiss Gourgue's request for punitive damages
government failed to do so, when a motion is in substance
                                                                    and attorneys' fees with respect to Gourgue's Third, Fourth,
a rule 12(b)(6) motion to dismiss, but incorrectly labeled as
                                                                    Fifth, Sixth, Seventh and Eighth causes of action against the
a rule 12(f) motion to strike, the court may convert it into
                                                                    Government is also GRANTED.
a rule 12(b)(6) motion. See Canfield v. Atlas Storage South
Bay, No. 12–CV–1574–IEG (WVG), 2012 WL 4062479 *2
                                                                    *4 IT IS SO ORDERED.
(S.D.Cal.2012). Therefore, the Government properly moved
to dismiss Gourgue's request for punitive damages and
attorney's fees for his FTCA claims.                                All Citations

                                                                    Not Reported in F.Supp.2d, 2013 WL 1797099
  IV. Conclusion

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                  EXHIBIT 6
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White v. Alcon Film Fund, LLC, Not Reported in F.Supp.2d (2013)


                                                              registered that version with the United States Copyright
                                                              Office.
                 2013 WL 12067479
    Only the Westlaw citation is currently available.
                                                              In August 2009, White sent a pre-publication copy of the
             United States District Court,
            N.D. Georgia, Atlanta Division.                   book 2 to Matt Alvarez, president of Cube Vision. Having
                                                              heard that Cube Vision was potentially producing a television
               Franklin White, Plaintiff,                     series on ABC that would star NBA basketball star Lebron
                         v.                                   James, White sent the book as a writing sample so that he
       Alcon Film Fund, LLC, et al., Defendants.              might be considered for a writing position for the series.

    CIVIL ACTION FILE NUMBER 1:13-cv-1163-TCB                 2      Because the hardback version was already in print
                        |
                                                                     at this time, presumably White means that he sent
                Signed 08/13/2013
                                                                     a pre-publication version of the paperback book.
Attorneys and Law Firms                                       In August 2009, Defendants began pre-production for a
                                                              motion picture entitled Lottery Ticket (“the film”). The film
Alan Stuckey Clarke, The Entertainment Law Group Alan S.
                                                              was shot in Atlanta between October 2009 and August 2010.
Clark & Associates, LLC, Atlanta, GA, for Plaintiff.
                                                              Following completion, the film was distributed nationwide
Anthony D. Sbardellati, Gerald L. Sauer, Sauer & Wagner,      by Warner Brothers Pictures and its parent company, Time
LLP, Los Angeles, CA, Alexandra Jacqueline Chanin,            Warner. On March 16, 2011, Alcon Film Fund filed a federal
Thompson Hine LLP, Gary S. Freed, Freed Howard, LLC,          copyright registration of the film with the United States
Atlanta, GA, for Defendants.                                  Copyright Office.

                                                              On April 4, 2011, White's previous counsel sent a demand
                                                              letter to Warner Brothers Pictures, Alcon Entertainment
                          ORDER
                                                              and Cube Vision, informing them that the film constitutes
Timothy C. Batten, Sr., United States District Judge          infringement of the book. White received no response.

 *1 In this copyright infringement action, Defendants Alcon   Subsequently, on April 9, 2013, White filed this action
Film Fund, LLC, Alcon Entertainment, LLC, Cube Vision         against Defendants. The next day, White filed an amended
Inc., Warner Brothers Pictures, and Time Warner, Inc. move    complaint, asserting claims for copyright infringement, unjust
to dismiss Plaintiff Franklin White's claims for conversion   enrichment and conversion. White avers that the film is a
and unjust enrichment and request that the Court strike the   derivative work of the book, copying its key plot elements,
portions of White's second amended complaint in which he      characters, events and sequences. On July 23, White filed a
seeks punitive damages [15].                                  second amended complaint. 3

                                                              3
I. Background 1                                                      Because Defendants did not object to White's
1                                                                    motion, the Court granted the motion to amend.
       The Court's July 9, 2013 order ruling on                      However, the Court noted in its order that because
       Defendants' motion to transfer venue noted that               the second amended complaint did not change any
       for purposes of providing a background for                    of the allegations in the complaint—it simply drops
       that motion, documents attached to the amended                Warner Brother Pictures, Inc. as a Defendant and
       complaint had been cited in order to fill in factual          adds Warner Brothers Pictures—the Court would
       gaps in the amended complaint. The facts set forth            apply the parties' arguments regarding Defendants'
       here are solely those alleged in White's second               motion to dismiss the amended complaint to the
       amended complaint.                                            second amended complaint, i.e., Defendants would
In November 2005, White's book First Round Lottery Pick              not be required to file an additional motion to
(“the book”) was published in hardback. In March 2010,               dismiss the second amended complaint.
the paperback version of the book was released, and White


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 *2 In Defendants' motion to dismiss, they argue that to             2011). But the court need not accept the plaintiff's legal
the extent White's conversion claim relates to copyrightable         conclusions, nor must it accept as true legal conclusions
material expressed in his book, his claim is preempted by            couched as factual allegations. Iqbal, 556 U.S. at 678. Thus,
the Copyright Act. They further argue that as far as White's         evaluation of a motion to dismiss requires two steps: (1)
conversion claim relates to non-copyrightable material, i.e.,        eliminate any allegations in the complaint that are merely
ideas not protected by the Copyright Act, he has failed to           legal conclusions, and (2) where there are well-pleaded
sufficiently plead a claim for conversion. Next, Defendants          factual allegations, “assume their veracity and ... determine
contend that White's claim for unjust enrichment fails because       whether they plausibly give rise to an entitlement to relief.”
White failed to plead novelty and his averments make clear           Id. at 679.
that he did not expect compensation for the disclosure of his
ideas. Finally, Defendants request that the Court strike the
references to punitive damages in White's complaint because            B. Analysis
punitive damages are not available under the Copyright
Act and White has failed to plead any facts supporting his                                  1. Conversion
recovery of punitive damages under Georgia law.
                                                                     White avers that Defendants “unlawfully and wrongfully
                                                                     converted for their own use in the Film [his] specific and
II. Discussion                                                       identifiable ideas as expressed in the Book” and have not
                                                                     compensated him for such use. Defendants argue that to the
   A. Legal Standard
                                                                     extent White's conversion claim is based on copyrightable
Under Federal Rule of Civil Procedure 12(b)(6), a claim will
                                                                     material, his claim is preempted by the Copyright Act.
be dismissed for failure to state a claim upon which relief can
                                                                     Defendants alternatively contend that if White's claim for
be granted if it does not plead “enough facts to state a claim to
                                                                     conversion is based on Defendants' alleged use of non-
relief that is plausible on its face.” Bell Atl. Corp. v. Twombly,
                                                                     copyrightable ideas, his claim must be dismissed because
550 U.S. 544, 547 (2007). The Supreme Court has explained
                                                                     White has not pled that he disclosed any ideas in confidence
this standard as follows:
                                                                     or that the allegedly converted ideas were novel.

                                                                     To determine whether a state-law claim is preempted by
             A claim has facial plausibility when                    federal copyright law, courts engage in a two-step analysis
             the plaintiff pleads factual content that               pursuant to 17 U.S.C. § 301. Crow v. Wainwright, 720
             allows the court to draw the reasonable                 F.2d 1224, 1225-26 (11th Cir. 1983). A state-law claim is
             inference that the defendant is liable                  preempted if (1) the work is within the scope of the subject
             for the misconduct alleged. The                         matter of copyright as specified in 17 U.S.C. §§ 102-103, and
             plausibility standard is not akin to a                  (2) the rights granted under state law are equivalent to any
             “probability requirement,” but it asks                  exclusive rights within the scope of 17 U.S.C. § 106. Id.
             for more than a sheer possibility that a
             defendant has acted unlawfully.                         Regarding the second prong, the Eleventh Circuit has
                                                                     recognized that the Copyright Act “preempts only those
                                                                     state law rights that may be abridged by an act which, in
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal citation       and of itself, would infringe one of the exclusive rights
omitted). Thus, a claim will survive a motion to dismiss only        provided by federal copyright law.” Foley v. Luster, 249 F.3d
if the factual allegations in the complaint are “enough to raise     1281, 1285 (11th Cir. 2001) (quoting Computer Assocs. Int'l,
a right to relief above the speculative level.” Twombly, 550         Inc. v. Altai, Inc., 982 F.2d 693, 716 (2d Cir. 1992)). The
U.S. at 555.                                                         exclusive rights under the Copyright Act include the right to
                                                                     reproduce the copyrighted work, to prepare derivative works,
In considering a defendant's motion to dismiss under Rule            and to distribute copies to the public. 17 U.S.C. § 106. In
12(b)(6), the allegations in the complaint must be accepted          determining whether the second prong is met, the Eleventh
as true and construed in the light most favorable to the             Circuit “employs an ‘extra element’ test such that ‘if an extra
plaintiff. Powell v. Thomas, 643 F.3d 1300, 1302 (11th Cir.          element is required instead of or in addition to the acts of



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reproduction, performance, distribution or display, in order to   element rendering the conversion claim qualitatively different
constitute a state-created case of action, then the right does    from a copyright claim.”); Jaggon v. Rebel Rock Entm't,
not lie within the general scope of copyright and there is no     No. o9-61144-civ, 2010 WL 3468101, at *10-11 (S.D. Fla.
preemption.’ ” Lipscher v. LRP Publ'ns, Inc., 266 F.3d 1305,      Sept. 10, 2010) (“[Plaintiff's] claim for conversion of his
1311 (11th Cir. 2001) (quoting Foley, 249 F.3d at 1285).          musical composition does not contain any extra elements
                                                                  that render the claim qualitatively different from a copyright
                                                                  infringement claim.”); Bella Builders, Inc. v. Minghenelli,
                                                                  No. 2:08-cv-144-FTM-29DNF, 2008 WL 4569880, at *2
                 a. Copyrightable Material
                                                                  (M.D. Fla. Oct. 14, 2008) (plaintiff's claim for conversion
 *3 White alleges that Defendants have wrongly appropriated       of architectural plans met both prongs of preemption test).
portions of his book. Section 102(a) of the Copyright Act         Therefore, to the extent that White claims conversion of
protects certain works of authorship, including literary works,   copyrightable material, his claim will be dismissed.
and thus the book is clearly copyrightable material pursuant
to the Copyright Act; White does not argue otherwise.
Therefore, the first prong of the preemption test is met, and                   b. Non-copyrightable Material
the sole issue remaining is whether the rights alleged are
equivalent to the exclusive rights under § 106 of the Copyright   The Eleventh Circuit has found that by definition, ideas
Act.                                                              fall outside the protection afforded by § 102 and thus fail
                                                                  the first prong of the preemption test. See Dunlap v. G&L
The “gravamen of conversion is ‘an act of dominion over the       Holding Grp., Inc., 381 F.3d 1285, 1295 (11th Cir. 2004)
personal property of another inconsistent with his rights.’ ”     (“Therefore, because ideas are substantively excluded from
PHA Lighting Design, Inc. v. Kosheluk, No. 1:08-cv-1208-          the protection of the Copyright Act, they do not fall within
JOF, 2010 WL 1328754, at *9 (N.D. Ga. Mar. 30, 2010)              the subject matter of copyright.”); 17 U.S.C. § 102(b) (“In
(citing Levenson v. Word, 668 S.E.2d 763, 765 (Ga. Ct.            no case does copyright protection for an original work of
App. 2008)). Because § 106 protects a copyright holder's          authorship extend to any idea ... regardless of the form in
exclusive right to prepare derivative works based upon            which it is described, explained, illustrated, or embodied in
the copyrighted work, the rights White seeks to protect in        such work.”). Accordingly, conversion claims based upon
bringing his conversion claim are equivalent to those afforded    non-copyrightable ideas are not preempted by the Copyright
by the Copyright Act. Thus, there is no extra element that        Act. Dunlap, 381 F.3d at 1297. Thus, the question remains
renders White's conversion claim qualitatively different from     whether White has sufficiently alleged a claim of conversion
a copyright infringement claim, and his claim fails the second    based on a misappropriation of his non-copyrightable ideas.
prong of the preemption test. See id. (“[T]he Court cannot find   The Court finds that he has not.
an extra element that would render [the plaintiff's] statutory
interference with property claim qualitatively different from      *4 To sustain a claim for conversion of a non-copyrightable
a claim under the Copyright Act.”).                               idea, White must prove that (1) his idea was novel, (2) he
                                                                  disclosed the idea in confidence, (3) Defendants adopted and
Accordingly, to the extent that White's claim for conversion      made use of the idea, and (4) the idea was sufficiently concrete
is based on Defendants' use of copyrighted material from          in its development to be usable. Wilson v. Barton & Ludwig,
his book to make the film, i.e., Defendants' copying of           296 S.E.2d 74, 77 (Ga. Ct. App. 1982).
elements in making an unauthorized derivative work, that
claim is encompassed by the protections afforded by the           First, White has not averred conversion of any non-
Copyright Act and thus is preempted. See Ctr. for Transp.         copyrightable ideas. He alleges that Defendants converted his
& the Env't, Inc. v. Ga. Aquarium, Inc., No. 1:05-cv-2790-        “specific and identifiable ideas as expressed in the Book.”
CAP, 2006 WL 278389, at *3 n.3 (N.D. Ga. Feb. 1,                  However, he never identifies any specific ideas that he claims
2006) (“To the extent that [the plaintiff's] conversion claim     Defendants have converted. Cf. Dunlap, 381 F.3d at 1293
alleges that [the defendant] misappropriated copyrightable        (plaintiff had idea for Internet bank that catered to gay and
subject matter, this claim meets both requirements of the         lesbian community); Jones v. Turner Broad. Sys., Inc., 389
preemption test; the claimed rights fall within the subject       S.E.2d 9, 10 (Ga. Ct. App. 1989) (plaintiff claimed she
matter of copyright and the conversion claim alleges no extra     developed the idea for a news program that would emphasize



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the positive aspects of the news and society); Murray v. Nat'l     the television series. Although White argues that he disclosed
Broad. Co., 671 F. Supp. 236, 239 (S.D.N.Y. 1987) (plaintiff       to Cube Vision a “vision,” his letter does not express any
proposed thirty-minute weekly series centering around a            particular vision; it simply states that he believes that the
black-middle class American family and starring Bill Cosby         vision he expresses in his book touches aspects of the
as the father); Wrench LLC v. Taco Bell Corp., 256 F.3d            proposed project. His vague reference to his “vision” fails to
446, 450-51 (6th Cir. 2001) (plaintiffs alleged that defendant     disclose a “sufficiently concrete” idea.
used their idea of using a live chihuahua, based on plaintiffs'
character “Pyscho Chihuahua,” a clever, feisty little dog with     4      White's letter to Cube Vision, attached as Exhibit
a big-dog attitude, in defendant's advertising); SCQuARE                  C to the first amended complaint, is properly
Int'l, Ltd. v. BBDO Atlanta, Inc., 455 F. Supp. 2d 1347,                  considered for the purposes of Defendants' motion
1360 (N.D. Ga. 2006) (plaintiff claimed a specific method                 to dismiss. See FED. R. CIV. P. 10(c) (“A statement
for identifying and analyzing business problems). Rather,                 in a pleading may be adopted by reference
White's complaint indicates that what he seeks to protect is his          elsewhere in the same pleading or in any other
book. As set forth above, the book constitutes copyrightable              pleading or motion. A copy of a written instrument
material, and conversion claims based upon it are preempted.              that is an exhibit to a pleading is a part of the
                                                                          pleading for all purposes.”); Bickley v. Caremark
Further, the letter that White submitted to Cube Vision does              RX, Inc., 461 F.3d 1325, 1329 n.7 (11th Cir. 2006)
not evidence any disclosure of non-copyrightable ideas. 4 In              (construing documents attached to a complaint
the letter, White states:                                                 as part of complaint for purposes of motion to
                                                                          dismiss).
  I am interested in the possibilities of becoming involved
                                                                          The Court also notes that although White did not
  as a writer on the proposed upcoming series/pilot that
                                                                          attach the letter to his second amended complaint,
  Cube Vision along with Lebron James currently have in
                                                                          the Court construes this omission as the equivalent
  development. I believe the vision in [First Round Lottery
                                                                          of a scrivener's error and considers the letter as
  Pick] touches many of the attributes of the proposed project
                                                                          though it was actually filed as an exhibit to the
  and that I could be a major asset to its creation.
                                                                          second amended complaint.
  This book is a part of my series “The Vil” which is a             *5 Third, not having pled any specific ideas, White also
  microcosm of a public housing project in a small Ohio town       fails to allege that any ideas disclosed to Cube Vision were
  and those living within the housing project whose talent         novel. White's failure to allege novelty forecloses his claim.
  gives them an opportunity for escape and advancement in          See Ga. Aquarium, Inc., 2006 WL 278389, at *3 (plaintiff's
  life. First Round Lottery Pick is the first in the series and    conversion claim failed in part because it failed to allege that
  depicts the life of Langston Holiday—a talented, fatherless,     its non-copyrightable ideas were novel). Moreover, even if
  young high school basketball player who has professional         White had specifically averred that he disclosed novel ideas,
  basketball in his reach but the reality of living in an          his claim would fail. 5 To be novel, “the concept must be
  environment of negativity and infighting with those who          peculiar and not generally available or known to others in the
  claim to care about him the most— has a chance to put a          trade.” Jones, 389 S.E.2d at 11. Moreover, “it is necessary
  halt to his dreams.                                              to determine whether an idea is novel or original to know
                                                                   whether the defendant has appropriated an idea that is the
  I also penned the screen adaptation of this novel.... I am
                                                                   property of the plaintiff or has merely put to use a concept
  sure my novel will spark interest.... A copy of my novel
                                                                   already in the public's knowledge.” Morton B. Katz & Assocs.,
  will also be sent to Lebron James and his management.
                                                                   Ltd. v. Arnold, 333 S.E.2d 115, 117 (Ga. Ct. App. 1985). An
Pointing to the letter, White argues that he “provided ideas       idea cannot possess genuine novelty and invention if it is
to Defendants.” However, nowhere in the letter does White          merely an adaptation of existing knowledge. Id.; see Jones,
express that he has any specific ideas. Instead, White's letter    389 S.E.2d at 11 (“To be protected, an idea must possess
merely indicates that he has written a book on the subject         genuine novelty and invention, which it cannot have if it
matter that he believes will be the basis of the project—          merely is an adaption of existing knowledge ...”).
a young, talented African-American basketball player from
Ohio—and that he would be able to bring that experience to



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5                                                                 freely committed to the public domain,” it was not novel).
       In his response in opposition to Defendants' motion
                                                                  Thus, White's allegations controvert a finding of novelty.
       to dismiss, White requests that “if the Court does
       not find [his] allegations are sufficient to express
                                                                   *6 Finally, fatal to White's claim is the fact that he did
       that his ideas are indeed ‘novel,’ ... he be allowed to
                                                                  not disclose any ideas in confidence. He avers that his claim
       amend his Complaint to include this allegation.” As
                                                                  is based upon Defendants' alleged conversion of “specific
       set forth below, the Court finds that even if White
                                                                  and identifiable ideas as expressed in the Book”; but as
       had alleged novelty, his claims for conversion and
                                                                  previously discussed, when he sent the copy of the book
       unjust enrichment would fail; thus, amendment
                                                                  to Cube Vision, it had been published for four years. Thus,
       would be futile. See Daewoo Motor Am., Inc. v.
                                                                  White's allegedly converted ideas were widely available to the
       Gen. Motors Corp., 459 F.3d 1249, 1260-61 (11th
                                                                  public at the time he disclosed them, and his disclosure was
       Cir. 2006) (an amendment is futile when it fails
                                                                  not confidential. Further, White's letter indicates that he sent
       to state a claim upon which relief can be granted).
                                                                  his book to multiple parties: Cube Vision, Lebron James and
       Accordingly, the Court will deny White's request
                                                                  James's management; such disclosure lends further support to
       for leave to amend, see Burger King Corp. v.
                                                                  a finding that he did not disclose any ideas in confidence. See
       Weaver, 169 F.3d 1310, 1320 (11th Cir. 1999) (if
                                                                  Keane v. Fox Television Stations, Inc., 287 F. Supp. 2d 921,
       the complaint as amended would still be subject to
                                                                  939-40 (S.D. Tex. 2004) (confidentiality element of plaintiff's
       dismissal, a denial of leave to amend is justified)
                                                                  misappropriation claim was not met because plaintiff mailed
       (quoting Halliburton & Assocs., Inc. v. Henderson,
                                                                  a “descriptive sales packet” to various production companies,
       Few & Co., 774 F.2d 441, 444 (11th Cir. 1985)).
                                                                  advertised his idea on the Internet, and discussed the idea with
Again, White has not alleged that Defendants converted            potential investors); see also Official Airlines Schedule Info.
any particular idea. But assuming that White's idea was to        Serv., Inc. v. E. Air Lines, Inc., 333 F.2d 672, 674 (5th Cir.
make a fictional work based upon a young and talented man         1964) (one may not impose by a gratuitous and unilateral act
emerging from a low-income environment who has to fight           a confidential relationship).
to achieve his dreams, such an idea is not novel. See Garrido
v. Burger King Corp., 558 So. 2d 79, 84 (Fla. Dist. Ct. App.      Accordingly, White has failed to allege conversion of any
1990) (holding that an idea is not novel if it is merely an       non-copyrightable subject matter, and the Court will grant
innovative representation or adaptation of existing knowledge     Defendants' motion to dismiss his conversion claim.
or a variation on a theme). Indeed, White's complaint makes
clear that he introduced the book, and consequently any ideas
within it, to the public four years before he submitted the
book to Cube Vision. See Kienzle v. Capital Cities/Am. Broad.                         2.Unjust Enrichment
Co., 774 F. Supp. 432, 438 n.13 (E.D. Mich. 1991) (plaintiff's
                                                                  Regarding his claim for unjust enrichment, White avers
idea for a television series based on a group of priests who
                                                                  that Defendants received a copy of his book, used portions
work at an inner-city rectory was not novel because a series
                                                                  of his book in their film without his consent and without
featuring a young and an old priest who worked in an inner-
                                                                  compensating him for such use, and have profited from
city rectory had aired eighteen years before plaintiff wrote
                                                                  misappropriation of the book.
his script); Murray, 671 F. Supp. at 239 (plaintiff's proposal
for a thirty-minute weekly series centering on a black-middle
                                                                  Defendants argue that White's claim fails because (1) he has
class American family and starring Bill Cosby as the father
                                                                  not pled that he conferred a benefit upon Defendants with the
was not novel because “the family situation comedy, which
                                                                  expectation of payment, and (2) he has failed to plead that the
was a standard formula, and the casting of black actors
                                                                  ideas he submitted to Defendants were novel.
in non-stereotypical roles, for which the television industry
recognized a need,” had been “circulating in the industry for a
                                                                  As an initial matter, Defendants have not argued that White's
number of years,” and “Cosby himself publicly expressed his
                                                                  unjust-enrichment claim is preempted by the Copyright
desire to develop a television series depicting a middle-class
                                                                  Act. Instead, Defendants readily acknowledge that it is
black family” twenty years before plaintiff conceived the
                                                                  not preempted, citing PHA Lighting Design, 2010 WL
idea); Marcus Adver., Inc. v. M. M. Fisher Assocs., Inc., 444
                                                                  1328754, at *9. There, this Court explained that “unjust
F.2d 1061, 1063 (7th Cir. 1971) (because idea of giving away
                                                                  enrichment ‘requires proof of an additional element beyond
Dad's root beer in conjunction with Father's Day “had been


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unauthorized’ copying” and accordingly found that the             expectation that he would be compensated by Defendants
plaintiff's claim for unjust enrichment was not preempted.        for the submission of his book, his claim fails on this basis.
Id. (quoting Howard v. Sterchi, 725 F. Supp. 1572, 1579           See Morris, 620 S.E.2d at 424 (a party that acts without the
(N.D. Ga. 1989)); see also Jaggon, 2010 WL 3468101, at *3         expectation of compensation is like a volunteer and has no
(“[The] extra elements (conveyance and acceptance) render         right to an equitable recovery); Somerson, 2012 WL 8685208,
the unjust enrichment claim qualitatively different from a        at *11 (plaintiff's unjust-enrichment claim failed because
copyright infringement claim.”). Thus, to be clear, White's       he did not allege in his complaint that he performed his
unjust-enrichment claim is not preempted by the Copyright         wrestling activities with the expectation that defendant would
Act.                                                              be responsible for paying him any royalties).

The Court therefore considers whether White has sufficiently      6       In his letter to Cube Vision, White states, “I am
pled a claim for unjust enrichment. Under Georgia law, to                 interested in the possibilities of becoming involved
prevail upon a claim for unjust enrichment, White must                    as a writer on the proposed upcoming series/
demonstrate (1) that he conferred a benefit on the Defendants,            pilot that Cube Vision along with Lebron James
and (2) that equity requires Defendants to compensate White               currently have in development.”
for the benefit. SCQuARE Int'l, Ltd., 455 F. Supp. 2d at
1373. “[T]he concept of unjust enrichment in law is premised      Second, White has failed to plead that the ideas forming the
upon the principle that a party cannot induce, accept, or         basis of his unjust-enrichment claim are novel. As previously
encourage another to furnish or render something of value to      discussed regarding his conversion claim, White has not pled
such party and avoid payment for the value received.” Jones       any specific ideas that were adopted by Defendants, has failed
v. White, 717 S.E.2d 322, 328 (Ga. Ct. App. 2011). For unjust     to allege that any ideas disclosed to Cube Vision were novel,
enrichment to apply, “the party conferring the labor and things   and alleges facts that controvert a finding of novelty. Thus, his
of value must act with the expectation that the other will be     unjust-enrichment claim also fails due to his failure to plead
responsible for the cost.” Morris v. Britt, 620 S.E.2d 422, 424   novelty.
(Ga. Ct. App. 2005) (citation and quotation omitted).
                                                                  Because White's allegations do not show that he acted with
Additionally, when a plaintiff's unjust-enrichment claim is       the expectation of compensation or that his ideas were novel,
premised upon the defendant's use of an idea, the idea that       the Court will grant Defendants' motion to dismiss White's
forms the basis for the claim must be novel. See Burgess v.       unjust-enrichment claim.
Coca-Cola Co., 536 S.E.2d 764, 769 (Ga. Ct. App. 2008)
(“[N]onnovel ideas are insufficient to serve as ... a basis
for asserting unjust enrichment.”) (citation and quotation                            3. Punitive Damages
omitted); Ga. Aquarium, Inc., 2006 WL 278389, at *4 (failure
to allege that non-copyrightable ideas are novel is fatal to      Defendants contend that the Court should strike White's
an unjust enrichment claim); Santilli v. Philip Morris & Co.,     requests for punitive damages pursuant to Federal Rule of
283 F.2d 6, 7 (2d Cir. 1960) (when a claimant is seeking          Civil Procedure 12(f). 7 Specifically, Defendants argue that
compensation for an idea, the idea must be novel and useful).     (1) punitive damages are never available as a remedy under
                                                                  the Copyright Act, and (2) White has failed to plead that
 *7 White's unjust-enrichment claim fails as a matter of law.     punitive damages are warranted with respect to his claim for
First, White did not act with the expectation that he would be    conversion.
compensated. In White's letter to Cube Vision, he indicated
that he submitted a copy of the book because he hoped to          7       Courts are divided as to whether a motion to strike
be hired as a writer on a series/pilot that Cube Vision and
                                                                          pursuant to Rule 12(f) is the appropriate method
Lebron James were developing at the time. 6 Nowhere in                    for challenging a prayer for relief. See Parsons
the letter does White offer his book as a basis for the plot              v. Okaloosa Cnty. Sch. Dist., No. 3:09cv524/WS/
of a film. Rather, without any induction or encouragement                 EMT, 2010 WL 1753152, at *2 (N.D. Fla. Mar.
from Defendants, White voluntarily sent the book as a writing             30, 2010) (“Some courts and commentators have
sample so that he might be considered for a writing position              concluded that a motion to strike pursuant to Rule
on the television series. Because White never acted with the              12(f) is the appropriate method of challenging


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                                                                     the provisions of 17 U.S.C. § 504(c)(2), which allow
       a prayer for relief. Others ... have determined
                                                                     increases to an award of statutory damages in cases of
       that, depending on the circumstances, a motion to
       dismiss pursuant to [Rule] 12(b)(6) is the proper             willful infringement.”); Calio, 368 F. Supp. 2d at 1291
       means by which to raise such a challenge.”)                   (“[P]unitive damages are not available in a statutory copyright
       (internal citations omitted).                                 infringement action.”); Krisel v. Contempo Homes, Inc., No.
       The Court finds that a motion to strike pursuant              EDCV 06-00507 SGL (SSx), 2006 WL 5668181, at *3 (C.D.
       to Rule 12(f) is an appropriate means by which                Cal. Sept. 27, 2006) (“The sole remaining claim is one for
       to challenge White's request for punitive damages             copyright claim; therefore the prayer for punitive damages
       in this case. See Deloach v. Provident Health                 must be stricken.”); Granger v. Gill Abstract Corp., 566
       Servs., Inc., No. Civ. A. CV 493-120, 1993 WL                 F. Supp. 2d 323, 330 (S.D.N.Y. 2008) (“[I]rrespective of
       850384, at *1 (S.D. Ga. Sept. 1, 1993) (striking              whether a plaintiff is seeking actual or statutory damages,
       Plaintiffs' request for punitive damages because              punitive damages are not available under the Copyright Act
       punitive damages are unavailable under ERISA).                of 1976.”) (internal citations and quotations omitted).

As discussed in the previous sections, the Court will                *8 Thus, the Court will grant Defendants' motion to strike
dismiss White's state-law claims for conversion and unjust           White's request for punitive damages.
enrichment; thus, punitive damages are not available for
those claims. Therefore, the Court is left to consider whether
an award of punitive damages is appropriate for White's              III. Conclusion
copyright-infringement claim.                                        For the reasons set forth above, Defendants' motion to dismiss
                                                                     [15] is GRANTED. Plaintiff's claims for conversion and
The Eleventh Circuit has not addressed whether punitive              unjust enrichment are DISMISSED, and the Court STRIKES
damages are available under the Copyright Act. Calio v. Sofa         Plaintiff's request for punitive damages as asserted in his
Express, Inc., 368 F. Supp. 2d 1290, 1291 (M.D. Fla. 2005).          prayer for relief.
However, the prevailing case law on the issue makes clear
that White's request for punitive damages cannot stand. See          IT IS SO ORDERED this 13th day of August, 2013.
On Davis v. The Gap, Inc., 246 F.3d 152, 172 (2d Cir. 2001)
(“As a general rule, punitive damages are not awarded in
a statutory copyright infringement action. The purpose of            All Citations
punitive damages—to punish and prevent malicious conduct
                                                                     Not Reported in F.Supp.2d, 2013 WL 12067479
—is generally achieved under the Copyright Act through

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